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   8
   9                        UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
  10

  11   CLEVELAND CONSTANTINE                           Case No.: 2:21-cv-02840-AB-AFM
       BROWNE, an individual; ANIKA                    Hon. André Birotte Presiding
  12   JOHNSON, as personal representative of
  13   the Estate of WYCLIFFE JOHNSON,                 FIRST CONSOLIDATED
       deceased; and STEELY & CLEVIE                   AMENDED COMPLAINT FOR:
  14   PRODUCTIONS LTD.,
  15                                                    1. COPYRIGHT INFRINGEMENT
       Plaintiffs,
  16                                                    2. VICARIOUS AND/OR
  17   v.                                                  CONTRIBUTORY
                                                           COPYRIGHT INFRINGEMENT
  18   RODNEY SEBASTIAN CLARK
  19   DONALDS, an individual; CAROLINA
                                            JURY TRIAL DEMANDED
       GIRALDO NAVARRO, an individual;
  20   ARMANDO CHRISTIAN PÉREZ, an
  21   individual; GIORDANO ASHRUF, an
       individual; SHAREEF BADLOE, an
  22   individual; RASHID BADLOE, an
  23   individual; JUSTON RECORDS, a French
       private limited company; SONY MUSIC
  24   ENTERTAINMENT, a Delaware general
  25   partnership d/b/a ULTRA MUSIC;
       UNIVERSAL MUSIC PUBLISHING,
  26   INC., a California corporation; BMG
  27   RIGHTS MANAGEMENT, LLC, a
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   1   Delaware limited liability company;
       WARNER CHAPPELL MUSIC, Inc., a
   2   Delaware corporation; ULTRA
   3   RECORDS, LLC, a Delaware limited
       liability company; ENERGY MUSIC
   4   CORP, a Florida corporation, LUIS
   5   ALFONSO RODRÍGUEZ LÓPEZ-
       CEPERO, an individual; MAURICIO
   6   RENGIFO, an individual; ANDRÉS
   7   TORRES, an individual; MICHAEL
       ANTHONY TORRES MONGE, an
   8   individual; JUAN CARLOS OZUNA
   9   ROSADO, an individual; ERIKA MARÍA
       ENDER SIMOES, an individual; RAMÓN
  10   LUIS AYALA RODRÍGUEZ, an
  11   individual; OLADAYO OLATUNJI, an
       individual; STEPHANIE VICTORIA
  12   ALLEN, an individual; NICK RIVERA
  13   CAMINERO, an individual; SEBASTIÁN
       OBANDO GIRALDO, an individual;
  14   PABLO AREVALO LLANO, an
  15   individual; CARLOS EFRÉN REYES
       ROSADO, an individual; RAÚL
  16   ALEJANDRO OCASIO RUIZ, an
  17   individual; JUSTIN BIEBER, an
       individual; JASON PAUL DOUGLAS
  18   BOYD, an individual; UMG
  19   RECORDINGS, INC., a Delaware
       corporation individually and doing
  20   business as “Universal Music Latin
  21   Entertainment,” “Geffen Records,” and
       “Machette Records”; KOBALT MUSIC
  22   PUBLISHING LIMITED, an English
  23   private limited company; KOBALT
       MUSIC PUBLISHING AMERICA, INC.,
  24   a Delaware corporation; LUIS ENRIQUE
  25   ORTIZ RIVERA, an individual; JUAN G
       RIVERA VASQUEZ, an individual;
  26   EMMANUEL GAZMEY SANTIAGO, an
  27   individual; LLANDEL VEGUILLA
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   1   MALAVÉ, an individual; JUAN CARLOS
       SALINAS JR., an individual; OSCAR
   2   EDWARD SALINAS, an individual;
   3   DAVID ALBERTO MACIAS, an
       individual; FRANCISCO SALDAÑA, an
   4   individual; VÍCTOR B CABRERA, an
   5   individual; CARLOS ISAÍAS MORALES
       WILLIAMS, an individual; RAFAEL
   6   ANTONIO PINA NIEVES, an individual;
   7   URBANI MOTA CEDEÑO, an individual;
       LUIS JORGE ROMERO, an individual;
   8   MARCOS MASIS, an individual; JUAN
   9   LUIS MORERA LUNA, an individual;
       SONY/ATV MUSIC PUBLISHING (UK)
  10   LIMITED, an English private limited
  11   company; EL CARTEL RECORDS, INC.,
       a Puerto Rican Corporation; GASOLINA
  12   PUBLISHING CO, a Puerto Rican
  13   Corporation; SONY MUSIC
       ENTERTAINMENT US LATIN, LLC, a
  14   Delaware Limited Liability Company;;
  15   ABRAHAM MATEO CHAMORRO, an
       individual;, EDGAR BARRERA, an
  16   individual; JAVIER ALEXANDER
  17   SALAZAR, an individual; LARISSA DE
       MARCEDO MACHADO, an individual;
  18   JUSTIN RAFAEL QUILES RIVERA, an
  19   individual; PEERMUSIC III, LTD., A
       Delaware Corporation; PULSE
  20   RECORDS, INC,. a California
  21   Corporation; ALEXANDER DELGAO
       HERNANDEZ, an individual; RANDY
  22   MALCOM MARTINEZ, an individual;
  23   AUSTIN AGUSTIN SANTOS, an
       individual; RAFAEL CASTILLO
  24   TORRES, an individual; JESUS MANUEL
  25   NIEVES CORTEZ, an individual;
       ALEJANDRO RAMIREZ SUAREZ, an
  26   individual; JONATHAN LEONE, an
  27   individual; ANDY CLAY CRUZ, an
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   1   individual; EDGAR SIMPER, an
       individual; XAVIER SEMPER, an
   2   individual; LUIAN MALAVE, an
   3   individual; SONY MUSIC PUBLISHING,
       LLC, a Delaware limited liability
   4   company; MAURICIO ALBERTO
   5   REGIERO RODRIGUEZ, an individual;
       RICARDO ANDRES REGIERO
   6   RODRIGUEZ, an individual; ANDRES
   7   TORRES, an individual; JORGE
       VALDES, an individual; MAYBACH
   8   MUSIC GROUP, LLC, a Florida Limited
   9   Liability Company; CINQ MUSIC
       GROUP, LLC, a California Limited
  10   Liability Company; CINQ MUSIC
  11   PUBLISHING, LLC, a California Limited
       Liability Company; EDGAR ROSA
  12   CINTRON, an individual; REAL HASTA
  13   LA MEURTE, LLC, a Florida Limited
       Liability Company; NELSON DIAZ
  14   MARTINEZ, an individual; DANIEL
  15   OVIEDO, an individual; ARBON FIBER
       MUSIC, INC., a Florida Corporation;
  16   ENRIQUE IGLESIAS, an individual;
  17   RIMAS MUSIC, LLC, a Florida Limited
       Liability Company; BENITO ANTONIO
  18   MARTINEZ OCASIO, an individual;
  19   FELIX ORTIZ TORRES, an individual;
       GABRIEL PIZARRO, an individual;
  20   AURA MUSIC COLLECTIVE, LLC, a
  21   Florida Limited Liability Company;
       FREDDY MONTALVO JR., an
  22   individual; JOSE CRUZ, an individual;
  23   MIGUEL ANDRES MARTINEZ PEREA,
       an individual; CHRISTIAN MENA, an
  24   individual; VLADIMIR FELIX, an
  25   individual; ORLANDO JAVIER VALLE
       VEGA, an individual; EDWIN VASQUEZ
  26   VEGA, an individual; HIPGNOSIS
  27   SONGS GROUP, LLC, a Delaware
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   1   Limited Liability Company; KEMOSABE
       RECORDS, LLC, a Delaware Limited
   2   Liability Company; REBBECA MARIE
   3   GOMEZ, an individual; JUAN LUIS
       LONDONO ARIAS, an individual;
   4   NATALIA AMAPOLA ALEXANDRA
   5   GUTIERREZ BATISTA, an individual;
       CAMILO ECHEVERRIA, an individual;
   6   CONCORD MUSIC GROUP, LLC, a
   7   Delaware Limited Liability Company;
       PEDRO DAVID DALECCIO TORRES,
   8   an individual; KARIM KHARBOUCH, an
   9   individual; MANUEL TURIZO ZAPATA,
       an individual; ANTON ALVAREZ, an
  10   individual; ALEJANDRO RENGIFO, an
  11   individual; MAURIVIO RENGIFO, an
       individual; JESUS ALBERTO
  12   NAVARRO, an individual; JULIO
  13   RAMIREZ EGUIA, an individual;
       GILBERTO MARIN ESPINOZA, an
  14   individual; DANNA PAOLA RIVERA
  15   MUNGUIA, an individual; MICHAEL
       EGRED MEJIA, an individual; SHAKIRA
  16   ISABEL MEBARAK RIPOLL, an
  17   individual; CARLOS ALBERTO VIVES
       RESTREPO, an individual; ENRIQUE
  18   MARTIN MORALES, an individual;
  19   ANDRES CASTRO, an individual;
       MARCOS RAMIREZ, an individual;
  20   VICTOR R. TORRES, an individual;
  21   JULIO ALBERTO CRUZ GARCIA, an
       individual; VYDIA, INC., a Delaware
  22   Corporation; RICHARD CAMACHO, an
  23   individual; ERICK BRIAN COLON, an
       individual; CHRISTOPHER VELEZ, an
  24   individual; ZABDIEL DE JESUS, an
  25   individual; SALOMON VILLADA
       HOYOS, an individual; SOLAR MUSIC
  26   RIGHTS MANAGEMENT LIMITED, an
  27   English Limited Liability Company;
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   1   GREEICY YELIANA RENDON
       CEBALLOS, an individual; DANIEL
   2   ALEJANDRO MORALES REYES, an
   3   individual; WILLIAM SAMI ETIENNE
       GRIGAHCINE, an individual; GLAD
   4   EMPIRE LIVE, LLC., a Puerto Rican
   5   Limited Liability Company; SELENA
       MARIE GOMEZ, an individual;
   6   DESCEMER BUENO, an individual;
   7   LUIS ANGEL O’NEILL LAUREANO, an
       individual; HEAR THIS MUSIC, LLC, a
   8   Puerto Rican Limited Liability Company;
   9   MARCOS D. PEREZ, an individual;
       MARTHA IVELISSE PESANTE
  10   RODRIGUEZ, an individual; JOSE
  11   ALVARO OSORIO BALVIN, an
       individual; VICENTE SAAVEDRA, an
  12   individual; THOMAS WESLEY PENTZ,
  13   an individual; LEIGHTON PAUL
       WALSH, an individual; ERIC ALBERTO-
  14   LOPEZ, an individual; MAD DECENT
  15   PUBLISHING, LLC, a Delaware Limited
       Liability Company; MAD DECENT
  16   PROTOCOL, LLC, a Pennsylvania
  17   Limited Liability Company; JASON JOEL
       DESROULEAUX, an individual; JOSHUA
  18   CHRISTIAN NANAI, an individual;
  19   JENNIFER LYNN AFFLECK, an
       individual; JULIO MANUEL GONZALEZ
  20   TAVAREZ, an individual; RICH MUSIC
  21   INC., a Delaware Corporation; CUBAN
       JOSE GARCIA an individual;
  22   GIENCARLOS RIVERA, an individual;
  23   JONATHAN RIVERA, an individual;
       KEVIN MAURICIO JIMENEZ
  24   LONDONO, an individual; BRYAN
  25   LEZCANO CHAVERRA, an individual;
       ERNESTO FIDEL PADILLA, an
  26   individual; DIMELO VI LLC, a Puerto
  27   Rican Limited Liability Company; VP
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   1   RECORDS CORPORATION, a Puerto
       Rican Corporation; JOSE APONTE
   2   SANTI. an individual; MR. 305, INC., a
   3   Florida Corporation; ERIC PEREZ
       ROVIR, an individual; DUARS
   4   ENTERTAINMENT, CORP., a Puerto
   5   Rican Corporation; ANTHONY SANTOS
       an individual; ISOLATION NETWORK
   6   INC. doing business as INGROOVES
   7   MUSIC GROUP, a California Corporation;
       URSULA SOFIA REYES PINEYRO, an
   8   individual; ANDRES FELIPE ZAPATA
   9   GAVIRIA, an individual; EMPIRE
       DISTRIBUTION, INC. doing Business as
  10   EMPIRE a California Corporation; BABY
  11   RECORDS, INC., a Puerto Rican
       Corporation; PAULO EZEQUIEL
  12   LONDRA FARIAS, an individual;
  13   AUBREY DRAKE GRAHAM, an
       individual; OVO SOUND, LLC, a
  14   California Limited Liability Company;
  15   ARIADNA THALIA SODI MIRANDA,
       an individual; FLOW LA MOVIE, INC., a
  16   Florida Corporation; ROSALIA VILA I
  17   TOBELLA, an individual; JOSE ANGEL
       LOPEZ MARTINEZ, an individual;
  18   SILVESTRE FRANCISCO DANGOND
  19   CORRALES, an individual; GEOFFREY
       ROYCE ROJAS, an individual; LUIS
  20   ANTONIA QUINONES GARCIA, an
  21   individual; THE ROYALTY NETWORK,
       INC., a New York Corporation; MANUEL
  22   ENRIQUE CORTES CLEGHORN, an
  23   individual;WK RECORDS, LLC, a Florida
       Limited Liability Company; LA BASE
  24   MUSIC GROUP, LLC, a Florida Limited
  25   Liability Company; and DOES 1 -20,
       Defendants.
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   1         Plaintiffs Cleveland Constantine Browne, Anika Johnson as personal
   2 representative of the Estate of Wycliffe Johnson, and Steely & Clevie Productions
   3 Ltd., through counsel, hereby pray to this honorable Court for relief based on the
   4 following:
   5                                 Jurisdiction and Venue
   6         1.    This action arises under the Copyright Act of 1976, 17 U.S.C. § 101, et
   7 seq.
   8         2.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331,
   9 1338(a)-(b), and 1367(a).
  10         3.    Venue in this judicial district is proper under 28 U.S.C. §§ 1391(c),
  11 1400(a).
  12                                          Parties
  13         4.    Plaintiff Cleveland Constantine Browne is a resident of Kingston,
  14 Jamaica.
  15         5.    Plaintiff Anika Johnson is a resident of Jamaica, and joins in the action
  16 not individually, but solely in her capacity as the personal representative of the Estate
  17 of Wycliffe Johnson, pursuant to the grant of administration by the Supreme Court of
  18 Judicature of Jamaica, Case No. 2015-P-00576. Mr. Johnson died on September 1,
  19 2009, and was a resident of Kingston, Jamaica. As such, Ms. Johnson is a successor-
  20 in-interest to all personal property of Wycliffe Johnson, including his intellectual
  21 property rights.
  22         6.    Plaintiff Steely & Clevie Productions Ltd. is a Jamaican limited
  23 company.
  24         7.    Upon information and belief, Plaintiffs allege that Defendant Rodney
  25 Sebastian Clark Donalds p/k/a El Chombo (“El Chombo”) is an individual residing in
  26 Panama and doing business in and with the state of California, including in this
  27 judicial district.
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    1         8.     Upon information and belief, Plaintiffs allege that Defendant Carolina
    2 Giraldo Navarro p/k/a Karol G (“Karol G”) is an individual residing in Medellin,
    3 Colombia and doing business in and with the state of California, including in this
    4 judicial district.
    5         9.     Upon information and belief, Plaintiffs allege that Defendant Armando
    6 Christian Pérez p/k/a Pitbull (“Pitbull”) is an individual residing in Miami, Florida
    7 and doing business in and with the state of California, including in this judicial
    8 district.
    9         10.    Upon information and belief, Plaintiffs allege that Defendant Giordano
   10 Ashruf is an individual residing in Arnhem, Netherlands and doing business in and

   11 with the state of California, including in this judicial district.
   12         11.    Upon information and belief, Plaintiffs allege that Defendant Shareef
   13 Badloe is an individual residing in Arnhem, Netherlands and doing business in and
   14 with the state of California, including in this judicial district.
   15         12.    Upon information and belief, Plaintiffs allege that Defendant Rashid
   16 Badloe is an individual residing in Arnhem, Netherlands and doing business in and
   17 with the state of California, including in this judicial district.
   18         13.    Upon information and belief, Plaintiffs allege that Defendants Giordano
   19 Ashruf, Shareef Badloe, and Rashid Badloe—collectively p/k/a Afro Bros (“Afro
   20 Bros”)—are a DJ and record production entity of form unknown from Arnhem,
   21 Netherlands and doing business in and with the state of California, including in this
   22 judicial district.
   23         14.    Upon information and belief, Plaintiffs allege that Defendant Juston
   24 Records is a French private limited company doing business in and with the United
   25 States and the state of California, including in this judicial district.
   26         15.    Upon information and belief, Plaintiffs allege that Defendant Sony
   27 Music Entertainment, individually and doing business as “Ultra Music” (collectively
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 1 “Sony”), is an American record label/music industry conglomerate and a Delaware
 2 general partnership with offices in Santa Monica, CA.
 3         16.    Upon information and belief, Plaintiffs allege that Defendant Universal
 4 Music Publishing, Inc. (“UMP”) is a Delaware corporation with a principal place of
 5 business at 2100 Colorado Avenue, Santa Monica, CA 90404.
 6         17.    Upon information and belief, Plaintiffs allege that Defendant BMG
 7 Rights Management, LLC (“BMG”) is a Delaware limited liability company with a
 8 principal place of business at 5670 Wilshire Blvd, Suite 1400, Los Angeles, CA
 9 90036.
10         18.    Upon information and belief, Plaintiffs allege that Defendant Warner
11 Chappell Music, Inc. (“Warner”) is a Delaware Corporation with a principal place of
12 business at 777 S. Santa Fe Ave., Los Angeles, CA 90021.
13         19.    Upon information and belief, Plaintiffs allege that Defendant Ultra
14 Records, LLC (“Ultra”) is a Delaware limited liability company doing business in
15 and with the state of California, including in this judicial district.
16         20.    Upon information and belief, Plaintiffs allege that Defendant Energy
17 Music Corp. is a Florida corporation doing business in and with the state of
18 California, including in this judicial district.
19         21.    Upon information and belief, Plaintiffs allege that Defendant Luis
20 Alfonso Rodríguez López-Cepero p/k/a Luis Fonsi (“Luis Fonsi”) is an individual
21 residing in Miami, Florida and doing business in and with the state of California,
22 including in this judicial district.
23         22.    Upon information and belief, Plaintiffs allege that Defendant Mauricio
24 Rengifo p/k/a El Dandee (“El Dandee”) is an individual residing in Cali, Colombia
25 and doing business in and with the state of California, including in this judicial
26 district.
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 1         23.   Upon information and belief, Plaintiffs allege that Defendant Andrés
 2 Torres (“Torres”) is an individual residing in Los Angeles, California and doing
 3 business in and with the state of California, including in this judicial district.
 4         24.   Upon information and belief, Plaintiffs allege that Defendant Michael
 5 Anthony Torres Monge p/k/a Myke Towers (“Myke Towers”) is an individual
 6 residing in San Juan, Puerto Rico and doing business in and with the state of
 7 California, including in this judicial district.
 8         25.   Upon information and belief, Plaintiffs allege that Defendant Juan
 9 Carlos Ozuna Rosado p/k/a Ozuna (“Ozuna”) is an individual residing in San Juan,
10 Puerto Rico and doing business in and with the state of California, including in this

11 judicial district.
12         26.   Upon information and belief, Plaintiffs allege that Defendant Erika
13 María Ender Simoes (“Simoes”) is an individual residing in Miami, Florida and
14 doing business in and with the state of California, including in this judicial district.
15         27.   Upon information and belief, Plaintiffs allege that Defendant Ramón
16 Luis Ayala Rodríguez p/k/a Daddy Yankee (“Daddy Yankee”) is an individual
17 residing in San Juan, Puerto Rico and doing business in and with the state of
18 California, including in this judicial district.
19         28.   Upon information and belief, Plaintiffs allege that Defendant Justin
20 Bieber (“Bieber”) is an individual residing in Los Angeles, California.
21         29.   Upon information and belief, Plaintiffs allege that Defendant Jason Paul
22 Douglas Boyd p/k/a Poo Bear (“Boyd”) is an individual residing in Los Angeles,
23 California, and/or doing business in and with the state of California, including in this
24 judicial district.
25         30.   Upon information and belief, Plaintiffs allege that Defendant Oladayo
26 Olatunji p/k/a Dyo (“Dyo”) is an individual residing in London, England and doing
27 business in and with the state of California, including in this judicial district.
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 1         31.    Upon information and belief, Plaintiffs allege that Defendant Stephanie
 2 Victoria Allen p/k/a Stefflon Don (“Stefflon Don”) is an individual residing in
 3 London, England and doing business in and with the state of California, including in
 4 this judicial district.
 5         32.    Upon information and belief, Plaintiffs allege that Defendant Nick
 6 Rivera Caminero p/k/a Nicky Jam (“Nicky Jam”) is an individual residing in Miami,
 7 Florida and doing business in and with the state of California, including in this
 8 judicial district.
 9         33.    Upon information and belief, Plaintiffs allege that Defendant Sebastián
10 Obando Giraldo p/k/a Sebastian Yatra (“Sebastian Yatra”) is an individual residing in

11 Colombia and doing business in and with the state of California, including in this
12 judicial district.
13         34.    Upon information and belief, Plaintiffs allege that Defendant Pablo
14 Arevalo Llano (“Llano”) is an individual residing in Miami, Florida and doing
15 business in and with the state of California, including in this judicial district.
16         35.    Upon information and belief, Plaintiffs allege that Defendant Carlos
17 Efrén Reyes Rosado p/k/a Farruko (“Farruko”) is an individual residing in San Juan,
18 Puerto Rico and doing business in and with the state of California, including in this
19 judicial district.
20         36.    Upon information and belief, Plaintiffs allege that Defendant Raúl
21 Alejandro Ocasio Ruiz p/k/a Rauw Alejandro (“Rauw Alejandro”) is an individual
22 residing in Miami, Florida and doing business in and with the state of California,
23 including in this judicial district.
24         37.    Upon information and belief, Plaintiffs allege that Defendant Kobalt
25 Music Publishing Ltd. (“Kobalt") is an English private limited company doing
26 business in and with the state of California, including in this judicial district.
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 1         38.    Upon information and belief, Plaintiffs allege that Kobalt Music
 2 Publishing America Inc. is a Delaware Corporation with a principal place of business
 3 at 2 Gansevoort Street 6th Floor, New York, NY 10014, and registered to do business
 4 in the state of California.
 5         39.    Upon information and belief, Plaintiffs allege that Kobalt Music
 6 Publishing America Inc. operates as a wholly owned subsidiary of Kobalt Music
 7 Publishing Ltd.
 8         40.    Upon information and belief, Plaintiffs allege that Defendant Carlos
 9 Ortiz Rivera p/k/a Chris Jeday or Chris Jedi (“Chris Jeday”) is an individual residing
10 in San Juan, Puerto Rico and doing business in and with the state of California,

11 including in this judicial district.
12         41.    Upon information and belief, Plaintiffs allege that Defendant Juan G
13 Rivera Vasquez p/k/a Gaby Music (“Gaby Music”) is an individual residing in San
14 Juan, Puerto Rico and doing business in and with the state of California, including in
15 this judicial district.
16         42.    Upon information and belief, Plaintiffs allege that Defendant Emmanuel
17 Gazmey Santiago p/k/a Anuel AA (“Anuel AA”) is an individual residing in San
18 Juan, Puerto Rico and doing business in and with the state of California, including in
19 this judicial district.
20         43.    Upon information and belief, Plaintiffs allege Defendant Llandel
21 Veguilla Malavé p/k/a Yandel (“Yandel”) is an individual residing in San Juan,
22 Puerto Rico and doing business in and with the state of California, including in this
23 judicial district.
24         44.    Upon information and belief, Plaintiffs allege that Defendant Juan
25 Carlos Salinas Jr. p/k/a Play (“Play”) is an individual residing in Dallas, Texas and
26 doing business in and with the state of California, including in this judicial district.
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 1         45.    Upon information and belief, Plaintiffs allege that Defendant Oscar
 2 Edward Salinas p/k/a Skillz (“Skillz”) is an individual residing in Dallas, Texas and
 3 doing business in and with the state of California, including in this judicial district.
 4         46.    Upon information and belief, Plaintiffs allege that Defendant David
 5 Alberto Macias p/k/a Scott Summers (“Scott Summers”) is an individual residing in
 6 Houston, Texas and doing business in and with the state of California, including in
 7 this judicial district.
 8         47.    Upon information and belief, Plaintiffs allege that Defendant Francisco
 9 Saldaña p/k/a Luny (“Luny”) is an individual residing in San Juan, Puerto Rico and
10 doing business in and with the state of California, including in this judicial district.

11         48.    Upon information and belief, Plaintiffs allege that Defendant Víctor B
12 Cabrera p/k/a Tunes (“Tunes”) is an individual residing in San Juan, Puerto Rico and
13 doing business in and with the state of California, including in this judicial district.
14         49.    Upon information and belief, Plaintiffs allege that Defendant Carlos
15 Isaías Morales Williams, p/k/a Sech (“Sech”) is an individual residing in Panama
16 City, Panama and doing business in and with the state of California, including in this
17 judicial district.
18         50.    Upon information and belief, Plaintiffs allege that Defendant Rafael
19 Antonio Pina Nieves p/k/a Raphy Pina (“Raphy Pina”) is an individual residing in
20 San Juan, Puerto Rico and doing business in and with the state of California,
21 including in this judicial district.
22         51.    Upon information and belief, Plaintiffs allege that Defendant Urbani
23 Mota Cedeño p/k/a DJ Urba (“DJ Urba”) is an individual residing in San Juan, Puerto
24 Rico and doing business in and with the state of California, including in this judicial
25 district.
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 1         52.   Upon information and belief, Plaintiffs allege that Defendant Luis Jorge
 2 Romero p/k/a Rome (“Rome”) is an individual residing in San Juan, Puerto Rico and
 3 doing business in and with the state of California, including in this judicial district.
 4         53.   Upon information and belief, Plaintiffs allege that Defendant Marcos
 5 Masis p/k/a Tainy (“Tainy”) is an individual residing in San Juan, Puerto Rico and
 6 doing business in and with the state of California, including in this judicial district.
 7         54.   Upon information and belief, Plaintiffs allege that Defendant Juan Luis
 8 Morera Luna p/k/a Wisin (“Wisin”) is an individual residing in San Juan, Puerto Rico
 9 and doing business in and with the state of California, including in this judicial
10 district.

11         55.   Upon information and belief, Plaintiffs allege that Defendant Sony/ATV
12 Music Publishing (UK) Limited (“Sony/ATV”) is an English private limited
13 company with offices in Santa Monica, California.
14         56.   Upon information and belief, Plaintiffs allege that Defendant Sony
15 Music Entertainment US Latin LLC (“Sony Latin”) is a Delaware limited liability
16 company registered to do business in California.
17         57.   Upon information and belief, Plaintiffs allege that Defendants UMG
18 Recordings, Inc., individually and doing business as “Universal Music Latin
19 Entertainment.” “Geffen Records” and “Machette Records” (collectively, “UMG”),
20 are California corporations.
21         58.   Upon information and belief, Plaintiffs allege that Defendant El Cartel
22 Records, Inc. (“El Cartel”) is a corporation owned and/or operated, in whole or in
23 part, by UMG from UMG’s California offices, and does business in and with the state
24 of California and with this district.
25         59.   Upon information and belief, Plaintiffs allege that Defendant Gasolina
26 Publishing Co., (“GPC”) is a publishing company registered with ASCAP and doing
27 business in and with the state of California, including in this judicial district.
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 1         60.    Upon information and belief, Plaintiffs allege that Defendant Abraham
 2 Mateo Chamorro p/k/a Abraham Mateo (“Mateo”) is an Spanish individual residing
 3 in California and doing business in and with the state of California, including in this
 4 judicial district.
 5         61.    Upon information and belief, Plaintiffs allege that Defendant Edgar
 6 Barrera p/k/a Edge (“Edge”) is an Mexican individual residing in Miami, Florida and
 7 doing business in and with the state of California, including in this judicial district.
 8         62.    Upon information and belief, Plaintiffs allege that Defendant Javier
 9 Alexander Salazar p/k/a Alex Sensation (“Alex Sensation”) is a Columbian
10 individual residing in Manhattan, New York and doing business in and with the state

11 of California, including in this judicial district.
12         63.    Upon information and belief, Plaintiffs allege that Defendant Larissa de
13 Marcedo Machado p/k/a Anitta (“Anitta”) is a Brazilian individual living in Rio de
14 Janeiro, Brazil and doing business in and with the state of California, including in this
15 judicial district.
16         64.    Upon information and belief, Plaintiffs allege that Defendant Justin
17 Rafael Quiles Rivera p/k/a Justin Quiles or J Quiles (“Justin Quiles”) is a Puerto
18 Rican individual living in Miami, Florida and doing business in and with the state of
19 California, including in this judicial district.
20         65.    Upon information and belief, Plaintiffs allege that Defendant Peermusic
21 III, Ltd. (“Peermusic”) is a Delaware Corporation with a principal place of business
22 at 901 West Alameda Avenue, Suite 108 Burbank, California and doing business in
23 and with the state of California, including in this judicial district.
24         66.    Upon information and belief, Plaintiffs allege that Defendant Pulse
25 Records, Inc. (“Pulse”) is a California Corporation with a principal place of business
26 at 2840 Rowena Ave. Los Angeles, California 90039 and doing business in and with
27 the state of California, including in this judicial district.
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 1         67.      Upon information and belief, Plaintiffs allege that Defendant Alexander
 2 Delgao Hernandez and Defendant Randy Malcom Martinez collectively
 3 professionally known as the group Gente De Zona (“Gente de Zona”) are Cuban
 4 individuals living in Miami, Florida and doing business in and with the state of
 5 California, including in this district.
 6         68.      Upon information and belief, Plaintiffs allege that Defendant Austin
 7 Agustin Santos p/k/a Arcangel (“Arcangel”) is an individual living in New York City
 8 and Puerto Rico and doing business in and with the state of California, including in
 9 this district.
10         69.      Upon information and belief, Plaintiffs allege that Defendant Rafael
11 Castillo Torres p/k/a De La Ghetto (“De La Ghetto”) is an individual living in New
12 York City and Puerto Rico and doing business in and with the state of California,
13 including in this district.
14         70.      Upon information and belief, Plaintiffs allege that Defendant Jesus
15 Manuel Nieves Cortez p/k/a Jhayco or Jhay Cortez (“Jhay Cortez”) is an individual
16 living in New Jersey and Puerto Rico and doing business in and with the state of
17 California, including in this district.
18         71.      Upon information and belief, Plaintiffs allege that Defendant Alejandro
19 Ramirez Suarez p/k/a Sky Rompiendo (“Sky”) is an individual living in Columbia
20 and doing business in and with the state of California, including in this district.
21         72.      Upon information and belief, Plaintiffs allege that Defendant Jonathan
22 Leone p/k/a JonTheProducer (“JonTheProducer”) is an individual living in Miami,
23 Florida and doing business in and with the state of California, including in this
24 district.
25         73.      Upon information and belief, Plaintiffs allege that Defendant Andy Clay
26 Cruz p/k/a Andy Clay (“Andy Clay”) is an individual living in Miami, Florida and
27 doing business in and with the state of California, including in this district.
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 1         74.    Upon information and belief, Plaintiffs allege that Defendant Edgar
 2 Simper and Defendant Xavier Semper collectively professionally known as the group
 3 Mambo Kingz (“Mambo Kingz”) are individuals living in Puerto Rico and doing
 4 business in and with the state of California, including in this district.
 5         75.    Upon information and belief, Plaintiffs allege that Defendant Luian
 6 Malave p/k/a DJ Luian (“DJ Luian”) is an individual living in Puerto Rico and doing
 7 business in and with the state of California, including in this district.
 8         76.    Upon information and belief, Plaintiffs allege that Sony Music
 9 Publishing, LLC (“SMP”) is a Delaware limited liability company with officed
10 located in Los Angeles, California and doing business in and with the state of

11 California, including in this district.
12         77.     Upon information and belief, Plaintiffs allege that Defendant Mauricio
13 Alberto Regiero Rodriguez p/k/a Mau (“Mau”) is an individual living in Miami,
14 Florida and doing business in and with the state of California, including in this
15 district.
16         78.    Upon information and belief, Plaintiffs allege that Defendant Ricardo
17 Andres Regiero Rodriguez p/k/a Ricky (“Ricky”) is an individual residing in Miami,
18 Florida and doing business in and with the state of California, including in this
19 judicial district. Ricky and Mau perform as a duo professionally known as Mau &
20 Ricky (“Mau & Ricky”).
21         79.    Upon information and belief, Plaintiffs allege that Defendant Andres
22 Torres p/k/a Andres Torres (“Andres Torres”) is an individual residing in Los
23 Angeles, California and doing business in and with the state of California, including
24 in this judicial district.
25         80.    Upon information and belief, Plaintiffs allege that Defendant Jorge
26 Valdes Vasquez p/k/a Dimelo Flow (“Dimelo Flow”) is an individual residing in
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 1 Tampa, Florida and doing business in and with the state of California, including in
 2 this judicial district.
 3         81.    Upon information and belief, Plaintiffs allege that Defendant Maybach
 4 Music Group, LLC (“Maybach”) is a Florida Limited Liability Company with a
 5 principal place of business in Mississippi and doing business in and with the state of
 6 California, including in this judicial district.
 7         82.    Upon information and belief, Plaintiffs allege that Defendant Cinq
 8 Music Group, LLC (“Cinq Music”) is a California Limited Liability Company with a
 9 principal place of business at Los Angeles, California and doing business in and with
10 the state of California, including in this judicial district.

11         83.    Upon information and belief, Plaintiffs allege that Defendant Cinq
12 Music Publishing, LLC (“Cinq Publishing”) is a California Limited Liability
13 Company with a principal place of business at Los Angeles, California and doing
14 business in and with the state of California, including in this judicial district.
15         84.    Upon information and belief, Plaintiffs allege that Defendant Edgar
16 Rosa Cintron p/k/a Fino Como El Haze (“Haze”) is an individual residing in Tampa,
17 Florida and doing business in and with the state of California, including in this
18 judicial district.
19         85.    Upon information and belief, Plaintiffs allege that Defendant Real Hasta
20 la Muerte, LLC (“RHLM”) is a Florida Limited Liability Company with a principal
21 place of business at 10421 SW 89th Ave. Miami, Florida and doing business in and
22 with the state of California, including in this judicial district.
23         86.    Upon information and belief, Plaintiffs allege that Defendant Nelson
24 Diaz Martinez p/k/a DJ Nelson (“DJ Nelson”) is an individual residing in Puerto Rico
25 and doing business in and with the state of California, including in this judicial
26 district.
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 1         87.    Upon information and belief, Plaintiffs allege that Defendant Daniel
 2 Oviedo p/k/a Ovy on the Drums (“Ovy on the Drums”) is an individual residing in
 3 Miami, Florida and doing business in and with the state of California, including in
 4 this judicial district.
 5         88.    Upon information and belief, Plaintiffs allege that Defendant Carbon
 6 Fiber Music, Inc. (“Carbon Fiber”) is a Florida Corporation with a principal place of
 7 business at 14125 NW 80th Ave; 401, Miami Lakes, Florida 33016 and doing
 8 business in and with the state of California, including in this judicial district.
 9         89.    Upon information and belief, Plaintiffs allege that Defendant Enrique
10 Iglesias p/k/a Enrique Iglesias (“Enrique Iglesias”) is an individual residing in Miami,

11 Florida and doing business in and with the state of California, including in this
12 judicial district.
13         90.    Upon information and belief, Plaintiffs allege that Defendant Rimas
14 Music, LLC (“Rimas”) is a Florida Limited Liability Company with a principal place
15 of business at 333 S.E. 2nd Avenue Suite 3200, Miami, Florida 33131 and doing
16 business in and with the state of California, including in this judicial district.
17         91.    Upon information and belief, Plaintiffs allege that Defendant Benito
18 Antonio Martinez Ocasio p/k/a Bad Bunny (“Bad Bunny”) is an individual residing
19 in Miami, Florida, Los Angeles, California, Puerto Rico and doing business in and
20 with the state of California, including in this judicial district.
21         92.    Upon information and belief, Plaintiffs allege that Defendant Felix Ortiz
22 Torres p/k/a Zion (“Zion”) is an individual living in Puerto Rico and doing business
23 in and with the state of California, including in this district.
24         93.    Upon information and belief, Plaintiffs allege that Defendant Gabriel
25 Pizarro p/k/a Lennox (“Lennox”) is an individual residing in Puerto Rico and doing
26 business in and with the state of California, including in this judicial district. Zion
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 1 and Lennox perform as a duo professionally known as Zion & Lennox (“Zion &
 2 Lennox”).
 3         94.   Upon information and belief, Plaintiffs allege that Defendant Aura
 4 Music Collective, LLC (“Aura”) is a Florida Limited Liability Company with a
 5 principal place of business at 1759 Avenida Del Sol, Boca Raton, Florida 33432 and
 6 doing business in and with the state of California, including in this judicial district.
 7         95.   Upon information and belief, Plaintiffs allege that Defendant Freddy
 8 Montalvo Jr. p/k/a Freddy El Synthethyzer (“Freddy”) is an individual living in
 9 Puerto Rico and doing business in and with the state of California, including in this
10 district.

11         96.   Upon information and belief, Plaintiffs allege that Defendant Jose Cruz
12 p/k/a Phantom (“Phantom”) is an individual residing in Puerto Rico and doing
13 business in and with the state of California, including in this judicial district. Freddy
14 and Phantoms perform as a duo professionally known as SubeloNeo (“SubeloNeo”).
15         97.   Upon information and belief, Plaintiffs allege that Defendant Miguel
16 Andres Martinez Perea p/k/a Slow Mike (“Slow Mike”) is an individual residing in
17 Miami Florida and doing business in and with the state of California, including in this
18 judicial district.
19         98.   Upon information and belief, Plaintiffs allege that Defendant Christian
20 Mena p/k/a Saga WhiteBlack (“Saga WhiteBlack”) is an individual residing in Miami
21 Florida and doing business in and with the state of California, including in this
22 judicial district.
23         99.   Upon information and belief, Plaintiffs allege that Defendant Vladimir
24 Felix p/k/a DJ Blass (“DJ Blass”) is an individual residing in Miami, Florida and
25 doing business in and with the state of California, including in this judicial district.
26         100. Upon information and belief, Plaintiffs allege that Defendant Orlando
27 Javier Valle Vega p/k/a Chencho Corleone(“Chencho”) is an individual living in
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 1 Puerto Rico and doing business in and with the state of California, including in this
 2 district.
 3         101. Upon information and belief, Plaintiffs allege that Defendant Edwin
 4 Vasquez Vega p/k/a Maldy (“Maldy”) is an individual residing in Puerto Rico and
 5 doing business in and with the state of California, including in this judicial district.
 6 Chencho and Maldy perform as a duo professionally known as Plan B (“Plan B”).
 7         102. Upon information and belief, Plaintiffs allege that Defendant Hipgnosis
 8 Songs Group, LLC (“Hipgnosis”) is a Delaware Limited Liability Company
 9 registered to do business in the state of California with a principal place of business
10 at 15503 Ventura Blvd. Suite 300, Encino, CA 91436 and doing business in and with

11 the state of California, including in this judicial district.
12         103. Upon information and belief, Plaintiffs allege that Defendant Kemosabe
13 Records, LLC (“Kemosabe”) is a Delaware Limited Liability Company registered to
14 do business in the state of California and doing business in and with the state of
15 California, including in this judicial district. Upon information and belief, Kemosabe
16 is owned by Sony Music Entertainment, based in Los Angeles, California.
17         104. Upon information and belief, Plaintiffs allege that Defendant Rebbeca
18 Marie Gomez p/k/a Becky G (“Becky G”) is an individual residing in Los Angeles,
19 California and doing business in and with the state of California, including in this
20 judicial district.
21         105. Upon information and belief, Plaintiffs allege that Defendant Juan Luis
22 Londono Arias p/k/a Maluma (“Maluma”) is an individual residing in Miami, Florida
23 and Columbia doing business in and with the state of California, including in this
24 judicial district.
25         106. Upon information and belief, Plaintiffs allege that Defendant Natalia
26 Amapola Alexandra Gutierrez Batista p/k/a Natti Natasha (“Natti Natasha”) is an
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 1 individual residing in Miami, Florida and doing business in and with the state of
 2 California, including in this judicial district.
 3         107. Upon information and belief, Plaintiffs allege that Defendant Camilo
 4 Echeverria p/k/a Camilo (“Camilo”) is an individual residing in Miami Florida and
 5 doing business in and with the state of California, including in this judicial district.
 6         108. Upon information and belief, Plaintiffs allege that Defendant Concord
 7 Music Group, LLC (“Concord”) is a Delaware Limited Liability Company registered
 8 to do business in the state of California with an office at 5750 Wilshire Blvd Suite
 9 450, Los Angeles, California 90036 and doing business in and with the state of
10 California, including in this judicial district.

11         109. Upon information and belief, Plaintiffs allege that Defendant Pedro
12 David Daleccio Torres p/k/a Dalex (“Dalex”) is an individual residing in Miami,
13 Florida and doing business in and with the state of California, including in this
14 judicial district.
15         110. Upon information and belief, Plaintiffs allege that Defendant Karim
16 Kharbouch p/k/a French Montana (“French Montana”) is an individual residing in
17 New York, New York and doing business in and with the state of California,
18 including in this judicial district.
19         111. Upon information and belief, Plaintiffs allege that Defendant Manuel
20 Turizo Zapata p/k/a Manuel Turizo (“Manuel Turizo”) is an individual residing in
21 Miami, Florida and doing business in and with the state of California, including in
22 this judicial district.
23         112. Upon information and belief, Plaintiffs allege that Defendant Anton
24 Alvarez Alfaro p/k/a C. Tangana (“C. Tangana”) is an individual residing in
25 Columbia and doing business in and with the state of California, including in this
26 judicial district.
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 1         113. Upon information and belief, Plaintiffs allege that Defendant Alejandro
 2 Rengifo p/k/a Cali (“Cali”) is an individual living in Colombia and doing business in
 3 and with the state of California, including in this district.
 4         114. Upon information and belief, Plaintiffs allege that Defendant Maurivio
 5 Rengifo p/k/a El Dandee (“El Dandee”) is an individual residing in Colombia and
 6 doing business in and with the state of California, including in this judicial district.
 7 Cali and El Dandee perform as a duo professionally known as Cali & El Dandee
 8 (“Cali & El Dandee”).
 9         115. Upon information and belief, Plaintiffs allege that Defendant Jesus
10 Alberto Navarro is an individual living in New York, New York and doing business

11 in and with the state of California, including in this district.
12         116. Upon information and belief, Plaintiffs allege that Defendant Julio
13 Ramirez Eguia is an individual residing in San Diego, California and doing business
14 in and with the state of California, including in this judicial district.
15         117. Upon information and belief, Plaintiffs allege that Defendant Gilberto
16 Marin Espinoza is an individual residing in Playa Del Carmen, Mexico and doing
17 business in and with the state of California, including in this judicial district. Jesus
18 Alberto Navarro, Julio Ramirez Equia, and Gilberto Marin Espinoza are
19 professionally known as the band Reik (“Reik”).
20         118. Upon information and belief, Plaintiffs allege that Defendant Danna
21 Paola Rivera Munguia p/k/a Danna Paola (“Danna Paola”) is an individual living in
22 Mexico City, Mexico and doing business in and with the state of California,
23 including in this district.
24         119. Upon information and belief, Plaintiffs allege that Defendant Michael
25 Egred Mejia p/k/a Mike Bahia (“Mike Bahia”) is an individual living in Colombia
26 and doing business in and with the state of California, including in this district.
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 1         120. Upon information and belief, Plaintiffs allege that Defendant Shakira
 2 Isabel Mebarak Ripoll p/k/a Shakira (“Shakira”) is an individual living in Barcelona
 3 Spain and Miami, Florida, and doing business in and with the state of California,
 4 including in this district.
 5         121. Upon information and belief, Plaintiffs allege that Defendant Carlos
 6 Alberto Vives Restrepo p/k/a Carlos Vives (“Carlos Vives”) is an individual living in
 7 Miami Florida and Colombia and doing business in and with the state of California,
 8 including in this district.
 9         122. Upon information and belief, Plaintiffs allege that Defendant Enrique
10 Martin Morales p/k/a Ricky Martin (“Ricky Martin”) is an individual living in

11 Beverly Hills, California and doing business in and with the state of California,
12 including in this district.
13         123. Upon information and belief, Plaintiffs allege that Defendant Andres
14 Castro p/k/a Andres Castro (“Andres Castro”) is an individual living in Miami,
15 Florida and doing business in and with the state of California, including in this
16 district.
17         124. Upon information and belief, Plaintiffs allege that Defendant Marcos
18 Ramirez is an individual living in Puerto Rico and doing business in and with the
19 state of California, including in this district.
20         125. Upon information and belief, Plaintiffs allege that Defendant Victor R.
21 Torres is an individual living in Puerto Rico and doing business in and with the state
22 of California, including in this district.
23         126. Upon information and belief, Marcos Ramirez and Victor R. Torres
24 perform and are professionally known as Los Legendarios (collectively “Los
25 Legendarios”).
26         127. Upon information and belief, Plaintiffs allege that Defendant Julio
27 Alberto Cruz Garcia p/k/a Casper Magico (“Casper Magico”) is an individual living
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 1 in Puerto Rico and doing business in and with the state of California, including in this
 2 district.
 3         128. Upon information and belief, Plaintiffs allege that Defendant Vydia, Inc.
 4 (“Vydia”) is a Delaware Corporation registered to do business in the state of
 5 California with an office at 101 Crawford Corner Road Holmdel, New Jersey 07733
 6 and doing business in and with the state of California, including in this judicial
 7 district.
 8         129. Upon information and belief, Plaintiffs allege that Defendant Richard
 9 Camacho is an individual living in Miami, Florida doing business in and with the
10 state of California, including in this district.

11         130. Upon information and belief, Plaintiffs allege that Defendant Erick
12 Brian Colon is an individual residing in Miami, Florida and doing business in and
13 with the state of California, including in this judicial district.
14         131. Upon information and belief, Plaintiffs allege that Defendant
15 Christopher Velez is an individual residing in Miami, Florida and doing business in
16 and with the state of California, including in this judicial district.
17         132. Upon information and belief, Plaintiffs allege that Defendant Zabdiel De
18 Jesus is an individual residing in Miami, Florida and doing business in and with the
19 state of California, including in this judicial district. Defendants Richard Camacho,
20 Erick Brian Colon, Christopher Velez, and Zabdiel De Jesus perform and are
21 professionally known as the Latin American boy band CNCO (collectively
22 “CNCO”).
23         133. Upon information and belief, Plaintiffs allege that Defendant Salomon
24 Villada Hoyos p/k/a Feid (“Feid”) is an individual living in Miami, Florida and doing
25 business in and with the state of California, including in this district.
26         134. Upon information and belief, Plaintiffs allege that Defendant Solar
27 Music Rights management Limited (“SOLAR”) is an English Limited Liability
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 1 Company doing business in and with the state of California, including in this judicial
 2 district.
 3         135. Upon information and belief, Plaintiffs allege that Defendant Greeicy
 4 Yeliana Rendon Ceballos p/k/a Greeicy (“Greeicy”) is an individual living in
 5 Columbia and doing business in and with the state of California, including in this
 6 district.
 7         136. Upon information and belief, Plaintiffs allege that Defendant Daniel
 8 Alejandro Morales Reyes p/k/a Danny Ocean (“Danny Ocean”) is an individual
 9 living in Miami Florida and doing business in and with the state of California,
10 including in this district.

11         137. Upon information and belief, Plaintiffs allege that Defendant William
12 Sami Etienne Grigahcine p/k/a DJ Snake (“DJ Snake”) is an individual living in
13 France and doing business in and with the state of California, including in this
14 district.
15         138. Upon information and belief, Plaintiffs allege that Defendant Glad
16 Empire Live, LLC. (“Glad Empire”) is a Puerto Rican Limited Liability Company
17 doing business in and with the state of California, including in this judicial district.
18 Upon information and belief, Glad Empire is owned and operated by Get Low
19 Records, LLC a Florida limited liability company.
20         139. Upon information and belief, Plaintiffs allege that Defendant Selena
21 Marie Gomez p/k/a Selena Gomez (“Selena Gomez”) is an individual living in Los
22 Angeles, California and doing business in and with the state of California, including
23 in this district.
24         140. Upon information and belief, Plaintiffs allege that Defendant Descemer
25 Bueno p/k/a Descemer Bueno (“Descemer Bueno”) is an individual living in New
26 York, New York and doing business in and with the state of California, including in
27 this district.
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 1         141. Upon information and belief, Plaintiffs allege that Defendant Luis Angel
 2 O’Neill Laureano p/k/a O’Neill (“O’Neill”) is an individual living in Miami Florida
 3 and doing business in and with the state of California, including in this district.
 4         142. Upon information and belief, Plaintiffs allege that Defendant Hear This
 5 Music, LLC (“Hear This Music”) is a Puerto Rican Limited Liability Company doing
 6 business in and with the state of California, including in this judicial district.
 7         143. Upon information and belief, Plaintiffs allege that Defendant Marcos D.
 8 Perez p/k/a Sharo Towers or Sharo Torres (“Sharo Towers”) is an individual living in
 9 Miami Florida and doing business in and with the state of California, including in this
10 district.

11         144. Upon information and belief, Plaintiffs allege that Defendant Martha
12 Ivelisse Pesante Rodriguez p/k/a Ivy Queen (“Ivy Queen”) is an individual residing in
13 Puerto Rico and Miami Florida and doing business in and with the state of California,
14 including in this judicial district.
15         145. Upon information and belief, Plaintiffs allege that Defendant Jose
16 Alvaro Osorio Balvin p/k/a J Balvin (“J Balvin”) is an individual residing in New
17 York and Columbia and doing business in and with the state of California, including
18 in this judicial district.
19         146. Upon information and belief, Plaintiffs allege that Defendant Vicente
20 Saavedra p/k/a Vicente Saavedra (“Saavedra”) is an individual residing in Miami,
21 Florida and doing business in and with the state of California, including in this
22 judicial district.
23         147. Upon information and belief, Plaintiffs allege that Defendant Thomas
24 Wesley Pentz p/k/a Diplo (“Diplo”) is an individual residing in Los Angeles,
25 California and doing business in and with the state of California, including in this
26 judicial district.
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 1         148. Upon information and belief, Plaintiffs allege that Defendant Leighton
 2 Paul Walsh p/k/a Walshy Fire (“Walshy Fire”) is an individual residing in Miami,
 3 Florida and doing business in and with the state of California, including in this
 4 judicial district.
 5         149. Upon information and belief, Plaintiffs allege that Defendant Eric
 6 Alberto-Lopez p/k/a Ape Drums (“Ape Drums”) is an individual residing in Miami,
 7 Florida and doing business in and with the state of California, including in this
 8 judicial district.
 9         150. Upon information and belief, Plaintiffs allege that Defendants Diplo,
10 Walshy Fire, and Ape Drums perform and are professionally known as the group

11 Major Lazer (collectively “Major Lazer”).
12         151. Upon information and belief, Plaintiffs allege that Defendant Mad
13 Decent Publishing, LLC. (“Mad Decent Publishing”) is a Delaware Limited Liability
14 Company registered to do business in California and doing business in and with the
15 state of California, including in this judicial district.
16         152. Upon information and belief, Plaintiffs allege that Defendant Mad
17 Decent Protocol, LLC. (“Mad Decent”) is a Pennsylvania Limited Liability Company
18 registered to do business in California and doing business in and with the state of
19 California, including in this judicial district.
20         153. Upon information and belief, Plaintiffs allege that Defendant Jason Joel
21 Desrouleaux p/k/a Jason Derulo (“Jason Derulo”) is an individual residing in Los
22 Angeles, California and doing business in and with the state of California, including
23 in this judicial district.
24         154. Upon information and belief, Plaintiffs allege that Defendant Joshua
25 Christian Nanai p/k/a Jawsh 685 (“Jawsh 685”) is an individual residing in
26 Manurewa New Zealand and doing business in and with the state of California,
27 including in this judicial district.
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 1         155. Upon information and belief, Plaintiffs allege that Defendant Jennifer
 2 Lynn Affleck p/k/a Jennifer Lopez (“Jennifer Lopez”) is an individual residing in Los
 3 Angeles, California and doing business in and with the state of California, including
 4 in this judicial district.
 5         156. Upon information and belief, Plaintiffs allege that Defendant Julio
 6 Manuel Gonzalez Tavarez p/k/a Lenny Tavarez (“Lenny Tavarez”) is an individual
 7 residing in Puerto Rico and doing business in and with the state of California,
 8 including in this judicial district.
 9         157. Upon information and belief, Plaintiffs allege that Defendant Rich
10 Music Inc. (“Rich Music”) is a Delaware Corporation registered with a principal

11 place of business in Miami Florida and doing business in and with the state of
12 California, including in this judicial district.
13         158. Upon information and belief, Plaintiffs allege that Defendant Cuban Jose
14 Garcia p/k/a IAmChino (“IAmChina”) is an individual residing in Miami, Florida and
15 doing business in and with the state of California, including in this judicial district.
16         159. Upon information and belief, Plaintiffs allege that Defendant Giencarlos
17 Rivera p/k/a Yan Madmusick (“Yan madmusick”) is an individual residing in Miami
18 Florida and doing business in and with the state of California, including in this
19 judicial district.
20         160. Upon information and belief, Plaintiffs allege that Defendant Jonathan
21 Rivera p/k/a Yon Madmusick (“Yon Madmusick”) is an individual residing in Miami
22 Florida and doing business in and with the state of California, including in this
23 judicial district.
24         161. Upon information and belief, Plaintiffs allege that Defendants Yon
25 Madmusick and Yan Madmusick perform and are professionally known together as
26 Madmusick (collectively “Madmusick”).
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 1         162. Upon information and belief, Plaintiffs allege that Defendant Kevin
 2 Mauricio Jimenez Londono p/k/a Kevin ADG (“Kevin ADG”) is an individual
 3 residing in Miami Florida and doing business in and with the state of California,
 4 including in this judicial district.
 5         163. Upon information and belief, Plaintiffs allege that Defendant Bryan
 6 Lezcano Chaverra p/k/a Chan El Genio (“Chan El Genio”) is an individual residing in
 7 Miami, Florida and doing business in and with the state of California, including in
 8 this judicial district.
 9         164. Upon information and belief, Plaintiffs allege that Defendants Kevin
10 ADG and Chan El Genio perform and are professionally known together as The Rude

11 Boyz (collectively “Rude Boyz”).
12         165. Upon information and belief, Plaintiffs allege that Defendant Ernesto
13 Fidel Padilla p/k/a Nesty (“Nesty”) is an individual residing in Miami, Florida and
14 doing business in and with the state of California, including in this judicial district.
15         166. Upon information and belief, Plaintiffs allege that Defendant Dimelo Vi
16 LLC (“Dimelo Vi”) is a Puerto Rican Limited Liability Company with a principal
17 place of business in San Juan, Puerto Rico and doing business in and with the state of
18 California, including in this judicial district.
19         167. Upon information and belief, Plaintiffs allege that Defendant VP
20 Records Corporation (“VP Records”) is a Puerto Rican Corporation with a principal
21 place of business in Puerto Rico and doing business in and with the state of
22 California, including in this judicial district.
23         168. Upon information and belief, Plaintiffs allege that Defendant Jose
24 Aponte Santi p/k/a Hi Music Hi Flow (“Hi Music Hi Flow”) is an individual residing
25 in Puerto Rico and doing business in and with the state of California, including in this
26 judicial district.
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 1         169. Upon information and belief, Plaintiffs allege that Defendant Mr. 305,
 2 Inc. (“Mr. 305”) is a Florida Corporation with a principal place of business at 218
 3 NW 24th Street unit 310, Miami, Florida 33127 and doing business in and with the
 4 state of California, including in this judicial district.
 5         170. Upon information and belief, Plaintiffs allege that Defendant Eric Perez
 6 Rovira p/k/a Eric Duars (“Eric Duars”) is an individual residing in Puerto Rico and
 7 doing business in and with the state of California, including in this judicial district.
 8         171. Upon information and belief, Plaintiffs allege that Defendant Duars
 9 Entertainment, Corp. (collectively “Duars Ent.”) is a Puerto Rican Corporation doing
10 business in and with the state of California, including in this judicial district.

11         172. Upon information and belief, Plaintiffs allege that Defendant Anthony
12 Santos p/k/a Romeo Santos (“Romeo Santos”) is an individual residing in New York,
13 New York and doing business in and with the state of California, including in this
14 judicial district.
15         173. Upon information and belief, Plaintiffs allege that Defendant Isolation
16 Network Inc. doing business as Ingrooves Music Group (collectively “Ingrooves”) is
17 a California Corporation with a principal place of business at 2200 Colorado Ave.
18 Santa Monica, California 90404 and doing business in and with the state of
19 California, including in this judicial district.
20         174. Upon information and belief, Plaintiffs allege that Defendant Ursula
21 Sofia Reyes Pineyro p/k/a Sofia Reyes (“Sofia Reyes”) is an individual residing in
22 Los Angeles, California and doing business in and with the state of California,
23 including in this judicial district.
24         175. Upon information and belief, Plaintiffs allege that Defendant Andres
25 Felipe Zapata Gaviria p/k/a Wolfine (“Wolfine”) is an individual residing in
26 Columbia and doing business in and with the state of California, including in this
27 judicial district.
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 1         176. Upon information and belief, Plaintiffs allege that Defendant Empire
 2 Distribution, Inc. doing business as Empire (collectively “Empire”) is a California
 3 Corporation with a principal place of business at 235 Pine Street 24th floor, San
 4 Francisco, California 94104 and doing business in and with the state of California,
 5 including in this judicial district.
 6         177. Upon information and belief, Plaintiffs allege that Defendant Baby
 7 Records, Inc. (“Baby Records”) is a Puerto Rican Corporation doing business in and
 8 with the state of California, including in this judicial district.
 9         178. Upon information and belief, Plaintiffs allege that Defendant Paulo
10 Ezequiel Londra Farias p/k/a Paulo Londra (“Paulo Londra”) is an individual residing

11 in Argentina and doing business in and with the state of California, including in this
12 judicial district.
13         179. Upon information and belief, Plaintiffs allege that Defendant Aubrey
14 Drake Graham p/k/a Drake (“Drake”) is an individual residing in Los Angeles,
15 California and doing business in and with the state of California, including in this
16 judicial district.
17         180. Upon information and belief, Plaintiffs allege that Defendant OVO
18 Sound, LLC (“OVO”) is a California Limited Liability Company operating out of
19 Toronto, Canada and doing business in and with the state of California, including in
20 this judicial district.
21         181. Upon information and belief, Plaintiffs allege that Defendant Ariadna
22 Thalia Sodi Miranda p/k/a Thalia (“Thalia”) is an individual residing in Miami,
23 Florida and doing business in and with the state of California, including in this
24 judicial district.
25         182. Upon information and belief, Plaintiffs allege that Defendant Flow La
26 Movie, Inc. (“Flow La Movie”) is a Florida Corporation doing business in and with
27 the state of California, including in this judicial district.
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 1         183. Upon information and belief, Plaintiffs allege that Defendant Rosalia
 2 Vila I Tobella p/k/a Rosalia (“Rosalia”) is an individual residing in Miami, Florida
 3 and doing business in and with the state of California, including in this judicial
 4 district.
 5         184. Upon information and belief, Plaintiffs allege that Defendant Jose Angel
 6 Lopez Martinez p/k/a Jay Wheeler (“Jay Wheeler”) is an individual residing in Puerto
 7 Rico and doing business in and with the state of California, including in this judicial
 8 district.
 9         185. Upon information and belief, Plaintiffs allege that Defendant Silvestre
10 Francisco Dangond Corrales p/k/a Silvestre Dangond (“Silvestre Dangond”) is an

11 individual residing in Columbia and doing business in and with the state of
12 California, including in this judicial district.
13         186. Upon information and belief, Plaintiffs allege that Defendant Geoffrey
14 Royce Rojas p/k/a Prince Royce (“Prince Royce”) is an individual residing in New
15 York, New York and doing business in and with the state of California, including in
16 this judicial district.
17         187. Upon information and belief, Plaintiffs allege that Defendant Luis
18 Antonia Quinones Garcia p/k/a Nio Garcia (“Nio Garcia”) is an individual residing in
19 Puerto Rico and doing business in and with the state of California, including in this
20 judicial district.
21         188. Upon information and belief, Plaintiffs allege that Defendant The
22 Royalty Network, Inc. (“Royalty”) is a New York Corporation registered to do
23 business in California with an office at 12711 Ventura Blv. #217, Studio City, CA
24 91604 and doing business in and with the state of California, including in this judicial
25 district.
26         189. Upon information and belief, Plaintiffs allege that Defendant Manuel
27 Enrique Cortes Cleghorn p/k/a Rike Music (“Rike Music”) is an individual residing
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 1 in Panama and Miami, Florida and doing business in and with the state of California,
 2 including in this judicial district.
 3         190. Upon information and belief, Plaintiffs allege that Defendant WK
 4 Records, LLC (“WK Records”) is a Florida Limited Liability Company doing
 5 business in and with the state of California, including in this judicial district.
 6         191. Upon information and belief, Plaintiffs allege that Defendant La Base
 7 Music Group, LLC (“La Base”) is a Florida Limited Liability Company doing
 8 business in and with the state of California, including in this judicial district.
 9         192. Defendants Does 1 through 20 (collectively, “Doe Defendants”)
10 (altogether with the above-referenced parties, “Defendants”) are other parties not yet

11 identified who have infringed Plaintiffs’ copyrights, have contributed to the
12 infringement of Plaintiffs’ copyrights, and/or have engaged in one or more of the
13 wrongful practices alleged herein. The true names, whether corporate, individual, or
14 otherwise, of Doe Defendants are presently unknown to Plaintiffs, who therefore sue
15 said Defendants by such fictitious names, and will seek leave to amend this
16 Complaint to show their true names and capacities when the same have been
17 ascertained.
18         193. Upon information and belief, Plaintiffs allege that each of the
19 Defendants was the agent, affiliate, officer, director, manager, principal, alter-ego,
20 and/or employee of the remaining Defendants, and was at all times acting within the
21 scope of such agency, affiliation, alter-ego relationship, and/or employment; and
22 actively participated in, subsequently ratified, and/or adopted the acts or conduct
23 alleged herein, with full knowledge of all the facts and circumstances of the alleged
24 violations of Plaintiffs’ rights and the damages to Plaintiffs proximately caused
25 thereby.
26                                    Factual Background
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 1        194. Plaintiff Cleveland Constantine Browne, p/k/a Clevie (“Mr. Browne”), is
 2 a world-renowned influential and innovative composer, musician, and producer
 3 known for, inter alia, pioneering the use of drum machines in reggae.
 4        195. Wycliffe Anthony Johnson, p/k/a Steely (“Mr. Johnson”), was a likewise
 5 influential and innovative composer, musician, and producer.
 6        196. Together, Mr. Browne and Mr. Johnson formed the duo “Steely &
 7 Clevie,” and worked on numerous genre-defining projects. Mr. Browne and Mr.
 8 Johnson worked with such legendary artists as Bob Marley, Bunny Wailer, Jimmy
 9 Cliff, Gregory Isaacs, Ziggy Marley, and Lee Scratch Perry.
10        197. Plaintiff Steely & Clevie Productions Ltd. is the production company of
11 Mr. Browne and Mr. Johnson.
12        198. In 1989, Mr. Browne and Mr. Johnson wrote and recorded the
13 instrumental song Fish Market (“Fish Market” or the “Song”). They own the
14 copyright for the Song and the sound recording and composition for the Song are
15 registered with the U.S. Copyright Office.
16        199. Fish Market is an original work, including, without limitation, an
17 original drum pattern that differentiates it from prior works. Fish Market features,
18 inter alia, a programmed kick, snare, and hi-hat playing a one bar pattern; percussion
19 instruments, including a tambourine playing through the entire bar, a synthesized
20 ‘tom’ playing on beats one and three, and timbales that play a roll at the end of every
21 second bar and free improvisation over the pattern for the duration of the song; and a
22 synthesized Bb (b-flat) bass note on beats one and three of each bar, which follows
23 the aforementioned synthesized ‘tom’ pattern. The foregoing combination of
24 elements is original to Mr. Browne and Mr. Johnson and was groundbreaking upon
25 its creation.
26        200. Mr. Browne and Mr. Johnson co-authored the song titled Dem Bow
27 (roughly “They Bow” in English) with Shabba Ranks and co-own, with Shabba
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 1 Ranks, the song’s copyrights. The composition for Dem Bow is registered with the
 2 U.S. Copyright Office. Dem Bow was a massive hit, and a critical and commercial
 3 success, in the international reggae dancehall scene. Indeed, Dem Bow’s instrumental
 4 (an alternative mix of Fish Market, based on the same multi-track recording) is so
 5 iconic that it has been acknowledged as widely sampled and/or copied in reggaeton
 6 music.1
 7           201. In 1990, after Dem Bow’s release and success, Denis Halliburton p/k/a
 8 “Dennis the Menace” recreated a nearly verbatim version of Dem Bow’s instrumental
 9 that was used to record Ellos Benia, a Spanish Language cover version of Dem Bow
10 (the title is a rough Spanish translation of Dem Bow), by Fernando Brown p/k/a

11 “Nando Boom”; and Pounder, by the duo Patrick Bernard p/k/a “Bobo General” and
12 Wayne Archer p/k/a “Sleepy Wonder.”
13           202. Both Ellos Benia and Pounder were released on vinyl, 12-inch singles
14 on the Shelly’s Records label in New York. The “B Side” to Pounder featured an
15 instrumental mix of Mr. Halliburton’s sound recording entitled Dub Mix II and
16 attributed to Dennis The Menace. This instrumental has been so widely sampled in
17 reggaeton2 that has become commonly known as the “Pounder riddim.”3 The
18 Pounder riddim is substantially similar, if not virtually identical, to Fish Market.
19
20
     1
         See, e.g., Wayne Marshall, “Reggaeton”, Pages 36-48, Raquel Z. Rivera, Duke
21 University Press (2009).
22
     2
         The prolific sampling of the Pounder riddim in reggaeton is described in the
23 acclaimed documentary LOUD: The history of Reggaeton, from Spotify and Futuro
24 Media and narrated by Martha Ivelisse Pesante Rodríguez p/k/a Ivy Queen,
     https://www.latinousa.org/loudthehistoryofreggaeton/ (last accessed July 29, 2022).
25
     3
26   The term “riddim” in Reggae Dancehall refers to an instrumental track that can be
   used to record multiple different songs. The term “riddim” in dancehall, similar to
27
   the term beat in hip hop, encompasses the entire track without vocals.
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 1 Transcripts of portions of Fish Market and the Pounder riddim are shown below. Any
 2 copying, interpolating, or sampling of the Pounder riddim, is a copying or
 3 interpolation of Fish Market.
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 1                                                          Pounder Rhythm
                                                                 As played by Denis Halliburton
                                     q = 100
 2
                           1 N  5
                                A
 3                hi hat                        5           5           5                5         5     5     5
                                   3        
 4             timbale 1
                              
                            N = 55 55 = 555 =                                           = 55355535554

                            N  ?                          4                                            4
 5                                                                      = 5555 ?                               = 5555
               timbale 2

 6
                  tom 1
                             
                            N5
                                                4           5           4                5         4     5     4

                            N  = :                    5 =:                             =:            5 =:
 7
                                             $                      $                           $          $ 
                 snare 1                     5=                      5= 5                         5=          5= 5
 8
 9                 kick    2 N  5             5           5           5                5         5     5     5

10
                            G                             0                                             0
11                                   M
                                    bass line 1
                                                             M                            M               M
                                 5           4           5           4               5         4     5     4
12
                            b.1 - 2 is the A pattern.
13                          This pattern is the main
                            pattern that is repeated many


14        203. Defendants, and each of them, are responsible for the creation and
                            times.
                            Bass sounds 8vb.




15 exploitation of the following works: Dame tu Cosita, Dame tu Cosita Remix, Bésame,
16 Calypso, Date La Vuelta, Despacito, Despacito Remix, Échame La Culpa, Imposible,
17 Perfecta, Sola, Vacio, After Party, Alerta Roja, Camuflash, Cuéntame, Dale Caliente,
18 Desafio, Dos Mujeres, El Empuje, Gangsta Zone, Guaya, King Daddy, La Rompe
19 Carros, Latigazo, Llegamos a la Disco, Machete, Nada Ha Cambiado, No Me Dejes
20 Solo, Perros Salvajes, Po’ Encima, ¿Que Vas Hacer?, Quiero Decirte, Rompe, Te
21 Ves Bien, Adictiva, Con Calma, Definitivamente, Don Don, Dura, El Pony, Gasolina,
22 Hula Hoop, La Rompe Corazones, Lo Que Pasó, Pasó, Métele Al Perreo, Muévelo,
23 Problema, Que Tire Pa' 'Lante, Shaky Shaky, Si Supieras, Sígueme y Te Sigo, Zum
24 Zum, Golpe de Estado, and Calenton, as well as, the works found and listed in
25 Exhibit A attached hereto (collectively, the “Infringing Works”) are each hit songs
26 that have garnered millions (and, for some, billions) of plays and streams,
27
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                                                                               39
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 1 respectively, and resulted in significant revenue and profits to the Defendants, and
 2 each of them.
 3        204. Defendants never sought or obtained a license, authorization, or consent
 4 from Plaintiffs to use or copy Fish Market and/or the other derivatives in which
 5 Plaintiffs own rights, in connection with any of the Infringing Works.
 6        205. Each of the Infringing Works, as described below, infringes on
 7 Plaintiffs’ copyrights in Fish Market and/or the other derivatives in which Plaintiffs
 8 own rights. And Defendants respectively continue to exploit, and generate revenue
 9 and profits from, the Infringing Works, in violation of Plaintiffs’ rights in their work.
10        206. As set forth below, the Infringing Works can be divided into 65
11 groups—(1) works written, recorded, and performed by the artist El Chombo; (2)
12 works written, recorded, and performed by Luis Fonsi; and (3) works written,
13 recorded, and performed by Daddy Yankee—along with a myriad of additional
14 performers and featured artists on each of the respective works (4) works written,
15 recorded, and performed by Abraham Mateo—along with a myriad of additional
16 performers and featured artists on each of the respective works; (5) works written,
17 recorded, and performed by Alex Sensation—along with a myriad of additional
18 performers and featured artists on each of the respective works; (6) works written,
19 recorded, and performed by Anitta—along with a myriad of additional performers
20 and featured artists on each of the respective works; (7) works written, recorded, and
21 performed by Anuel AA—along with a myriad of additional performers and featured
22 artists on each of the respective works; (8) works written, recorded, and performed by
23 Anuel AA & Ozuna-- along with a myriad of additional performers and featured
24 artists on each of the respective works; (9) works written, recorded, and performed by
25 Bad Bunny—along with a myriad of additional performers and featured artists on
26 each of the respective works; (10) works written, recorded, and performed by Becky
27 G—along with a myriad of additional performers and featured artists on each of the
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 1 respective works; (11) works written, recorded, and performed by Cali & El
 2 Dandee—along with a myriad of additional performers and featured artists on each of
 3 the respective works; (12) works written, recorded, and performed by Camilo—along
 4 with a myriad of additional performers and featured artists on each of the respective
 5 works; (13) works written, recorded, and performed by Carlos Vives—along with a
 6 myriad of additional performers and featured artists on each of the respective works;
 7 (14) works written, recorded, and performed by Casper Magico—along with a myriad
 8 of additional performers and featured artists on each of the respective works; (15)
 9 works written, recorded, and performed by CNCO—along with a myriad of
10 additional performers and featured artists on each of the respective works; (16) works

11 written, recorded, and performed by Dalex—along with a myriad of additional
12 performers and featured artists on each of the respective works; (17) works written,
13 recorded, and performed by Donna Paola—along with a myriad of additional
14 performers and featured artists on each of the respective works; (18) works written,
15 recorded, and performed by Danny Ocean—along with a myriad of additional
16 performers and featured artists on each of the respective works; (19) works written,
17 recorded, and performed by De La Ghetto—along with a myriad of additional
18 performers and featured artists on each of the respective works; (20) works written,
19 recorded, and performed by Dimelo Flow—along with a myriad of additional
20 performers and featured artists on each of the respective works;(21) works written,
21 recorded, and performed by DJ Snake—along with a myriad of additional performers
22 and featured artists on each of the respective works; (22) works written, recorded, and
23 performed by Drake—along with a myriad of additional performers and featured
24 artists on each of the respective works; (23) works written, recorded, and performed
25 by Enrique Iglesias—along with a myriad of additional performers and featured
26 artists on each of the respective works; (24) works written, recorded, and performed
27 by Farruko—along with a myriad of additional performers and featured artists on
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 1 each of the respective works; (25) works written, recorded, and performed by Feid—
 2 along with a myriad of additional performers and featured artists on each of the
 3 respective works; (26) works written, recorded, and performed by French Montana—
 4 along with a myriad of additional performers and featured artists on each of the
 5 respective works; (27) works written, recorded, and performed by Gente De La
 6 Zona—along with a myriad of additional performers and featured artists on each of
 7 the respective works; (28) works written, recorded, and performed by Greeicy—
 8 along with a myriad of additional performers and featured artists on each of the
 9 respective works; (29) works written, recorded, and performed by Ivy Queen—along
10 with a myriad of additional performers and featured artists on each of the respective

11 works; (30) works written, recorded, and performed by J Balvin—along with a
12 myriad of additional performers and featured artists on each of the respective works;
13 (31) works written, recorded, and performed by Jason Derulo—along with a myriad
14 of additional performers and featured artists on each of the respective works; (32)
15 works written, recorded, and performed by Jawsh 685—along with a myriad of
16 additional performers and featured artists on each of the respective works; (33) works
17 written, recorded, and performed by Jay Wheeler—along with a myriad of additional
18 performers and featured artists on each of the respective works; (34) works written,
19 recorded, and performed by Jennifer Lopez—along with a myriad of additional
20 performers and featured artists on each of the respective works; (35) works written,
21 recorded, and performed by Jhay Cortez—along with a myriad of additional
22 performers and featured artists on each of the respective works; (36) works written,
23 recorded, and performed by Justin Quiles—along with a myriad of additional
24 performers and featured artists on each of the respective works; (37) works written,
25 recorded, and performed by Karol G—along with a myriad of additional performers
26 and featured artists on each of the respective works; (38) works written, recorded, and
27 performed by Lenny Tavarez—along with a myriad of additional performers and
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 1 featured artists on each of the respective works; (39) works written, recorded, and
 2 performed by Los Legendarios—along with a myriad of additional performers and
 3 featured artists on each of the respective works; (40) works written, recorded, and
 4 performed by Major Lazer—along with a myriad of additional performers and
 5 featured artists on each of the respective works; (41) works written, recorded, and
 6 performed by Maluma—along with a myriad of additional performers and featured
 7 artists on each of the respective works; (42) works written, recorded, and performed
 8 by Manuel Turizo—along with a myriad of additional performers and featured artists
 9 on each of the respective works; (43) works written, recorded, and performed by
10 Myke Towers—along with a myriad of additional performers and featured artists on

11 each of the respective works; (44) works written, recorded, and performed by Natti
12 Natasha—along with a myriad of additional performers and featured artists on each
13 of the respective works; (45) works written, recorded, and performed by Nicky
14 Jam—along with a myriad of additional performers and featured artists on each of the
15 respective works; (46) works written, recorded, and performed by Ozuna—along
16 with a myriad of additional performers and featured artists on each of the respective
17 works; (47) works written, recorded, and performed by Paulo Londra—along with a
18 myriad of additional performers and featured artists on each of the respective works;
19 (48) works written, recorded, and performed by Pitbull—along with a myriad of
20 additional performers and featured artists on each of the respective works; (49) works
21 written, recorded, and performed by Rauw Alejandro—along with a myriad of
22 additional performers and featured artists on each of the respective works; (50) works
23 written, recorded, and performed by Reik—along with a myriad of additional
24 performers and featured artists on each of the respective works; (51) works written,
25 recorded, and performed by Ricky Martin—along with a myriad of additional
26 performers and featured artists on each of the respective works; (52) works written,
27 recorded, and performed by Romeo Santos—along with a myriad of additional
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 1 performers and featured artists on each of the respective works; (53) works written,
 2 recorded, and performed by Rosalia—along with a myriad of additional performers
 3 and featured artists on each of the respective works; (54) works written, recorded, and
 4 performed by Sech—along with a myriad of additional performers and featured
 5 artists on each of the respective works; (55) works written, recorded, and performed
 6 by Selena Gomez—along with a myriad of additional performers and featured artists
 7 on each of the respective works; (56) works written, recorded, and performed by
 8 Shakira—along with a myriad of additional performers and featured artists on each of
 9 the respective works; (57) works written, recorded, and performed by Silvestre
10 Dangond—along with a myriad of additional performers and featured artists on each

11 of the respective works; (58) works written, recorded, and performed by Sky—along
12 with a myriad of additional performers and featured artists on each of the respective
13 works; (59) works written, recorded, and performed by Sofia Reyes—along with a
14 myriad of additional performers and featured artists on each of the respective works;
15 (60) works written, recorded, and performed by Thalia—along with a myriad of
16 additional performers and featured artists on each of the respective works; (61) works
17 written, recorded, and performed by Wisin—along with a myriad of additional
18 performers and featured artists on each of the respective works; (62) works written,
19 recorded, and performed by Wisin & Yandel—along with a myriad of additional
20 performers and featured artists on each of the respective works; (63) works written,
21 recorded, and performed by Wolfine—along with a myriad of additional performers
22 and featured artists on each of the respective works; (64) works written, recorded, and
23 performed by Yandel—along with a myriad of additional performers and featured
24 artists on each of the respective works; (65) works written, recorded, and performed
25 by Zion & Lennox—along with a myriad of additional performers and featured artists
26 on each of the respective works.
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 1         207. As set forth below, the entity defendants were involved in the
 2 exploitation, distribution, and publishing of each of the Infringing Works. The parties
 3 responsible for each song and the manner of copying alleged is either described
 4 below and/or can be found in Exhibit A attached hereto.
 5                                  El Chombo Allegations
 6         208. On April 2, 2018, Sony, Ultra, and Juston released the single Dame tu
 7 Cosita by El Chombo.
 8         209. On or about August 2018, Sony, Ultra, and Juston released an alternative
 9 mix of Dame tu Cosita by El Chombo, Pitbull, and Karol G.
10         210. Both recordings, the Dame tu Cosita and/or the Dame Tu Cosita Remix,
11 were hit songs garnering millions (if not billions) of plays and streams, resulting in
12 significant revenue and profits to Defendants.
13         211. The Infringing Works consist of rhythmic speech, drums, and
14 percussion. The primary rhythm and drum sections of Dame tu Cosita and Dame Tu
15 Cosita Remix consist of an unauthorized sample and/or a verbatim copy of elements
16 from the Song.
17         212. Moreover, the composition of Dame tu Cosita substantially comprises
18 the composition of Fish Market. The drum pattern of the Dame tu Cosita is the drum
19 pattern of Fish Market set forth above. Two versions of the drum pattern are played.
20 The first is one with a “stop” (i.e., a cut) on the third beat and silence on the fourth
21 beat. The second is like the first, but with a continuous beat (i.e., with no stop).
22 Among other things, as in Fish Market, the low drum (or bass) sound in the rhythm
23 track of Dame tu Cosita plays on beats 1 and 3, is pitched at a Bb (B-flat). The main
24 riffs of Fish Market are also included in the Dame tu Cosita, including the kick and
25 snare pattern, the reinforcing of beats 1 and 3 on a low-pitched drum, and the
26 sixteenth notes on the ‘and’ of beat 1 on the snare. The kick and snare drums are
27 prominent in the Dame tu Cosita mix, just as in Fish Market.
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 1        213. For the same reasons, the composition of the Dame Tu Cosita Remix
 2 substantially comprises the composition of Fish Market.
 3        214. A sample of audio from the recording of Fish Market is incorporated
 4 throughout Dame Tu Cosita and the Dame Tu Cosita Remix. Particularly, percussive
 5 elements mixed in the background of Dame Tu Cosita and the Dame Tu Cosita Remix
 6 correspond to the pattern and frequency bandwidth of sounds in Fish Market,
 7 including the timbales and tambourine—identifiable, key components of the Song.
 8                                Luis Fonsi Allegations
 9        215. On or about June 3, 2021, UMG released the Luis Fonsi single entitled
10 Bésame. Upon information and belief, Plaintiffs allege that Bésame was written,

11 recorded, produced, distributed, and/or exploited by Defendants UMG, Warner, Luis
12 Fonsi, Myke Towers, Cali, and Torres.
13        216. On or about June 14, 2018, UMG released the Luis Fonsi single entitled
14 Calypso. Upon information and belief, Plaintiffs allege that Calypso was written,
15 recorded, produced, distributed, and/or exploited by Defendants UMG, Warner,
16 Sony, Luis Fonsi, Cali, Torres, Dyo, and Stefflon Don.
17        217. On or about April 23, 2019, UMG released the single Date La Vuelta.
18 Upon information and belief, Plaintiffs allege that Date La Vuelta was written,
19 recorded, produced, distributed, and/or exploited by Defendants UMG, Warner,
20 Sony, UMP, Luis Fonsi, Cali, Torres, Llano, Nicky Jam, and Sebastian Yatra.
21        218. On or about January 12, 2017, UMG released the Luis Fonsi single
22 Despacito. Upon information and belief, Plaintiffs allege that Despacito was written,
23 recorded, produced, distributed, and/or exploited by Defendants UMG, Sony, Luis
24 Fonsi, Simoes, Andres Torres, and Daddy Yankee.
25        219. On or about April 2017, UMG released a remix of Despacito featuring
26 Justin Bieber (the “Despacito Remix”). Upon information and belief, Plaintiffs allege
27 that the Despacito Remix was written, recorded, produced, distributed, and/or
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 1 exploited by Defendants UMG, Sony, Luis Fonsi, Simoes, Daddy Yankee, Bieber,
 2 and Boyd.
 3        220. On or about November 17, 2017, UMG released the Luis Fonsi single
 4 entitled Échame La Culpa. Upon information and belief, Plaintiffs allege that
 5 Échame La Culpa was written, recorded, produced, distributed, and/or exploited by
 6 Defendants UMG, Warner. Sony, Luis Fonsi, El Dandee, Cali, and Torres.
 7        221. On or about October 19, 2018, UMG released the Luis Fonsi single
 8 entitled Imposible. Upon information and belief, Plaintiffs allege that Imposible was
 9 written, recorded, produced, distributed, and/or exploited by Defendants UMG, Sony,
10 Luis Fonsi, El Dandee, Torres, and Ozuna.

11        222. On or about September 23, 2020, UMG released the Luis Fonsi single
12 entitled Perfecta. Upon information and belief, Plaintiffs allege that Perfecta was
13 written, recorded, produced, distributed, and/or exploited by Defendants UMG,
14 Warner, Sony, Luis Fonsi, El Dandee, Torres, and Farruko.
15        223. On or about February 6, 2019, UMG released the Luis Fonsi single
16 entitled Sola. Upon information and belief, Plaintiffs allege that Sola was written,
17 recorded, produced, distributed, and/or exploited by Defendants UMG, Warner,
18 Sony, Luis Fonsi, El Dandee, and Torres.
19        224. On or about February 18, 2021, UMG released the Luis Fonsi single
20 entitled Vacio. Upon information and belief, Plaintiffs allege that Vacio was written,
21 recorded, produced, distributed, and/or exploited by Defendants UMG, Sony, Luis
22 Fonsi, El Dandee, Torres, and Rauw Alejandro.
23        225. Bésame, Calypso, Date La Vuelta, Despacito, Despacito Remix, Échame
24 La Culpa, Imposible, Perfecta, Sola, and Vacio (collectively, the “Luis Fonsi
25 Works”) were each hit songs garnering millions (if not billions) of plays and streams,
26 resulting in significant revenue and profits to the respective Defendants.
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 1         226. Each of the Luis Fonsi Works incorporates an unauthorized sample of
 2 the Fish Market recording and/or a verbatim copy of the Fish Market composition as
 3 the primary rhythm / drum section of each work.
 4         227. A comparison of Fish Market and each of the Luis Fonsi Works
 5 establishes that each of the Luis Fonsi Works incorporates both qualitatively and
 6 quantitatively significant sections of the Fish Market recording and/or composition.
 7         228. The rhythm section of Bésame copies original elements of the Fish
 8 Market rhythm section, including the original combination of drum patterns featured
 9 in Fish Market—among other things, the kick, snare, and hi-hat patterns and the
10 sixteenth notes on the ‘and’ of beat one (from a hi-hat sound substituted for the

11 corresponding snare in Fish Market); the kick drum, which plays four crotchets per
12 bar beginning on the first beat of each bar, as in Fish Market; and bongos, which are
13 substituted for the corresponding timbales pattern in Fish Market, playing a rapid
14 burst phrase ending the fourth bar. The drum and bass tracks, together and
15 independently, are substantially similar in rhythmic structures and texture to the same
16 tracks in Fish Market. The kick, snare, hi-hat, and bass are prominent in the mix of
17 Bésame, which emulates the sonic texture of Fish Market. And the bassline anchors
18 beats one and three, as in Fish Market. Because these copied elements form the
19 backbone of Bésame, significant portions of Bésame are substantially similar, if not
20 virtually identical, to significant portions of Fish Market, as set forth in the
21 transcripts below.
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 1        229. The rhythm section of Calypso copies original elements of the Fish
 2 Market rhythm section, including the original combination of drum and bass patterns
 3 featured in Fish Market. These purloined elements include, without limitation, the
 4 kick, snare, and hi-hat patterns, and the sixteenth notes on the ‘and’ of beat one from
 5 a snare sound. The kick, snare, hi-hat and bass are prominent in the mix of Calypso,
 6 which emulates the sonic texture of Fish Market. Because these copied elements form
 7 the backbone of Calypso, Calypso is substantially similar, if not virtually identical, to
 8 Fish Market, as set forth in the transcripts of portions of each below.
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10         230. The rhythm section of Date La Vuelta copies original elements of the
11 Fish Market rhythm section, including the original combination of drum and bass
12 patterns featured in Fish Market. These purloined elements include, without
13 limitation, the kick, snare, and hi-hat patterns, and the sixteenth notes on the ‘and’ of
14 beat one from a snare sound. The kick drum of Date La Vuelta plays four crotchets
15 per bar beginning on the first beat of each bar, as in Fish Market. The hi-hat plays a
16 similar pattern, as shown on bar 2, 4, 6, and 7 (below). The snare largely mimics the
17 snare pattern as played in Fish Market, with a minor variation on alternating bars.
18 The kick, snare, hi-hat, and bass are prominent in the mix of Date La Vuelta, which
19 emulates the sonic texture of Fish Market. The tom in Date La Vuelta plays the exact
20 down beat pattern as Fish Market, with emphasis on beats 1 and 3, and shares the
21 unique sonic character of the tom sound found in the Pounder riddim, indicating that
22 the tom sound was sampled from the Pounder riddim. The drum and bass tracks,
23 together and independently, are substantially similar in rhythmic structures and
24 texture to those of Fish Market. And the bassline anchors beats one and three, as in
25 Fish Market. Because these copied elements form the backbone of Date La Vuelta,
26 Date La Vuelta is substantially similar, if not virtually identical, to significant
27 portions of Fish Market, as set forth below.
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22        231. The rhythm section of Despacito and the Despacito Remix copies
23 original elements of the Fish Market rhythm section, including the original
24 combination of drum and bass patterns featured in Fish Market. These purloined
25 elements include, without limitation, the kick, snare, and bass patterns. The kick
26 drum of Despacito plays four crotchets per bar beginning on the first beat of each bar,
27 as in Fish Market. The snare mimics the snare pattern played in Fish Market. As in
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 1 Fish Market, the bass pattern in Despacito is primarily played on beats one and three.
 2 In addition, the kick, snare, and bass are prominent in the mix of Despacito, as in
 3 Fish Market. Despacito also emulates the texture of Fish Market. The drum and bass
 4 tracks, together and independently, are substantially similar in rhythmic structures
 5 and texture to those of Fish Market. The Despacito Remix includes the same
 6 elements. The musical backbones of Despacito and the Despacito Remix are
 7 substantially similar, if not virtually identical, to Fish Market, as set forth below.
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10         232. The rhythm section of Échame La Culpa copies original elements of the
11 Fish Market rhythm section, including the original combination of drum and bass
12 patterns featured in Fish Market. These copied elements include, without limitation,
13 the kick, snare, and bass patterns. The Échame La Culpa bass pattern is
14 predominantly played on beats one and three of every bar, as in Fish Market. Both
15 the kick drum and the hi-hat play four crotchets per bar beginning on the first beat of
16 each bar. The snare also mimics the snare in Fish Market. The kick, snare, and bass
17 are prominent in the mix of Échame La Culpa, as in Fish Market. Further, Échame
18 La Culpa includes a timbale roll/phrase occurring at the end of every second bar,
19 which mimics the structure of Fish Market. In sum, the musical backbone of Échame
20 La Culpa is substantially similar, if not virtually identical, to Fish Market, as set forth
21 below.
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22        233. Imposible copies Fish Market by using a sample or interpolation of the
23 Pounder riddim as its rhythm section. The bass has a similar texture, and the bassline
24 anchors beats one and three, as in Fish Market. The drum and bass tracks combined
25 are substantially similar to the rhythmic structures and texture of the Fish Market.
26 Because the Pounder riddim sample provides the musical backbone for Imposible,
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 1 Imposible is substantially similar, if not virtually identical, to Fish Market, as set
 2 forth below.
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24        234. The rhythm section of Perfecta copies original elements of the Fish
25 Market rhythm section, including the original combination of drum and bass patterns
26 featured in Fish Market. The kick drum plays four crotchets per bar beginning on the
27 first beat of each bar. The hi-hat plays a similar pattern. The snare mimics the snare
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 1 pattern in Fish Market, with the third sixteenth note filled in or substituted by a
 2 percussion or timbale, resulting in the same rhythmic effect as in Fish Market.
 3 Perfecta also copies Fish Market by using a sample of the Pounder riddim as its
 4 rhythm section. Thus, the copied elements of Fish Market provide the musical
 5 backbone for Perfecta, as set forth below.
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 1        235. The rhythm section of Sola copies original elements of the Fish Market
 2 rhythm section, including the original combination of drum and bass patterns featured
 3 in Fish Market. These purloined elements include, without limitation, the kick and
 4 snare patterns. The kick drum plays two crotchets per bar on beats 1 and 3 of each
 5 bar, and beats 2 and 4 are played with a percussive substitute, thus formulating the
 6 full kick drum pattern of Fish Market. The bass maintains a similar texture with the
 7 deep tone timbre found in Fish Market. The bassline anchors beats one and three, as
 8 in Fish Market. And the kick, snare, and bass are prominent in the mix of Sola, as in
 9 Fish Market. Accordingly, the musical backbone of Sola is substantially similar, if
10 not virtually identical, to a significant portion of Fish Market, as set forth below.

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10         236. The rhythm section of Vacio copies original elements of the Fish Market
11 rhythm section, including the original combination of drum and bass patterns featured
12 in Fish Market. The kick drum and hi-hat play four crotchets per bar beginning on the
13 first beat of each bar, as in Fish Market. The snare mimics the snare pattern played in
14 Fish Market. Tom 1 (below) is played on beats 1 and 3, as in Fish Market. The
15 rhythmic structures and texture of the drum and bass tracks are substantially similar
16 to those of Fish Market. And the bassline emphasizes beats 1 and 3, as in Fish
17 Market. Vacio also uses a sample of the Pounder riddim as its rhythm section.
18 Because the copied elements of Fish Market provide the musical backbone for Vacio,
19 Vacio is substantially similar, if not virtually identical to, significant portions of Fish
20 Market, as set forth below.
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20                               Daddy Yankee Claims
21        237.   On or about September 12, 1995, the mixtape Playero 39 by Pedro
22 Gerardo Torruellas Brito p/k/a DJ Playero (“DJ Playero”),4 which included the
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24   4
     DJ Playero is credited as one of the originators of reggaeton with the mixtapes
25 Playero 37 from 1993 (which featured reggae dancehall riddims released subsequent
   to Poco Man Jam, such as Armshouse Riddim (1993), Pitch Riddim (1992), Make
26 Hay Riddim (1993), Bam Bam Riddim (1992) (on which Defendant Daddy Yankee
27 was recorded), Big Up Riddim (1992) and Hot This Year Riddim (1992), etc.) and
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 1 Daddy Yankee song Te Ves Bien, was released. Upon information and belief,
 2 Plaintiffs allege that Te Ves Bien was written, recorded, produced, distributed, and/or
 3 exploited by Defendants GPC and Daddy Yankee. Copied elements from Fish
 4 Market, including the original combination of drum and bass patterns featured in Fish
 5 Market (that, upon information and belief, are audio samples of the Pounder riddim
 6 and/or Fish Market), form the backbone of Te Ves Bien. Accordingly, significant
 7 portions of Te Ves Bien are substantially similar, if not virtually identical, to
 8 significant portions of Fish Market.
 9         238. On or about March 5, 1996, the mixtape Playero 40: New Era, which
10 included the Daddy Yankee song Camuflash, was released. Upon information and

11 belief, Plaintiffs allege that Camuflash was written, recorded, produced, distributed,
12 and/or exploited by Defendants GPC and Daddy Yankee. Copied elements from Fish
13 Market, including the original combination of drum and bass patterns featured in Fish
14 Market (that, upon information and belief, are audio samples of the Pounder riddim
15 and/or Fish Market), form the backbone of Camuflash. Accordingly, significant
16 portions of Camuflash are substantially similar, if not virtually identical, to significant
17 portions of Fish Market.
18         239. On or about June 20, 2002, El Cartel released the song Latigazo. Upon
19 information and belief, Plaintiffs allege that Latigazo was written, recorded,
20 produced, distributed, and/or exploited by Defendants El Cartel, GPC, and Daddy
21 Yankee. Copied elements from Fish Market, including the original combination of
22 drum and bass patterns featured in Fish Market (that, upon information and belief, are
23 audio samples of the Pounder riddim and/or Fish Market), form the backbone of
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     Playero 38 (also from 1993), on which Daddy Yankee was featured on the song No
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     Te Canses (which includes multiple different hip-hop and dancehall samples).
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 1 Latigazo. Accordingly, significant portions of Latigazo are substantially similar, if
 2 not virtually identical, to significant portions of Fish Market.
 3         240. On or about July 13, 2004, El Cartel released the song Cuéntame. Upon
 4 information and belief, Plaintiffs allege that Cuéntame was written, recorded,
 5 produced, distributed, and/or exploited by Defendants El Cartel, GPC, Daddy Yankee,
 6 and Luny Tunes. Copied elements from Fish Market, including the original
 7 combination of drum and bass patterns featured in Fish Market (that, upon
 8 information and belief, are audio samples of the Pounder riddim and/or Fish Market),
 9 form the backbone of Cuéntame. Accordingly, significant portions of Cuéntame are
10 substantially similar, if not virtually identical, to significant portions of Fish Market.

11         241. On or about July 13, 2004, El Cartel released the song Dale Caliente.
12 Upon information and belief, Plaintiffs allege that Dale Caliente was written,
13 recorded, produced, distributed, and/or exploited by Defendants El Cartel, GPC,
14 Daddy Yankee, and DJ Urba. Copied elements from Fish Market, including the
15 original combination of drum and bass patterns featured in Fish Market (that, upon
16 information and belief, are audio samples of the Pounder riddim and/or Fish Market),
17 form the backbone of Dale Caliente. Accordingly, significant portions of Dale
18 Caliente are substantially similar, if not virtually identical, to significant portions of
19 Fish Market.
20         242. On or about July 13, 2004, El Cartel released the song El Empuje. Upon
21 information and belief, Plaintiffs allege that El Empuje was written, recorded,
22 produced, distributed, and/or exploited by Defendants El Cartel, GPC, Daddy
23 Yankee, and DJ Urba. Copied elements from Fish Market, including the original
24 combination of drum and bass patterns featured in Fish Market (that, upon
25 information and belief, are audio samples of the Pounder riddim and/or Fish Market),
26 form the backbone of El Empuje. Accordingly, significant portions of El Empuje are
27 substantially similar, if not virtually identical, to significant portions of Fish Market.
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 1         243. On or about July 13, 2004, El Cartel released the song Dos Mujeres.
 2 Upon information and belief, Plaintiffs allege that Dos Mujeres was written,
 3 recorded, produced, distributed, and/or exploited by Defendants El Cartel, GPC,
 4 Daddy Yankee, and Luny Tunes. Copied elements from Fish Market, including the
 5 original combination of drum and bass patterns featured in Fish Market (that, upon
 6 information and belief, are audio samples of the Pounder riddim and/or Fish Market),
 7 form the backbone of Dos Mujeres. Accordingly, significant portions of Dos Mujeres
 8 are substantially similar, if not virtually identical, to significant portions of Fish
 9 Market.
10         244. On or about July 13, 2004, El Cartel released the song King Daddy.
11 Upon information and belief, Plaintiffs allege that King Daddy was written, recorded,
12 produced, distributed, and/or exploited by Defendants El Cartel, GPC, Daddy
13 Yankee, and Luny Tunes. Copied elements from Fish Market, including the original
14 combination of drum and bass patterns featured in Fish Market (that, upon
15 information and belief, are audio samples of the Pounder riddim and/or Fish Market),
16 form the backbone of King Daddy. Accordingly, significant portions of King Daddy
17 are substantially similar, if not virtually identical, to significant portions of Fish
18 Market.
19         245. On or about July 13, 2004, El Cartel released the song No Me Dejes
20 Solo. Upon information and belief, Plaintiffs allege that No Me Dejes Solo was
21 written, recorded, produced, distributed, and/or exploited by Defendants El Cartel,
22 GPC, Daddy Yankee, Wisin, Yandel, and DJ Urba. Copied elements from Fish
23 Market, including the original combination of drum and bass patterns featured in Fish
24 Market (that, upon information and belief, are audio samples of the Pounder riddim
25 and/or Fish Market), form the backbone of No Me Dejes Solo. Accordingly,
26 significant portions of No Me Dejes Solo are substantially similar, if not virtually
27 identical, to significant portions of Fish Market.
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 1         246. On or about July 13, 2004, El Cartel released the song ¿Que Vas
 2 Hacer?. Upon information and belief, Plaintiffs allege that ¿Que Vas Hacer? was
 3 written, recorded, produced, distributed, and/or exploited by Defendants El Cartel,
 4 GPC, Daddy Yankee and DJ Urba. Copied elements from Fish Market, including the
 5 original combination of drum and bass patterns featured in Fish Market (that, upon
 6 information and belief, are audio samples of the Pounder riddim and/or Fish Market),
 7 form the backbone of ¿Que Vas Hacer?. Accordingly, significant portions of ¿Que
 8 Vas Hacer? are substantially similar, if not virtually identical, to significant portions
 9 of Fish Market.
10         247. On or about December 21, 2004, El Cartel released the song Machete.
11 Upon information and belief, Plaintiffs allege that Machete was written, recorded,
12 produced, distributed, and/or exploited by Defendants El Cartel, GPC, Daddy
13 Yankee, and DJ Urba. Copied elements from Fish Market, including the original
14 combination of drum and bass patterns featured in Fish Market (that, upon
15 information and belief, are audio samples of the Pounder riddim and/or Fish Market),
16 form the backbone of Machete. Accordingly, significant portions of Machete are
17 substantially similar, if not virtually identical, to significant portions of Fish Market.
18         248. On or about September 20, 2005, El Cartel released the song Rompe.
19 Upon information and belief, Plaintiffs allege that Rompe was written, recorded,
20 produced, distributed, and/or exploited by Defendants El Cartel, GPC, Daddy
21 Yankee, and DJ Urba. Copied elements from Fish Market, including the original
22 combination of drum and bass patterns featured in Fish Market (that, upon
23 information and belief, are audio samples of the Pounder riddim and/or Fish Market),
24 form the backbone of Rompe. Accordingly, significant portions of Rompe are
25 substantially similar, if not virtually identical, to significant portions of Fish Market.
26         249. On or about September 30, 2005, El Cartel released the song Gangsta
27 Zone. Upon information and belief, Plaintiffs allege that Gangsta Zone was written,
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 1 recorded, produced, distributed, and/or exploited by Defendants El Cartel, GPC, and
 2 Daddy Yankee. Copied elements from Fish Market, including the original
 3 combination of drum and bass patterns featured in Fish Market (that, upon
 4 information and belief, are audio samples of the Pounder riddim and/or Fish Market),
 5 form the backbone of Gangsta Zone. Accordingly, significant portions of Gangsta
 6 Zone are substantially similar, if not virtually identical, to significant portions of Fish
 7 Market.
 8        250. On or about August 30, 2009, El Cartel released the single “Desafio”,
 9 with William Omar Landrón Rivera p/k/a Don Omar (“Don Omar”). Upon
10 information and belief, Plaintiffs allege that Desafio was written, recorded, produced,

11 distributed and/or exploited by Defendants El Cartel, GPC, Daddy Yankee, Luny,
12 and Tunes. Copied elements from Fish Market, including the original combination of
13 drum and bass patterns featured in Fish Market (that, upon information and belief, are
14 audio samples of the Pounder riddim and/or Fish Market), form the backbone of
15 Desafio and accordingly, significant portions of Desafio are substantially similar if
16 not virtually identical to significant portions of Fish Market.
17        251. On or about July 6, 2011, El Cartel released the single “Llegamos a la
18 Disco”. Upon information and belief, Plaintiffs allege that Llegamos a la Disco was
19 written, recorded, produced, distributed and/or exploited by Defendants El Cartel,
20 GPC, and Daddy Yankee. Copied elements from Fish Market, including the original
21 combination of drum and bass patterns featured in Fish Market (that, upon
22 information and belief, are audio samples of the Pounder riddim and/or Fish Market),
23 form the backbone of Llegamos a la Disco and accordingly, significant portions of
24 Llegamos a la Disco are substantially similar if not virtually identical to significant
25 portions of Fish Market.
26        252. On or about January 28, 2012, El Cartel released the single “Guaya”.
27 Upon information and belief, Plaintiffs allege that Guaya was written, recorded,
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 1 produced, distributed and/or exploited by Defendants El Cartel, GPC, and Daddy
 2 Yankee. Copied elements from Fish Market, including the original combination of
 3 drum and bass patterns featured in Fish Market (that, upon information and belief, are
 4 audio samples of the Pounder riddim and/or Fish Market), form the backbone of
 5 Guaya and accordingly, significant portions of Guaya are substantially similar if not
 6 virtually identical to significant portions of Fish Market.
 7         253. On or about September 11, 2012, El Cartel released the single “Perros
 8 Salvajes”. Upon information and belief, Plaintiffs allege that Perros Salvajes was
 9 written, recorded, produced, distributed and/or exploited by Defendants El Cartel,
10 GPC, and Daddy Yankee. Copied elements from Fish Market, including the original

11 combination of drum and bass patterns featured in Fish Market (that, upon
12 information and belief, are audio samples of the Pounder riddim and/or Fish Market),
13 form the backbone of Perros Salvajes and accordingly, significant portions of Perros
14 Salvajes are substantially similar if not virtually identical to significant portions of
15 Fish Market.
16         254. On or about October 15, 2012, El Cartel released the single “After
17 Party”. Upon information and belief, Plaintiffs allege that After Party was written,
18 recorded, produced, distributed and/or exploited by Defendants El Cartel, GPC, and
19 Daddy Yankee. Copied elements from Fish Market, including the original
20 combination of drum and bass patterns featured in Fish Market (that, upon
21 information and belief, are audio samples of the Pounder riddim and/or Fish Market),
22 form the backbone of After Party and accordingly, significant portions of After Party
23 are substantially similar if not virtually identical to significant portions of Fish
24 Market.
25         255. On or about October 29, 2013, El Cartel released the single “La Rompe
26 Carros”. Upon information and belief, Plaintiffs allege that La Rompe Carros was
27 written, recorded, produced, distributed and/or exploited by Defendants El Cartel,
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 1 GPC, Daddy Yankee, Luny, and Tunes. Copied elements from Fish Market,
 2 including the original combination of drum and bass patterns featured in Fish Market
 3 (that appear to be at least partially provided by an audio sample of the Pounder
 4 Riddim), form the backbone of La Rompe Carros and accordingly, significant
 5 portions of La Rompe Carros are substantially similar if not virtually identical to
 6 significant portions of Fish Market.
 7         256. On or about September 7, 2012, El Cartel released the single “Po’
 8 Encima”. Upon information and belief, Plaintiffs allege that Po’ Encima was written,
 9 recorded, produced, distributed and/or exploited by Defendants El Cartel, GPC, and
10 Daddy Yankee. Copied elements from Fish Market (that, upon information and

11 belief, are audio samples of the Pounder riddim and/or Fish Market) form the
12 backbone of Po’ Encima and accordingly, significant portions of Po’ Encima are
13 substantially similar if not virtually identical to significant portions of Fish Market.
14         257. On or about September 7, 2012, El Cartel released the single “Quiero
15 Decirte”. Upon information and belief, Plaintiffs allege that Quiero Decirte was
16 written, recorded, produced, distributed and/or exploited by Defendants El Cartel,
17 GPC, and Daddy Yankee. Copied elements from Fish Market (that, upon information
18 and belief, are audio samples of the Pounder riddim and/or Fish Market) form the
19 backbone of Quiero Decirte and accordingly, significant portions of Quiero Decirte
20 are substantially similar if not virtually identical to significant portions of Fish
21 Market.
22         258. On or about October 13, 2013, El Cartel released the single “Nada Ha
23 Cambiado”. Upon information and belief, Plaintiffs allege that Nada Ha Cambiado
24 was written, recorded, produced, distributed and/or exploited by Defendants El
25 Cartel, GPC, and Daddy Yankee. Copied elements from Fish Market (that, upon
26 information and belief, are audio samples of the Pounder riddim and/or Fish Market)
27 form the backbone of Nada Ha Cambiado and accordingly, significant portions of
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 1 Nada Ha Cambiado are substantially similar if not virtually identical to significant
 2 portions of Fish Market.
 3         259. On or about February 3, 2016, El Cartel released the single “Alerta
 4 Roja”. Upon information and belief, Plaintiffs allege that Alerta Roja was written,
 5 recorded, produced, distributed and/or exploited by Defendants El Cartel, GPC,
 6 Daddy Yankee, Chris Jeday, and Gaby Music. Copied elements from Fish Market,
 7 including the original combination of drum and bass patterns featured in Fish Market
 8 (that, upon information and belief, are audio samples of the Pounder riddim and/or
 9 Fish Market), form the backbone of Alerta Roja and accordingly, significant portions
10 of Alerta Roja are substantially similar if not virtually identical to significant portions

11 of Fish Market.
12         260. After Party, Alerta Roja, Camuflash, Cuéntame, Dale Caliente, Desafio,
13 Dos Mujeres, El Empuje, Gangsta Zone, Guaya, King Daddy, La Rompe Carros,
14 Latigazo, Llegamos a la Disco, Machete, Nada Ha Cambiado, No Me Dejes Solo,
15 Perros Salvajes, Po’ Encima, ¿Que Vas Hacer?, Quiero Decirte, Rompe, and Te Ves
16 Bien all copied elements from Fish Market (that, upon information and belief, are
17 audio samples of the Pounder riddim and/or Fish Market). Each of these identified
18 Infringing Works were each hit songs, garnering at least millions of plays and
19 streams and resulting in significant revenue and profits to the respective Defendants.
20         261. On or about November 8, 2018, UMG and El Cartel released the single
21 “Adictiva”. Upon information and belief, Plaintiffs allege that Adictiva was written,
22 recorded, produced, distributed and/or exploited by Defendants UMG, UMP, El
23 Cartel, Warner, Kobalt, GPC, Daddy Yankee, Chris Jeday, Gaby Music, and Anuel
24 AA.
25         262. On or about January 24, 2019, UMG and El Cartel released the single
26 “Con Calma”. Upon information and belief, Plaintiffs allege that Con Calma was
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 1 written, recorded, produced, distributed and/or exploited by Defendants UMG, El
 2 Cartel, GPC, Warner, Daddy Yankee, Play, Skillz, and Scott Summers.
 3        263. On or about January 31, 2020, UMG and El Cartel released the single
 4 “Definitivamente”. Upon information and belief, Plaintiffs allege that
 5 Definitivamente was written, recorded, produced, distributed and/or exploited by
 6 Defendants UMG, UMP, El Cartel, GPC, SONY, Daddy Yankee, Sech, and Luny.
 7        264. On or about September 11, 2020, UMG and El Cartel released the single
 8 “Don Don”. Upon information and belief, Plaintiffs allege that Don Don was written,
 9 recorded, produced, distributed and/or exploited by Defendants UMG, UMP, Warner,
10 El Cartel, GPC, Sony, Daddy Yankee, Raphy Pina, and Anuel AA.

11        265. On or about January 18, 2018, UMG and El Cartel released the single
12 “Dura”. Upon information and belief, Plaintiffs allege that Dura was written,
13 recorded, produced, distributed and/or exploited by Defendants UMG, Kobalt, El
14 Cartel, GPC, Daddy Yankee, Warner, DJ Urba, Rome and Gaby Music.
15        266. On or about April 23, 2021, UMG and El Cartel released the single “El
16 Pony”. Upon information and belief, Plaintiffs allege that El Pony was written,
17 recorded, produced, distributed and/or exploited by Defendants El Cartel, GPC,
18 Daddy Yankee, UMG, Warner, Chris Jeday, and Gaby Music.
19        267. On or about November 1, 2004, El Cartel released the single
20 “Gasolina”. Upon information and belief, Plaintiffs allege that Gasolina was written,
21 recorded, produced, distributed and/or exploited by Defendants El Cartel, GPC,
22 Daddy Yankee, UMG, SONY, Luny, and Tunes.
23        268. On or about March 3, 2017, El Cartel released the single “Hula Hoop”.
24 Upon information and belief, Plaintiffs allege that Hula Hoop was written, recorded,
25 produced, distributed and/or exploited by Defendants El Cartel, GPC, Daddy Yankee,
26 UMG, Kobalt, Sony, SONY, DJ Urba, and Rome.
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 1        269. On or about January 6, 2017, Sony and El Cartel released the single “La
 2 Rompe Corazones”. Upon information and belief, Plaintiffs allege that La Rompe
 3 Corazones was written, recorded, produced, distributed and/or exploited by
 4 Defendants El Cartel, GPC, Daddy Yankee, UMG, SONY, Warner, Ozuna, Chris
 5 Jeday, and Gaby Music.
 6        270. On or about May 16, 2004, Sony and El Cartel released the single “Lo
 7 Que Pasó, Pasó”. Upon information and belief, Plaintiffs allege that Lo Que Pasó,
 8 Pasó was written, recorded, produced, distributed and/or exploited by Defendants El
 9 Cartel, GPC, Daddy Yankee, UMG, Sony, SONY, Luny, and Tunes.
10        271. On or about September 21, 2021, Sony and El Cartel released the single
11 “Métele Al Perreo”. Upon information and belief, Plaintiffs allege that Métele Al
12 Perreo was written, recorded, produced, distributed and/or exploited by Defendants
13 El Cartel, GPC, Daddy Yankee, UMG, Raphy Pina, SONY, Luny, and Tunes.
14        272. On or about January 8, 2020, Sony and Epic released the single
15 “Muévelo”. Upon information and belief, Plaintiffs allege that Muévelo was written,
16 recorded, produced, distributed and/or exploited by Defendants El Cartel, GPC,
17 Daddy Yankee, UMG, Warner, Sony, Kobalt, Nicky Jam, Play-n-Skillz, SONY, and
18 Scott Summers.
19        273. On or about February 25, 2021, Sony and El Cartel released the single
20 “Problema”. Upon information and belief, Plaintiffs allege that Problema was
21 written, recorded, produced, distributed and/or exploited by Defendants El Cartel,
22 GPC, Daddy Yankee, UMG, UMP, SONY, and Sony.
23        274. On or about October 18, 2019, Sony and El Cartel released the single
24 “Que Tire Pa' 'Lante”. Upon information and belief, Plaintiffs allege that Que Tire
25 Pa' 'Lante was written, recorded, produced, distributed and/or exploited by
26 Defendants El Cartel, GPC, Daddy Yankee, UMG, SONY, Warner, Kobalt, DJ Urba
27 and Rome.
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 1        275. On or about December 11, 2015, UMG and El Cartel released the single
 2 “Shaky Shaky”. Upon information and belief, Plaintiffs allege that Shaky Shaky was
 3 written, recorded, produced, distributed and/or exploited by Defendants El Cartel,
 4 GPC, SONY, Daddy Yankee, UMG, Sony, Kobalt, Gaby Music, DJ Urba, and
 5 Rome.
 6        276. On or about June 28, 2019, El Cartel released the single “Si Supieras”.
 7 Upon information and belief, Plaintiffs allege that Si Supieras was written, recorded,
 8 produced, distributed and/or exploited by Defendants El Cartel, GPC, Daddy Yankee,
 9 UMG, Warner, Sony, Tainy, Luny, SONY, Raphy Pina, Wisin, and Yandel.
10        277. On or about March 12, 2015, UMG and El Cartel released the single
11 “Sígueme y Te Sigo”. Upon information and belief, Plaintiffs allege that Sígueme y
12 Te Sigo was written, recorded, produced, distributed and/or exploited by Defendants
13 El Cartel, GPC, Daddy Yankee, UMG, SONY, Sony, Warner, Chris Jeday, and Gaby
14 Music.
15        278. On or about June 15, 2018, Sony Music and Pina Records released the
16 single “Zum Zum”. Upon information and belief, Plaintiffs allege that Zum Zum was
17 written, recorded, produced, distributed and/or exploited by Defendants El Cartel,
18 GPC, Daddy Yankee, UMG, Warner, Sony, Kobalt, Luny, Tunes, and Raphy Pina.
19        279. Adictiva, Con Calma, Definitivamente, Don Don, Dura, El Pony,
20 Gasolina, Hula Hoop, La Rompe Corazones, Lo Que Pasó, Pasó, Métele Al Perreo,
21 Muévelo, Problema, Que Tire Pa' 'Lante, Shaky Shaky, Si Supieras, Sígueme y Te
22 Sigo, and Zum Zum were each hit songs garnering at least millions of plays and
23 streams and resulting in significant revenue and profits to the respective Defendants.
24        280. On or about July 13, 2004, UMG and El Cartel released the single
25 “Golpe de Estado”. Upon information and belief, Plaintiffs allege that Golpe de
26 Estado was written, recorded, produced, distributed and/or exploited by Defendants
27 El Cartel, GPC, Daddy Yankee, UMG, Yandel, Luny, and Tunes. Golpe de Estado
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 1 includes elements that are substantially similar if not virtually identical to significant
 2 portions of Dem Bow, including the lyrical portions of Dem Bow. Additionally,
 3 copied elements from Fish Market (that appear to be at least partially provided by an
 4 audio sample of the “Pounder” Riddim) form the backbone of Golpe de Estado and
 5 accordingly, significant portions of Golpe de Estado are substantially similar if not
 6 virtually identical to significant portions of Fish Market.
 7        281. On or about October 29, 2013, El Cartel released the single “Calenton”.
 8 Upon information and belief, Plaintiffs allege that Calenton was written, recorded,
 9 produced, distributed and/or exploited by Defendants El Cartel, GPC, Daddy Yankee,
10 and Yandel. Calenton includes elements that are substantially similar if not virtually

11 identical to significant portions of Dem Bow, including the lyrical portions of Dem
12 Bow. Additionally, copied elements from Fish Market (that appear to be at least
13 partially provided by an audio sample of the “Pounder” Riddim) form the backbone
14 of Calenton and accordingly, significant portions of Calenton are substantially
15 similar if not virtually identical to significant portions of Fish Market.
16        282. Golpe de Estado, and Calenton each contain substantially similar if not
17 virtually identical portions of Dem Bow, including the lyrical portions of Dem Bow.
18 Golpe de Estado, and Calenton were each hit songs garnering at least millions of
19 plays and streams around the world resulting in significant revenue and profits to the
20 respective Defendants.
21        283. Adictiva, Con Calma, Definitivamente, Don Don, Dura, El Pony,
22 Gasolina, Hula Hoop, La Rompe Corazones, Lo Que Pasó, Pasó, Métele Al Perreo,
23 Muévelo, Problema, Que Tire Pa' 'Lante, Shaky Shaky, Si Supieras, Sígueme y Te
24 Sigo, Zum Zum, After Party, Alerta Roja, Camuflash, Cuéntame, Dale Caliente,
25 Desafio, Dos Mujeres, El Empuje, Gangsta Zone, Guaya, King Daddy, La Rompe
26 Carros, Latigazo, Llegamos a la Disco, Machete, Nada Ha Cambiado, No Me Dejes
27 Solo, Perros Salvajes, Po’ Encima, ¿Que Vas Hacer?, Quiero Decirte, Rompe, Te
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 1 Ves Bien, Golpe de Estado, and Calenton (collectively the “Daddy Yankee Works”)
 2 incorporates an unauthorized sample of the Fish Market recording and/or a verbatim
 3 copy of the Fish Market composition as the primary rhythm / drum section of the
 4 Daddy Yankee Work. The Daddy Yankee Works and the parties responsable are also
 5 depicted in Exhibit A attached hereto.
 6        284. A comparison of Fish Market and each of the Daddy Yankee Works
 7 establishes that each of the Daddy Yankee Works incorporates both qualitatively and
 8 quantitatively significant sections of the Fish Market recording and/or composition.
 9        285. Specific analysis of Adictiva, Con Calma, Definitivamente, Don Don,
10 Dura, El Pony, Gasolina, Hula Hoop, La Rompe Corazones, Lo Que Pasó, Pasó,

11 Métele Al Perreo, Muévelo, Problema, Que Tire Pa' 'Lante, Shaky Shaky, Si
12 Supieras, Sígueme y Te Sigo, and Zum Zum illustrates the substantial similarity
13 between the Fish Market and the identified Daddy Yankee Works.
14        286. The rhythm section of Adictiva copies original elements of the Fish
15 Market rhythm section, including the original combination of drum patterns featured
16 in Fish Market. These purloined elements include, without limitation, the kick, and
17 snare patterns of Fish Market. The kick drum of Adictiva plays four crotchets per bar
18 beginning on the first beat of each bar as in Fish Market. The rim/snare pattern also
19 replicates that of Fish Market. Adictiva features a percussive 32nd beats pulse at the
20 end of the second bar. This serves to replicate the 32nd timbale roll played at the end
21 of the second bar in Fish Market. The drum and bass tracks both together and
22 independently, are substantially similar in rhythmic structures and texture to those of
23 Fish Market. The kick, snare, hi-hat and bass in Adictiva are at least substantially
24 similar to those elements in Fish Market. Further, despite note deviations to match
25 the song's chord structure, the bassline most commonly anchors on beats one and
26 three as in Fish Market. The bass line also copies the tone and minimalist structure of
27 that played in Fish Market. These copied elements form the backbone of Adictiva and
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 1 accordingly, significant portions of Adictiva are substantially similar if not virtually
 2 identical to significant portions of Fish Market, as shown by comparison of the
 3 transcripts of portions of each below.
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22        287. The rhythm section of Con Calma copies original elements of the Fish
23 Market rhythm section, including the original combination of drum patterns featured
24 in Fish Market. These purloined elements include, without limitation, the kick, snare
25 and hi-hat patterns of Fish Market. The kick drum of Con Calma plays four crotchets
26 per bar beginning on the first beat of each bar as in Fish Market. The rim/snare
27 pattern also replicates that of Fish Market. The hi-hat copies the pattern as played on
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 1 beats one, two, three and four of each bar in Fish Market. The timbale of Con Calma
 2 replicates the portions of the Fish Market pattern and sonic characteristics found in
 3 the “Pounder” riddim and could be an audio sample taken from the same. The tom
 4 copies the Fish Market tom pattern which is played on the down beats one and three.
 5 The drum and bass tracks both together and independently, are substantially similar
 6 in rhythmic structures and texture to those of Fish Market. Further, despite note
 7 deviations to match the song's chord structure, the bassline most commonly anchors
 8 on beats one and three as in Fish Market. The bass line also copies the tone and
 9 minimalist structure of that played in Fish Market. These copied elements form the
10 backbone of Con Calma and accordingly, significant portions of Con Calma are

11 substantially similar if not virtually identical to significant portions of Fish Market,
12 as shown in the transcripts of portions of each below.
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11        288. The rhythm The rhythm section of Definitivamente copies original
12 elements of the Fish Market rhythm section, including the original combination of
13 drum and bass patterns featured in Fish Market. These purloined elements include,
14 without limitation, the kick, snare and hi-hat patterns of Fish Market. The kick drum
15 of Definitivamente plays four crotchets per bar beginning on the first beat of each bar
16 as in Fish Market. The rim/snare pattern also replicates that of Fish Market. The
17 maracas copy excerpts of the tambourine pattern played in Fish Market. Further,
18 despite note deviations to match the song's chord structure, the bassline most
19 commonly anchors on beats one and three as in Fish Market. The bass line also
20 copies the tone and minimalist structure of that played in Fish Market. The drum and
21 bass tracks both together and independently, are substantially similar in rhythmic
22 structures and texture to those of Fish Market. As compared to Fish Market, the
23 tempo of Definitivamente is approximately the same at 100 bpm. These copied
24 elements form the backbone of Definitivamente and accordingly, significant portions
25 of Definitivamente are substantially similar if not virtually identical to significant
26 portions of Fish Market, as shown in the transcripts of portions of each below.
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 1        289. The rhythm section of Don Don copies original elements of the Fish
 2 Market rhythm section, including the original combination of drum patterns featured
 3 in Fish Market. These purloined elements include, without limitation, the kick, and
 4 snare patterns of Fish Market. The kick drum of Don Don plays four crotchets per bar
 5 beginning on the first beat of each bar as in Fish Market. The rim copies the snare
 6 pattern played in Fish Market with the exception of omitting the second eighth note,
 7 synonymous with the Fish Market snare pattern. The hi-hat copies the pattern as
 8 played on beats one, two, three and four of each bar in Fish Market with an additional
 9 second eighth note beat on each bar replacing the second eighth note beat omitted
10 from the snare thus completing the original Fish Market snare pattern. The drum and

11 bass tracks both together and independently, are substantially similar in rhythmic
12 structures and texture to those of Fish Market. Further, despite note deviations to
13 match the song's chord structure, the bassline most commonly anchors on beats one
14 and three as in Fish Market. The bass line also copies the tone and minimalist
15 structure of that played in Fish Market. These copied elements form the backbone of
16 Don Don and accordingly, significant portions of Don Don are substantially similar if
17 not virtually identical to significant portions of Fish Market, as shown by comparison
18 of the transcripts of portions of each below.
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22        290. The rhythm section of Dura copies original elements of the Fish Market
23 rhythm section, including the original combination of drum patterns featured in Fish
24 Market. These purloined elements include, without limitation, the kick, and snare
25 patterns of Fish Market. The kick drum of Dura plays four crotchets per bar
26 beginning on the first beat of each bar as in Fish Market. The rim/snare pattern also
27 replicates that of Fish Market. Synth tom is played on beats one and three as in Fish
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 1 Market. The drum and bass tracks both together and independently, are substantially
 2 similar in rhythmic structures and texture to those of Fish Market. Further, despite
 3 note deviations to match the song's chord structure, the bassline most commonly
 4 anchors on beats one and three as in Fish Market. The bass line also copies the tone
 5 and minimalist structure of that played in Fish Market. These copied elements form
 6 the backbone of Dura and accordingly, significant portions of Dura are substantially
 7 similar if not virtually identical to significant portions of Fish Market, as shown by
 8 comparison of the transcripts of portions of each below.
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 1        291. The rhythm section of El Pony copies original elements of the Fish
 2 Market rhythm section, including the original combination of drum patterns featured
 3 in Fish Market. These purloined elements include, without limitation, the kick, and
 4 snare patterns of Fish Market. The kick drum of El Pony plays four crotchets per bar
 5 beginning on the first beat of each bar as in Fish Market. The hi-hat cymbals play a
 6 similar pattern to that of Fish Market with a slight variation at the end of the second
 7 bar. The rim/snare pattern also replicates that of Fish Market. Synth tom is played on
 8 beats one and three throughout El Pony as in Fish Market. However, the synth tom is
 9 taken out at 1:19 (the captioned excerpt) and the pattern introduces a 32nd timbale
10 roll at the end of bar two which mimics the timbale roll in Fish Market. Further,

11 despite note deviations to match the song's chord structure, the bassline most
12 commonly anchors on beats one and three as in Fish Market. The bass line also
13 copies the tone and minimalist structure of that played in Fish Market. These copied
14 elements form the backbone of El Pony and accordingly, significant portions of El
15 Pony are substantially similar if not virtually identical to significant portions of Fish
16 Market, as shown by comparison of the transcripts of portions of each below.
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10        292. The rhythm section of Gasolina copies original elements of the Fish
11 Market rhythm section, including the original combination of drum patterns featured
12 in Fish Market. These purloined elements include, without limitation, the kick, and
13 snare patterns of Fish Market. The kick drum of Gasolina plays four crotchets per bar
14 beginning on the first beat of each bar as in Fish Market. The hi-hat maintains the
15 main accents of the Fish Market hi-hat pattern played on beats one, two, three and
16 four of each bar, with additional 8th notes replacing the missing 8th notes as played
17 on the Fish Market snare pattern. Despite the substitution of hi-hat for snare drum on
18 the 2nd and 6th 8th notes of each bar, the rhythm of the combined elements result is
19 the same as Fish Market. The combination of the snare drum and hi-hat pattern as
20 played in Gasolina gives the same snare and hi-hat audio overlay effect as the pattern
21 played in Fish Market. The arrows in the Gasolina notation, emanates from the hi-hat
22 substitution note and points to the location where the snare is played in Fish Market.
23 The bongos in Gasolina serves to substitute the timbales played in Fish Market with
24 a slight variation to the pattern. However, despite the substitution of sound, the bongo
25 drum serves well at capturing the overall feel and sonic characteristics found in Fish
26 Market. Synth tom is played on beats one and three at various points throughout
27 Gasolina, copying the ‘Fish Market’ tom pattern. *Example 0:20 - 0:28, 0:40 - 0:48,
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 1 1:00 -1:08, 1:20 - 1:28, etc. (These can be clearly heard at the locations identified in
 2 the *examples at the timestamp locations shown above.) The drum and bass tracks
 3 both together and independently, are substantially similar in rhythmic structures and
 4 texture to those of Fish Market. Further, despite note deviations to match the song's
 5 chord structure, the bassline most commonly anchors on beats one and three as in
 6 Fish Market. The bass line also copies the tone and minimalist structure of that
 7 played in Fish Market. These copied elements form the backbone of Gasolina and
 8 accordingly, significant portions of Gasolina are substantially similar if not virtually
 9 identical to significant portions of Fish Market, as shown by comparison of the
10 transcripts of portions of each below.

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10        293. The rhythm section of Hula Hoop copies original elements of the Fish
11 Market rhythm section, including the original combination of drum and bass patterns
12 featured in Fish Market. These purloined elements include, without limitation, the
13 kick, and snare patterns of Fish Market. As compared to Fish Market, the rhythm
14 section of Hula Hoop plays the exact pattern with exclusion of the timbales. The kick
15 drum and hi-hat cymbals play on beats one, two, three and four of each bar, while the
16 tom and bass plays on beats one and three. The snare drum is also a copy of the Fish
17 Market snare pattern. The bass line on Hula Hoop, anchors on beats one and three
18 and plays a Bb (B flat) note as in Fish Market. Hula Hoop also emulates the sonic
19 characteristics of Fish Market with use of similar instrumentation. These include
20 programming utilizing kick, snare, hi-hat and electric tom drums. The bass is
21 synthesized with emphasis on sub frequency tonations. Further, despite note
22 deviations to match the song's chord structure, the bassline most commonly anchors
23 on beats one and three as in Fish Market. The bass line also copies the tone and
24 minimalist structure of that played in Fish Market. These copied elements form the
25 backbone of Hula Hoop and accordingly, significant portions of Hula Hoop are
26 substantially similar if not virtually identical to significant portions of Fish Market,
27 as shown by comparison of the transcripts of portions of each below.
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20        294. The rhythm section of La Rompe Corazones copies original elements of
21 the Fish Market rhythm section, including the original combination of drum patterns
22 featured in Fish Market. These purloined elements include, without limitation, the
23 kick, and snare patterns of Fish Market. The kick drum of La Rompe Corazones plays
24 four crotchets per bar beginning on the first beat of each bar as in Fish Market. The
25 rim/snare pattern also replicates that of Fish Market. The snare copies the pattern
26 played in Fish Market. The hi-hat of La Rompe Corazones copies the pattern as
27 played on beats one, two, three and four of each bar in Fish Market. The tom copies
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 1 the Fish Market tom pattern which is played on the down beats one and three. The
 2 bass line copies the minimalist structure of the bass line played in Fish Market.
 3 However, despite note deviations to match the song's chord structure, the bassline
 4 most commonly anchors on beats one and three as in Fish Market. These copied
 5 elements form the backbone of La Rompe Corazones and accordingly, significant
 6 portions of La Rompe Corazones are substantially similar if not virtually identical to
 7 significant portions of Fish Market, as shown by comparison of the transcripts of
 8 portions of each below.
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 1        295. The rhythm section of Lo Que Pasó, Pasó copies original elements of
 2 the Fish Market rhythm section, including the original combination of drum patterns
 3 featured in Fish Market. These purloined elements include, without limitation, the
 4 kick drum, snare drum, hi-hat, timbales and synth tom patterns of Fish Market,
 5 replicating the same combined patterns as contained in Fish Market, with the
 6 exception of a maracas replacing the tambourine in Fish Market. Lo Que Pasó, Pasó
 7 is composed of layered elements of drums which includes programmed drums and
 8 sampled drum loops. The kick drum plays on beats one, two, three and four of each
 9 bar complemented by the original Fish Market snare pattern as shown in the attached
10 notation excerpt. The hi-hat and maracas in combination, seems aimed at capturing

11 the hi-hat and tambourine pattern in Fish Market. However, the instrument interplay
12 in Lo Que Pasó, Pasó is not definitively clear, therefore the notation excerpt
13 combines both patterns on a single line of the score; here notated as a combined
14 pattern on the hi-hat line. The timbale pattern is the same unique original pattern
15 contained in Fish Market. Synth tom is played on beats one and three as in Fish
16 Market. The bass plays on all four beats of each bar with notes in line with the new
17 chord structure. However, the track also features a ‘mid-range frequency’ second bass
18 track playing on beats one and three as in Fish Market. The drum and bass tracks
19 both together and independently, are substantially similar in rhythmic structures and
20 texture to those of Fish Market. The kick, snare, hi-hat and bass are prominent in the
21 mix of Lo Que Pasó, Pasó which emulates the sonic texture of Fish Market, giving
22 the song a similar feel. The sonic elements as contained in the looped drum samples,
23 are indicative of a frequency manipulated audio sample in which the low frequencies
24 are reduced. This procedure may have been applied to allow for masking of bass note
25 clashes. This can be beneficial to musical outcomes particularly in cases in which the
26 key of a ‘bass heavy’ sample is different from that of the new work in which the
27 sample is applied. In this case, the key is Eb as opposed to Bb in the case of Fish
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 1 Market. Based on the combined identifiable factors of drum pattern, drum sound and
 2 instrumentation, the sample contained in Lo Que Pasó, Pasó is consistent with the
 3 “Pounder” riddim; a re-recorded version of Fish Market. These copied elements form
 4 the backbone of Lo Que Pasó, Pasó and accordingly, significant portions of Lo Que
 5 Pasó, Pasó are substantially similar if not virtually identical to significant portions of
 6 Fish Market, as shown by comparison of the transcripts of portions of each below.
 7 Further, sampling of the sound recording of the “Pounder” riddim provides direct
 8 evidence of copying of the Fish Market composition.
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12        296. The rhythm section of Métele Al Perreo copies original elements of the
13 Fish Market rhythm section, including the original combination of drum patterns
14 featured in Fish Market. These purloined elements include, without limitation, the
15 kick, and snare patterns of Fish Market. The kick drum and hi-hat of Métele Al
16 Perreo plays four crotchets per bar beginning on the first beat of each bar as in Fish
17 Market. The rim/snare pattern also replicates that of Fish Market. Synth tom is
18 played on beats one and three which is the same pattern as Fish Market. The bass line
19 played on Métele Al Perreo copies the tone and minimalist structure of the bass line
20 played in Fish Market, with emphasis placed on beats 1 and 3 of each bar to direct
21 the chord movements. However, there are minor note deviations to match the Métele
22 Al Perreo key and chord structure. The Métele Al Perreo drum and bass tracks
23 deliver retains the rhythmic structures and texture of Fish Market. These copied
24 elements form the backbone of Métele Al Perreo and accordingly, significant
25 portions of Métele Al Perreo are substantially similar if not virtually identical to
26 significant portions of Fish Market, as shown by comparison of the transcripts of
27 portions of each below.
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19        297. The rhythm section of Muévelo copies original elements of the Fish
20 Market rhythm section, including the original combination of drum patterns featured
21 in Fish Market. These purloined elements include, without limitation, the kick, and
22 snare patterns of Fish Market. As compared to Fish Market, the rhythm section
23 contained in Muévelo, features similar drum parts as contained in Fish Market,
24 namely, kick drum, snare drums, hi-hat, timbales and tom. These parts are
25 structured/performed so as to replicate the drum patterns as contained in Fish Market.
26 Muévelo appears to be comprised of layered elements of drums which may include
27 programmed drums and/or looped drum samples. The kick drum plays on the down
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 1 beats one, two, three and four of each bar as performed in Fish Market. The snare
 2 pattern is the same as the snare pattern in Fish Market. The hi-hat is also a copy of
 3 the Fish Market minimalistic hi-hat pattern with four crochets played on down beats
 4 one, two, three and four. The timbale pattern is the same as contained in Fish Market.
 5 However, the timbre of the instrument is in line with the Fish Market cover version,
 6 the “Pounder” riddim. Synth tom is played on beats one and three as in Fish Market.
 7 The bass in this work, plays on all four beats of each bar. However, it anchors heavily
 8 on the song’s root note ‘D’ which is played on beats 1 and 3 thus accentuating and
 9 copying the rhythmic pattern of the Fish Market bass. The sonic elements as
10 contained in the looped drum samples are indicative of a frequency manipulated

11 audio sample in which the low frequencies are reduced. This procedure may have
12 been applied to allow for masking of bass note clashes. This can be beneficial to
13 musical outcomes particularly in cases in which the key of a ‘bass heavy’ sample is
14 different from that of the new work in which the sample is applied. In this case, the
15 key is D as opposed to Bb in the case of Fish Market. Based on the combined
16 identifiable factors of drum pattern, drum sound and instrumentation, an audio
17 sample infringement is suspected and is sonically consistent with the “Pounder”
18 riddim. The drum and bass tracks both together and independently, are substantially
19 similar in rhythmic structures and texture to those of Fish Market. These copied
20 elements form the backbone of Muévelo and accordingly, significant portions of
21 Muévelo are substantially similar if not virtually identical to significant portions of
22 Fish Market, as shown by comparison of the transcripts of portions of each below.
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19        298. The rhythm section of Problema copies original elements of the Fish
20 Market rhythm section, including the original combination of drum patterns featured
21 in Fish Market. These purloined elements include, without limitation, the kick, and
22 snare patterns of Fish Market. As in Fish Market, the kick drum and hi-hat of
23 Problema play four crotchets per bar beginning on the first beat of each bar. The
24 snare drum copies the snare drum pattern played in Fish Market. Synth tom is played
25 on beats one and three which is the same pattern as Fish Market. The bass line played
26 on Problema copies the tone and minimalist structure of the bass line played in Fish
27 Market, with emphasis placed on beats 1 and 3 of each bar. The drum and bass tracks
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 1 both together and independently, are substantially similar in rhythmic structures and
 2 texture to those of Fish Market. These copied elements form the backbone of
 3 Problema and accordingly, significant portions of Problema are substantially similar
 4 if not virtually identical to significant portions of Fish Market, as shown by
 5 comparison of the transcripts of portions of each below.
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24        299. The rhythm section of Que Tire Pa' 'Lante copies original elements of
25 the Fish Market rhythm section, including the original combination of drum patterns
26 featured in Fish Market, which form the main rhythm section of Que Tire Pa' 'Lante.
27 In addition, Que Tire Pa' 'Lante appears to intersperse samples of other dancehall
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 1 tracks of the era following Fish Market including “A Who Seh Me Done” by Phillip
 2 Anthony Thomas p/k/a Cutty Ranks, released 1992, and “Hot This Year” by Patrick
 3 Thompson p/k/a Dirtsman, released 1992. The purloined elements of Fish Market
 4 include, without limitation, the kick, and snare patterns of Fish Market. The kick
 5 drum and hi-hat play four crotchets per bar beginning on the first beat of each bar.
 6 The snare drum copies the snare drum pattern played in Fish Market. A timbale 32nd
 7 beats roll can be heard at approximately 2:35 in Que Tire Pa' 'Lante. This is a
 8 significant musical element original to Fish Market and occurs at the same bar
 9 location point in Que Tire Pa' 'Lante as in Fish Market. See below for Fish Market
10 timbale 2 notation excerpt. The synth tom of Que Tire Pa' 'Lante is played on beats

11 one and three which is the same pattern as Fish Market. The bass line played on Que
12 Tire Pa' 'Lante copies the tone and minimalist structure of the bass line played in
13 Fish Market. This pattern can be heard at approximately 2:56 in the Que Tire Pa'
14 'Lante (in which the bass is played on beats 1 and 3). Based on the combined
15 identifiable factors of drum pattern, drum sound and instrumentation, an audio
16 sample infringement is suspected and is sonically consistent with the “Pounder”
17 riddim. In addition, Que Tire Pa' 'Lante appears to include audio samples from the
18 sound recording of Fish Market, for example from the intro phrase of Fish Market at
19 approximately 3:03-3:07 and truncated at 0:12, 0:20, and 0:25. These copied
20 elements form the backbone of Que Tire Pa' 'Lante and accordingly, significant
21 portions of Que Tire Pa' 'Lante are substantially similar if not virtually identical to
22 significant portions of Fish Market, as shown by comparison of the transcripts of
23 portions of each below.
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23        300. The rhythm section of Shaky Shaky copies original elements of the Fish
24 Market rhythm section, including the original combination of drum patterns featured
25 in Fish Market. These purloined elements include, without limitation, the kick, hi-hat
26 and snare patterns of Fish Market. As compared to Fish Market, the drum and bass
27 tracks feature similar patterns as follows: The kick drum copies that of Fish Market
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 1 playing four crotchets per bar beginning on the first beat of each bar. The hi-hat plays
 2 the same pattern as Fish Market with the addition of 2 16th beats at the end of each
 3 bar. The snare 1 pattern is the same as Fish Market’s. Snare 2 has a minor deviation
 4 with the addition of a single 16th beat on the 6th sixteenth note of each bar. Snare 3
 5 adds another beat being the 8th sixteenth beat of each bar. These changes have very
 6 little impact on the outcome as it relates to the overall rhythmic similarity as
 7 compared to Fish Market. This is so as the combination of all the snares and
 8 additional hi-hat elements, results in a copy of the snare and timbale 1 patterns as
 9 composed in Fish Market. See comparative notation below. The colored lines show
10 the Shaky Shaky connecting beats which formulates the timbale pattern played on

11 Fish Market. These beats have been distributed around various drums recreating the
12 same rhythmic elements found in Fish Market. The timbale 32nd beats roll played on
13 Fish Market, is substituted by a pick guitar on Shaky Shaky similarly filling the space.
14 A tom is played on beats one and three, copying the tom pattern in Fish Market. The
15 bass line played on Shaky Shaky copies the tone and minimalist structure of that
16 played in Fish Market. The drum and bass tracks both together and independently,
17 are substantially similar in rhythmic structures and texture to those of Fish Market.
18 These copied elements form the backbone of Shaky Shaky and accordingly,
19 significant portions of Shaky Shaky are substantially similar if not virtually identical
20 to significant portions of Fish Market, as shown by comparison of the transcripts of
21 portions of each below.
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11         301. The rhythm section of Si Supieras copies original elements of the Fish
12 Market rhythm section, including the original combination of drum patterns featured
13 in Fish Market. These purloined elements include, without limitation, the kick, and
14 snare patterns of Fish Market. The kick drum of Si Supieras plays four crotchets per
15 bar beginning on the first beat of each bar as in Fish Market. The snare copies the
16 pattern played in Fish Market. The hi-hat copies the pattern as played on beats one,
17 two, three and four of each bar in Fish Market. The tom copies the Fish Market tom
18 pattern which is played on the down beats one and three. The bass line copies the
19 minimalist structure of the bass line played in Fish Market, with emphasis placed on
20 beats 1 and 3 of each bar. However, there are note deviations to match the new chord
21 structure. The drum and bass tracks both together and independently, are substantially
22 similar in rhythmic structures and texture to those of Fish Market. These copied
23 elements form the backbone of Si Supieras and accordingly, significant portions of Si
24 Supieras are substantially similar if not virtually identical to significant portions of
25 Fish Market, as shown by comparison of the transcripts of portions of each below.
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18        302. The rhythm section of Sígueme y Te Sigo copies original elements of the
19 Fish Market rhythm section, including the original combination of drum patterns
20 featured in Fish Market. These purloined elements include, without limitation, the
21 kick, and snare patterns of Fish Market. The kick drum and hi-hat of Sígueme y Te
22 Sigo plays four crotchets per bar beginning on the first beat of each bar as in Fish
23 Market. The snare pattern also replicates that of Fish Market with the timbale filling
24 in the missing lead in snare drum on the third 16th beat of each bar, thus completing
25 the original snare pattern. The timbale also helps to capture the timbre associated
26 with the Fish Market sound. The tom is played on beats one and three, copying the
27 tom pattern in Fish Market. The bass line anchors heavily on beats one and three and
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  1 copies the tone and minimalist structure of that played in Fish Market. The drum and
  2 bass tracks both together and independently, are substantially similar in rhythmic
  3 structures and texture to those of Fish Market. These copied elements form the
  4 backbone of Sígueme y Te Sigo and accordingly, significant portions of Sígueme y Te
  5 Sigo are substantially similar if not virtually identical to significant portions of Fish
  6 Market, as shown by comparison of the transcripts of portions of each below.
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  1        303. The rhythm section of Zum Zum copies original elements of the Fish
  2 Market rhythm section, including the original combination of drum patterns featured
  3 in Fish Market. These purloined elements include, without limitation, the kick, and
  4 snare patterns of Fish Market. The kick drum of Zum Zum plays four crotchets per
  5 bar beginning on the first beat of each bar as in Fish Market. Snare 1 and snare 2
  6 together formulate the snare pattern played in Fish Market. The hi-hat (in bar 1)
  7 copies the pattern as played on the down beats one, two, three and four in Fish
  8 Market. The timbale copies the 32nd beat (timbale 2) roll as at the end of bar two in
  9 Fish Market. The high percussion replaces the tambourine in Fish Market and fills in
 10 the rhythmic component and frequency bandwidth synonyms with Fish Market. The

 11 bass drum copies the bass as played in Fish Market, this being on beats one and three.
 12 The drum and bass tracks deliver strong retention of the rhythmic structures and
 13 timbre of Fish Market. The bass line also copies the tone and minimalist structure of
 14 that played in Fish Market. These copied elements form the backbone of Zum Zum
 15 and accordingly, significant portions of Zum Zum are substantially similar if not
 16 virtually identical to significant portions of Fish Market, as shown by comparison of
 17 the transcripts of portions of each below.
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  1                     Abraham Mateo Allegations.
  2         304. As shown in the accompanying Exhibit A, Abraham Mateo and a
  3 plurality of the defendants, the corresponding defendants for each song named
  4 therein, have released the songs entitled A Cámara Lenta, Esta Cuarentena, Loco
  5 Enamorado, Me Vuelvo Loco, No Encuentro Palabras, ¿Qué Ha Pasao’?, Se Acabó
  6 el Amor, and Tiempo Pa Olvidar.
  7        305. Each of A Cámara Lenta, Esta Cuarentena, Loco Enamorado, Me
  8 Vuelvo Loco, No Encuentro Palabras, ¿Qué Ha Pasao'?, Se Acabó el Amor, and
  9 Tiempo Pa Olvidar (collectively, the “Abraham Mateo Works”) were separately
 10 released at different times subsequent to the 1989 release of Fish Market.

 11        306. Each of the Abraham Mateo Works incorporates an unauthorized sample
 12 of the Fish Market recording and/or a verbatim copy of the Fish Market composition
 13 as the primary rhythm / drum section of each work.
 14        307. A comparison of Fish Market and each of the Abraham Mateo Works
 15 establishes that each of the Abraham Mateo Works incorporates both qualitatively
 16 and quantitatively significant sections of the Fish Market recording and/or
 17 composition. The various defendants responsible for each of the identified works and
 18 the manner of copying are described in the accompanying Exhibit A.
 19                     Alex Sensation Allegations.
 20         308. As shown in the accompanying Exhibit A, Alex Sensation and a
 21 plurality of the defendants, the corresponding defendants for each song named
 22 therein, have released the songs entitled Dame Un Chance, La Calle, La Diabla, La
 23 Mala Y La Buena, Pa' Lante, and Que Va.
 24        309. Each of Dame Un Chance, La Calle, La Diabla, La Mala Y La Buena,
 25 Pa' Lante, and Que Va (collectively, the “Alex Sensation Works”) were separately
 26 released at different times subsequent to the 1989 release of Fish Market.
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  1        310. Each of the Alex Sensation Works incorporates an unauthorized sample
  2 of the Fish Market recording and/or a verbatim copy of the Fish Market composition
  3 as the primary rhythm / drum section of each work.
  4        311. A comparison of Fish Market and each of the Alex Sensation Works
  5 establishes that each of the Alex Sensation Works incorporates both qualitatively and
  6 quantitatively significant sections of the Fish Market recording and/or composition.
  7 The various defendants responsible for each of the identified works and the manner
  8 of copying are described in the accompanying Exhibit A.
  9                     Anitta Allegations.
 10         312. As shown in the accompanying exhibit, Anitta and a plurality of the
 11 defendants, the corresponding defendants for each song named therein, have released
 12 the songs entitled Downtown, Goals, Juego, Loco, Medicina, Paradinha, Si O No,
 13 Sim Ou Não, Sin Miedo, Some Que Ele Vem Atrás, Terremoto, Tócame, Tu Y Yo, and
 14 Veneno.
 15        313. Each of Downtown, Goals, Juego, Loco, Medicina, Paradinha, Si O No,
 16 Sim Ou Não, Sin Miedo, Some Que Ele Vem Atrás, Terremoto, Tócame, Tu Y Yo, and
 17 Veneno (collectively, the “Anitta Works”) were separately released at different times
 18 subsequent to the 1989 release of Fish Market.
 19        314. Each of the Anitta Works incorporates an unauthorized sample of the
 20 Fish Market recording and/or a verbatim copy of the Fish Market composition as the
 21 primary rhythm / drum section of each work.
 22        315. A comparison of Fish Market and each of the Anitta Works establishes
 23 that each of the Anitta Works incorporates both qualitatively and quantitatively
 24 significant sections of the Fish Market recording and/or composition. The various
 25 defendants responsible for each of the identified works and the manner of copying are
 26 described in the accompanying Exhibit A.
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  1                     Anuel AA Allegations.
  2        316. As shown in the accompanying Exhibit A, Anuel AA and a plurality of
  3 the defendants, the corresponding defendants for each song named therein, have
  4 released the songs entitled 3 Some, Amanece, Armaos 100PRE Andamos, Así Soy Yo,
  5 Ayer, Ayer 2, Bandido, Bandolera, Ceniza En Cenicero, China, Cristiniando,
  6 Demonia, El Manual, El Problema, Ella Quiere Beber, Espina, Fútbol y Rumba,
  7 Hasta Que Dios Diga, Hipócrita, Jangueo, Keii, La Bella Y La Bestia, Nacimos Pa
  8 Morir, Naturaleza, No Love, Pensando En Tí, Que Se Joda, Reggaetonera, Secreto,
  9 Sola Remix, Sola, Street Poem, Súbelo, Te Necesito, and Tocándote.
 10        317. Each of 3 Some, Amanece, Armaos 100PRE Andamos, Así Soy Yo, Ayer,
 11 Ayer 2, Bandido, Bandolera, Ceniza En Cenicero, China, Cristiniando, Demonia, El
 12 Manual, El Problema, Ella Quiere Beber, Espina, Fútbol y Rumba, Hasta Que Dios
 13 Diga, Hipócrita, Jangueo, Keii, La Bella Y La Bestia, Nacimos Pa Morir,
 14 Naturaleza, No Love, Pensando En Tí, Que Se Joda, Reggaetonera, Secreto, Sola
 15 Remix, Sola, Street Poem, Súbelo, Te Necesito, and Tocándote (collectively, the
 16 “Anuel AA Works”) were separately released at different times subsequent to the
 17 1989 release of Fish Market.
 18        318. Each of the Anuel AA Works incorporates an unauthorized sample of
 19 the Fish Market recording and/or a verbatim copy of the Fish Market composition as
 20 the primary rhythm / drum section of each work.
 21        319. A comparison of Fish Market and each of the Anuel AA establishes that
 22 each of the Anuel AA incorporates both qualitatively and quantitatively significant
 23 sections of the Fish Market recording and/or composition. The various defendants
 24 responsible for each of the identified works and the manner of copying are described
 25 in the accompanying Exhibit A.
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  1                     Anuel AA & Ozuna Allegations.
  2 320. As shown in the accompanying exhibit, Anuel AA & Ozuna and a plurality of
  3 the defendants, the corresponding defendants for each song named therein, have
  4 released the songs entitled 100, Antes, DIME TÚ, Nena Buena, Nunca, and Perreo.
  5        321. Each of 100, Antes, DIME TÚ, Nena Buena, Nunca, and Perreo
  6 (collectively, the “Anuel AA & Ozuna Works”) were separately released at different
  7 times subsequent to the 1989 release of Fish Market.
  8        322. Each of the Anuel AA & Ozuna Works incorporates an unauthorized
  9 sample of the Fish Market recording and/or a verbatim copy of the Fish Market
 10 composition as the primary rhythm / drum section of each work.

 11        323. A comparison of Fish Market and each of the Anuel AA & Ozuna
 12 Works establishes that each of the Anuel AA & Ozuna Works incorporates both
 13 qualitatively and quantitatively significant sections of the Fish Market recording
 14 and/or composition. The various defendants responsible for each of the identified
 15 works and the manner of copying are described in the accompanying Exhibit A.
 16                     Bad Bunny Allegations.
 17        324. As shown in the accompanying Exhibit A, Bad Bunny and a plurality of
 18 the defendants, the corresponding defendants for each song named therein, have
 19 released the songs entitled A Tu Merced, BAD CON NICKY, Bellacoso, Bichiyal,
 20 BYE ME FUI, Callaíta, CANCIÓN CON YANDEL, CÓMO SE SIENTE (Remix),
 21 Cuando Perriabas, Efecto, Ignorantes, LA CANCIÓN, La Corriente, La Difícil, La
 22 Noche de Anoche, La Romana, La Santa, La Zona, MÁS DE UNA CITA, Me Porto
 23 Bonito, Mia, Moscow Mule, Ojitos Lindos, PA' ROMPERLA, Party, Que Malo,
 24 Safaera, Si Estuviésemos Juntos, Soliá, Solo De Mi, Tarot, Tití Me Preguntó, Un
 25 Coco, Un Ratito, Una Vez, VETE, Yo Perreo Sola, and Yonaguni.
 26        325. Each of A Tu Merced, BAD CON NICKY, Bellacoso, Bichiyal, BYE ME
 27 FUI, Callaíta, CANCIÓN CON YANDEL, CÓMO SE SIENTE (Remix), Cuando
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  1 Perriabas, Efecto, Ignorantes, LA CANCIÓN, La Corriente, La Difícil, La Noche de
  2 Anoche, La Romana, La Santa, La Zona, MÁS DE UNA CITA, Me Porto Bonito, Mia,
  3 Moscow Mule, Ojitos Lindos, PA' ROMPERLA, Party, Que Malo, Safaera, Si
  4 Estuviésemos Juntos, Soliá, Solo De Mi, Tarot, Tití Me Preguntó, Un Coco, Un
  5 Ratito, Una Vez, VETE, Yo Perreo Sola, and Yonaguni (collectively, the “Bad Bunny
  6 Works”) were separately released at different times subsequent to the 1989 release of
  7 Fish Market.
  8        326. Each of the Bad Bunny Works incorporates an unauthorized sample of
  9 the Fish Market recording and/or a verbatim copy of the Fish Market composition as
 10 the primary rhythm / drum section of each work.

 11        327. A comparison of Fish Market and each of the Bad Bunny Works
 12 establishes that each of the Bad Bunny Works incorporates both qualitatively and
 13 quantitatively significant sections of the Fish Market recording and/or composition.
 14 The various defendants responsible for each of the identified works and the manner
 15 of copying are described in the accompanying Exhibit A.
 16                     Becky G Allegations.
 17        328. As shown in the accompanying Exhibit A, Becky G and a plurality of
 18 the defendants, the corresponding defendants for each song named therein, have
 19 released the songs entitled 24/7, Bella Ciao, Cuando Te Besé, En Mi Contra, Guapa,
 20 La Respuesta, Mala Santa, Mamiii, Mayores, Me Acostumbré, Mejor Así, Ni De Ti Ni
 21 De Nadie, No Drama, No Te Pertenezco, Si Si, Sin Pijama, Sola, Subiendo, Te
 22 Superé, Todo Cambio, Vámonos, and Zooted.
 23        329. Each of 24/7, Bella Ciao, Cuando Te Besé, En Mi Contra, Guapa, La
 24 Respuesta, Mala Santa, Mamiii, Mayores, Me Acostumbré, Mejor Así, Ni De Ti Ni
 25 De Nadie, No Drama, No Te Pertenezco, Si Si, Sin Pijama, Sola, Subiendo, Te
 26 Superé, Todo Cambio, Vámonos, and Zooted (collectively, the “Becky G Works”)
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  1 were separately released at different times subsequent to the 1989 release of Fish
  2 Market.
  3        330. Each of the Becky G Works incorporates an unauthorized sample of the
  4 Fish Market recording and/or a verbatim copy of the Fish Market composition as the
  5 primary rhythm / drum section of each work.
  6        331. A comparison of Fish Market and each of the Becky G Works
  7 establishes that each of the Becky G Works incorporates both qualitatively and
  8 quantitatively significant sections of the Fish Market recording and/or composition.
  9 The various defendants responsible for each of the identified works and the manner
 10 of copying are described in the accompanying Exhibit A.

 11                     Cali Y El Dandee Allegations.
 12        332. As shown in the accompanying Exhibit A, Cali Y El Dandee and a
 13 plurality of the defendants, the corresponding defendants for each song named
 14 therein, have released the songs entitled Ay Corazón, Besos Tristes, Borracho De
 15 Amor, BYL (Borracha Y Loca), Chino, Coldplay, Colegio, Contigo, Despiértate, Gol,
 16 Juega, Locura, Lumbra, Malibu, Momentos Para Recordar, Nada, No hay 2 sin 3, No
 17 me mires Asi, Perdóname, Por Ella, Por Fin Te Encontré, Sirena, Te toco perder,
 18 Tequila Sunrise, Tu Nombre, Un Tiempo, Ven a mi, VIVO AHORA, Voy Por Ti, and
 19 Yo No Te Olvido.
 20        333. Each of Ay Corazón, Besos Tristes, Borracho De Amor, BYL (Borracha
 21 Y Loca), Chino, Coldplay, Colegio, Contigo, Despiértate, Gol, Juega, Locura,
 22 Lumbra, Malibu, Momentos Para Recordar, Nada, No hay 2 sin 3, No me mires Asi,
 23 Perdóname, Por Ella, Por Fin Te Encontré, Sirena, Te toco perder, Tequila Sunrise,
 24 Tu Nombre, Un Tiempo, Ven a mi, VIVO AHORA, Voy Por Ti, and Yo No Te Olvido
 25 (collectively, the “Cali Y El Dandee Works”) were separately released at different
 26 times subsequent to the 1989 release of Fish Market.
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  1        334. Each of the Cali Y El Dandee Works incorporates an unauthorized
  2 sample of the Fish Market recording and/or a verbatim copy of the Fish Market
  3 composition as the primary rhythm / drum section of each work.
  4        335. A comparison of Fish Market and each of the Cali Y El Dandee Works
  5 establishes that each of the Cali Y El Dandee Works incorporates both qualitatively
  6 and quantitatively significant sections of the Fish Market recording and/or
  7 composition. The various defendants responsible for each of the identified works and
  8 the manner of copying are described in the accompanying Exhibit A.
  9                     Camilo Allegations.
 10        336. As shown in the accompanying Exhibit A, Camilo and a plurality of the
 11 defendants, the corresponding defendants for each song named therein, have released
 12 the songs entitled El Mismo Aire, Favorito, Machu Picchu, Mareado, Millones, No
 13 Te Vayas, Por Primera Vez, Rolex, Ropa Cara, Si Estoy Contigo, and Tutu.
 14        337. Each of El Mismo Aire, Favorito, Machu Picchu, Mareado, Millones,
 15 No Te Vayas, Por Primera Vez, Rolex, Ropa Cara, Si Estoy Contigo, and Tutu
 16 (collectively, the “Camilo Works”) were separately released at different times
 17 subsequent to the 1989 release of Fish Market.
 18        338. Each of the Camilo Works incorporates an unauthorized sample of the
 19 Fish Market recording and/or a verbatim copy of the Fish Market composition as the
 20 primary rhythm / drum section of each work.
 21        339. A comparison of Fish Market and each of the Camilo Works establishes
 22 that each of the Camilo Works incorporates both qualitatively and quantitatively
 23 significant sections of the Fish Market recording and/or composition. The various
 24 defendants responsible for each of the identified works and the manner of copying are
 25 described in the accompanying Exhibit A.
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  1                     Carlos Vives Allegations.
  2        340. As shown in the accompanying Exhibit A, Carlos Vives and a plurality
  3 of the defendants, the corresponding defendants for each song named therein, have
  4 released the songs entitled Al Filo de Tu Amor, Canción Bonita, El Mar de Sus Ojos,
  5 For Sale, Hechicera, La Bicicleta, La Tierra Prometida, Los Consejos del Difunto,
  6 Monsieur Bigoté, No Te Vayas, Nuestro Secreto, Pescaíto, Robarte Un Beso, Si Me
  7 Das Tu Amor, Todo Me Gusta, and Vitamina En Rama.
  8        341. Each of Al Filo de Tu Amor, Canción Bonita, El Mar de Sus Ojos, For
  9 Sale, Hechicera, La Bicicleta, La Tierra Prometida, Los Consejos del Difunto,
 10 Monsieur Bigoté, No Te Vayas, Nuestro Secreto, Pescaíto, Robarte Un Beso, Si Me

 11 Das Tu Amor, Todo Me Gusta, and Vitamina En Rama (collectively, the “Carlos
 12 Vives Works”) were separately released at different times subsequent to the 1989
 13 release of Fish Market.
 14        342. Each of the Carlos Vives Works incorporates an unauthorized sample of
 15 the Fish Market recording and/or a verbatim copy of the Fish Market composition as
 16 the primary rhythm / drum section of each work.
 17        343. A comparison of Fish Market and each of the Carlos Vives Works
 18 establishes that each of the Carlos Vives Works incorporates both qualitatively and
 19 quantitatively significant sections of the Fish Market recording and/or composition.
 20 The various defendants responsible for each of the identified works and the manner
 21 of copying are described in the accompanying Exhibit A.
 22                     Casper Magico Allegations.
 23        344. As shown in the accompanying Exhibit A, Casper Magico and a
 24 plurality of the defendants, the corresponding defendants for each song named
 25 therein, have released the songs entitled Cuentale, Desilusion, En Otra Piel,
 26 Encendia, Fantasmita, Fantasmita Remix, Groupie Remix, Groupie, H.P.T.A, Karma,
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  1 La Mas Linda, Loco, Me Pichea, No Me Hables De Amor, No Te Veo (Remix), No Te
  2 Veo, and Sola & Vacía.
  3        345. Each of Cuentale, Desilusion, En Otra Piel, Encendia, Fantasmita,
  4 Fantasmita Remix, Groupie Remix, Groupie, H.P.T.A, Karma, La Mas Linda, Loco,
  5 Me Pichea, No Me Hables De Amor, No Te Veo (Remix), No Te Veo, and Sola &
  6 Vacíai (collectively, the “Casper Magico Works”) were separately released at
  7 different times subsequent to the 1989 release of Fish Market.
  8        346. Each of the Casper Magico Works incorporates an unauthorized sample
  9 of the Fish Market recording and/or a verbatim copy of the Fish Market composition
 10 as the primary rhythm / drum section of each work.

 11        347. A comparison of Fish Market and each of the Casper Magico Works
 12 establishes that each of the Casper Magico Works incorporates both qualitatively and
 13 quantitatively significant sections of the Fish Market recording and/or composition.
 14 The various defendants responsible for each of the identified works and the manner
 15 of copying are described in the accompanying Exhibit A.
 16                     CNCO Allegations.
 17         348. As shown in the accompanying Exhibit A, CNCO and a plurality of the
 18 defendants, the corresponding defendants for each song named therein, have released
 19 the songs entitled Amor Narcótico, Beso, Bonita, De Cero, De Mí, Dejaría Todo,
 20 Demuéstrame, Devuélveme Mi Corazón, El Amor de Mi Vida, Entra en Mi Vida,
 21 Estoy Enamorado de Ti, Fiesta en Mi Casa, Hey DJ, Honey Boo, Imagíname Sin Ti,
 22 La Ley, La Quiero a Morir, Llegaste Tú, Mala Actitud, Mamita, Mi Medicina, Mis
 23 Ojos Lloran por Ti, My Boo, No Entiendo, No Me Sueltes, Noche Inolvidable, Para
 24 Enamorarte, Pegao, Primera Cita, Qué Va a Ser de Mí, Quisiera, Reggaetón Lento,
 25 Reggaetón Lento (Remix), Se Vuelve Loca, Solo Importas Tú, Sólo Yo, Tan
 26 Enamorados, Tan Fácil, and Volverte a Ver.
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  1        349. Each of Amor Narcótico, Beso, Bonita, De Cero, De Mí, Dejaría Todo,
  2 Demuéstrame, Devuélveme Mi Corazón, El Amor de Mi Vida, Entra en Mi Vida,
  3 Estoy Enamorado de Ti, Fiesta en Mi Casa, Hey DJ, Honey Boo, Imagíname Sin Ti,
  4 La Ley, La Quiero a Morir, Llegaste Tú, Mala Actitud, Mamita, Mi Medicina, Mis
  5 Ojos Lloran por Ti, My Boo, No Entiendo, No Me Sueltes, Noche Inolvidable, Para
  6 Enamorarte, Pegao, Primera Cita, Qué Va a Ser de Mí, Quisiera, Reggaetón Lento,
  7 Reggaetón Lento (Remix), Se Vuelve Loca, Solo Importas Tú, Sólo Yo, Tan
  8 Enamorados, Tan Fácil, and Volverte a Ver (collectively, the “CNCO Works”) were
  9 separately released at different times subsequent to the 1989 release of Fish Market.
 10        350. Each of the CNCO Works incorporates an unauthorized sample of the
 11 Fish Market recording and/or a verbatim copy of the Fish Market composition as the
 12 primary rhythm / drum section of each work.
 13        351. A comparison of Fish Market and each of the CNCO Works establishes
 14 that each of the CNCO Works incorporates both qualitatively and quantitatively
 15 significant sections of the Fish Market recording and/or composition. The various
 16 defendants responsible for each of the identified works and the manner of copying are
 17 described in the accompanying Exhibit A.
 18                     Dalex Allegations.
 19         352. As shown in the accompanying Exhibit A, Dalex and a plurality of the
 20 defendants, the corresponding defendants for each song named therein, have released
 21 the songs entitled Bellaquita, Bellaquita (Remix), Fantasia, Feeling, Hola, Hola
 22 Remix, Indomable, Jockey, +Linda, Lo Que Te Gusta, Matemáticas, Mejor, Mi
 23 Cama, Perfume, Prendía, Qué Tal, Rompe, and Yo No Me Enamoro.
 24        353. Each of Bellaquita, Bellaquita (Remix), Fantasia, Feeling, Hola, Hola
 25 Remix, Indomable, Jockey, +Linda, Lo Que Te Gusta, Matemáticas, Mejor, Mi
 26 Cama, Perfume, Prendía, Qué Tal, Rompe, and Yo No Me Enamoro (collectively, the
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  1 “Dalex Works”) were separately released at different times subsequent to the 1989
  2 release of Fish Market.
  3        354. Each of the Dalex Works incorporates an unauthorized sample of the
  4 Fish Market recording and/or a verbatim copy of the Fish Market composition as the
  5 primary rhythm / drum section of each work.
  6        355. A comparison of Fish Market and each of the Dalex Works establishes
  7 that each of the Dalex Works incorporates both qualitatively and quantitatively
  8 significant sections of the Fish Market recording and/or composition. The various
  9 defendants responsible for each of the identified works and the manner of copying are
 10 described in the accompanying Exhibit A.

 11                     Danna Paola Allegations.
 12         356. As shown in the accompanying Exhibit A, Danna Paola and a plurality
 13 of the defendants, the corresponding defendants for each song named therein, have
 14 released the songs entitled Cachito, Final Feliz, Friend De Semana, Kaprichosa,
 15 Mala Fama, Mala Fama (Remix), MIA, No Bailes Sola, Oye Pablo, Polo A Tierra,
 16 Sodio, and TQ Y YA.
 17        357. Each of Cachito, Final Feliz, Friend De Semana, Kaprichosa, Mala
 18 Fama, Mala Fama (Remix), MIA, No Bailes Sola, Oye Pablo, Polo A Tierra, Sodio,
 19 and TQ Y YA (collectively, the “Danna Paola Works”) were separately released at
 20 different times subsequent to the 1989 release of Fish Market.
 21        358. Each of the Danna Paola Works incorporates an unauthorized sample of
 22 the Fish Market recording and/or a verbatim copy of the Fish Market composition as
 23 the primary rhythm / drum section of each work.
 24        359. A comparison of Fish Market and each of the Danna Paola Works
 25 establishes that each of the Danna Paola Works incorporates both qualitatively and
 26 quantitatively significant sections of the Fish Market recording and/or composition.
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  1 The various defendants responsible for each of the identified works and the manner
  2 of copying are described in the accompanying Exhibit A.
  3                     Danny Ocean Allegations.
  4         360. As shown in the accompanying Exhibit A, Danny Ocean and a plurality
  5 of the defendants, the corresponding defendants for each song named therein, have
  6 released the songs entitled ADO, Apartamento, Baby I Won't, Báilame, Cuando Me
  7 Acerco A Ti, Cuántas veces, Dembow, Dorito & Coca-Cola, Epa Wei, Fuera del
  8 mercado, Istanbul, Me Rehúso, and Tú no me conoces.
  9        361. Each of ADO, Apartamento, Baby I Won't, Báilame, Cuando Me Acerco
 10 A Ti, Cuántas veces, Dembow, Dorito & Coca-Cola, Epa Wei, Fuera del mercado,

 11 Istanbul, Me Rehúso, and Tú no me conoces (collectively, the “Danny Ocean
 12 Works”) were separately released at different times subsequent to the 1989 release of
 13 Fish Market.
 14        362. Each of the Danny Ocean Works incorporates an unauthorized sample of
 15 the Fish Market recording and/or a verbatim copy of the Fish Market composition as
 16 the primary rhythm / drum section of each work.
 17        363. A comparison of Fish Market and each of the Danny Ocean Works
 18 establishes that each of the Danny Ocean Works incorporates both qualitatively and
 19 quantitatively significant sections of the Fish Market recording and/or composition.
 20 The various defendants responsible for each of the identified works and the manner
 21 of copying are described in the accompanying Exhibit A.
 22                     De La Ghetto Allegations.
 23        364. As shown in the accompanying Exhibit A, De La Ghetto and a plurality
 24 of the defendants, the corresponding defendants for each song named therein, have
 25 released the songs entitled Acércate, Ahí Ahí Ahí, Amantes, Bienvenido Al Bellakeo,
 26 Caliente, Chica Mala, Cogelo Pa' Ti, Como Baila, Cuando Será, Dices, Dices
 27 (Remix), El Que Se Enamora Pierde, El Volante, Ella es Especial, Exitandonos, Frío
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  1 Olímpico, Loco Por Perrearte, Loco Por Perrearte Remix, Mami, Me Acostumbre,
  2 Me Parece, Mi Fanatica, Mi Fanatica (Remix), Mírala, No Me Digas Que No,
  3 Perdida, Que Tengo Que Aser, Relájate Conmigo, Se Te Nota, Selfie, Sin Perse, Sube
  4 La Music, Subelo, Todas En Fila, Todas En Fila (Remix), Todo el Amor, and
  5 Vamonos Calle.
  6        365. Each of Acércate, Ahí Ahí Ahí, Amantes, Bienvenido Al Bellakeo,
  7 Caliente, Chica Mala, Cogelo Pa' Ti, Como Baila, Cuando Será, Dices, Dices
  8 (Remix), El Que Se Enamora Pierde, El Volante, Ella es Especial, Exitandonos, Frío
  9 Olímpico, Loco Por Perrearte, Loco Por Perrearte Remix, Mami, Me Acostumbre,
 10 Me Parece, Mi Fanatica, Mi Fanatica (Remix), Mírala, No Me Digas Que No,

 11 Perdida, Que Tengo Que Aser, Relájate Conmigo, Se Te Nota, Selfie, Sin Perse, Sube
 12 La Music, Subelo, Todas En Fila, Todas En Fila (Remix), Todo el Amor, and
 13 Vamonos Calle (collectively, the “De La Ghetto Works”) were separately released at
 14 different times subsequent to the 1989 release of Fish Market.
 15        366. Each of the De La Ghetto Works incorporates an unauthorized sample of
 16 the Fish Market recording and/or a verbatim copy of the Fish Market composition as
 17 the primary rhythm / drum section of each work.
 18        367. A comparison of Fish Market and each of the De La Ghetto Works
 19 establishes that each of the De La Ghetto Works incorporates both qualitatively and
 20 quantitatively significant sections of the Fish Market recording and/or composition.
 21 The various defendants responsible for each of the identified works and the manner
 22 of copying are described in the accompanying Exhibit A.
 23                     Dímelo Flow Allegations.
 24        368. As shown in the accompanying Exhibit A, Dímelo Flow and a plurality
 25 of the defendants, the corresponding defendants for each song named therein, have
 26 released the songs entitled Crazy, Dime Ave, Doble Cara, El Favor, FKU, Girl Like
 27 You, Hickey, La Isla, Masoquista, Mi Favorita, Mi Perfume, MMC, Nadie La Dejo,
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  1 No Es Normal, Otra Copa, Pártela, Pirueta, Por Fin, Punto De Vista, Qué Me
  2 Contás, Reggaetón, Se Le Ve, Suelta, Un Plan, and Winnie Pooh.
  3        369. Each of Crazy, Dime Ave, Doble Cara, El Favor, FKU, Girl Like You,
  4 Hickey, La Isla, Masoquista, Mi Favorita, Mi Perfume, MMC, Nadie La Dejo, No Es
  5 Normal, Otra Copa, Pártela, Pirueta, Por Fin, Punto De Vista, Qué Me Contás,
  6 Reggaetón, Se Le Ve, Suelta, Un Plan, and Winnie Pooh (collectively, the “Dímelo
  7 Flow Works”) were separately released at different times subsequent to the 1989
  8 release of Fish Market.
  9        370. Each of the Dímelo Flow Works incorporates an unauthorized sample of
 10 the Fish Market recording and/or a verbatim copy of the Fish Market composition as

 11 the primary rhythm / drum section of each work.
 12        371. A comparison of Fish Market and each of the Dímelo Flow Works
 13 establishes that each of the Dímelo Flow Works incorporates both qualitatively and
 14 quantitatively significant sections of the Fish Market recording and/or composition.
 15 The various defendants responsible for each of the identified works and the manner
 16 of copying are described in the accompanying Exhibit A.
 17                     DJ Snake Allegations.
 18        372. As shown in the accompanying Exhibit A, DJ Snake and a plurality of
 19 the defendants, the corresponding defendants for each song named therein, have
 20 released the songs entitled Fuego, Loco Contigo, Magenta Riddim, Selfish Love, and
 21 Taki Taki.
 22        373. Each of Fuego, Loco Contigo, Magenta Riddim, Selfish Love, and Taki
 23 Taki (collectively, the “DJ Snake Works”) were separately released at different times
 24 subsequent to the 1989 release of Fish Market.
 25        374. Each of the DJ Snake Works incorporates an unauthorized sample of the
 26 Fish Market recording and/or a verbatim copy of the Fish Market composition as the
 27 primary rhythm / drum section of each work.
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  1        375. A comparison of Fish Market and each of the DJ Snake Works
  2 establishes that each of the DJ Snake Works incorporates both qualitatively and
  3 quantitatively significant sections of the Fish Market recording and/or composition.
  4 The various defendants responsible for each of the identified works and the manner
  5 of copying are described in the accompanying Exhibit A.
  6                     Drake Allegations.
  7        376. As shown in the accompanying Exhibit A, Drake and a plurality of the
  8 defendants, the corresponding defendants for each song named therein, have released
  9 the song entitled One Dance.
 10        377. One Dance (the “Drake Work”) was released subsequent to the 1989
 11 release of Fish Market.
 12        378. The Drake Work incorporates an unauthorized sample of the Fish
 13 Market recording and/or a verbatim copy of the Fish Market composition as the
 14 primary rhythm / drum section of each work.
 15        379. A comparison of Fish Market and the Drake Work establishes that the
 16 Drake Work incorporates both qualitatively and quantitatively significant sections of
 17 the Fish Market recording and/or composition. The various defendants responsible
 18 for each of the identified works and the manner of copying are described in the
 19 accompanying Exhibit A.
 20                     Enrique Iglesias Allegations.
 21         380. As shown in the accompanying Exhibit A, Enrique Iglesias and a
 22 plurality of the defendants, the corresponding defendants for each song named
 23 therein, have released the songs entitled Bailando, Duele El Corazon, El Baño, Me
 24 Pase, Miss You, Move To MIAMI, Nos Fuimos Lejos, Pendejo, Subeme La Radio, and
 25 Te Fuiste.
 26        381. Each of Bailando, Duele El Corazon, El Baño, Me Pase, Miss You,
 27 Move To MIAMI, Nos Fuimos Lejos, Pendejo, Subeme La Radio, and Te Fuiste
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  1 (collectively, the “Enrique Iglesias Works”) were separately released at different
  2 times subsequent to the 1989 release of Fish Market.
  3        382. Each of the Enrique Iglesias Works incorporates an unauthorized sample
  4 of the Fish Market recording and/or a verbatim copy of the Fish Market composition
  5 as the primary rhythm / drum section of each work.
  6        383. A comparison of Fish Market and each of the Enrique Iglesias Works
  7 establishes that each of the Enrique Iglesias Works incorporates both qualitatively
  8 and quantitatively significant sections of the Fish Market recording and/or
  9 composition. The various defendants responsible for each of the identified works and
 10 the manner of copying are described in the accompanying Exhibit A.

 11                     Farruko Allegations.
 12        384. As shown in the accompanying Exhibit A, Farruko and a plurality of the
 13 defendants, the corresponding defendants for each song named therein, have released
 14 the songs entitled Amaneció, Back To The Future, Bebe Conmigo, Besas Tan Bien,
 15 Boomboneo, Booty Booty, Borinquen Bella, Cartier, Chillax, Chulería en Pote,
 16 Coolant, Cositas Que Haciamos, Crazy in Love, Dale Dembow, Dale Que Voy, Dime
 17 que hago, El único, Es hora, Fantasy, Fichurear, Forever Alone, Fuego, GATAS,
 18 BOCINAS & BAJO, Ganas, GangaXtrip, Get Together, GUILLAO, Hacerte El Amor,
 19 Hola Beba, Hoy, Illusion, Inolvidable, Interesada, Intimidad, La Cartera, La Noche,
 20 La Nueva Gerencia, La Tóxica, lejos de aquí, Me trancaro, Menor, Mi Vida No Va A
 21 Cambiar, Miro El Reloj, MÚSICA, Nadie, Nena Fichu, No Es Una Gial, No Quiere
 22 Saber, No Soy, Obsesionado, Pa' Darle, Pa' Romper La Discoteca, Papi Champú,
 23 Paredes De Hielo, Passion Whine, Pasto y pelea, Piquete, Pórtate Mal, Power, Pura
 24 Falsedad, Qué Hay de Malo, Quédate, RaPaPam, Recordarte, Resort, Roatán,
 25 Rompe el Suelo, Salgo, Sin Ti, Sorpresa, Suéltate Tú, Te Iré a Buscar, Te suelto el
 26 pelo, Te Va A Doler, Tensión, Tiempos, Titerito, Todo Cambio, Traime a tu Amiga,
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  1 TrapXFicante (RIP Almighty), Una lágrima, Va a toa, Visionary, Voy A 100, Web
  2 Cam, XOXA, and Zaranana.
  3        385. Each of Amaneció, Back To The Future, Bebe Conmigo, Besas Tan Bien,
  4 Boomboneo, Booty Booty, Borinquen Bella, Cartier, Chillax, Chulería en Pote,
  5 Coolant, Cositas Que Haciamos, Crazy in Love, Dale Dembow, Dale Que Voy, Dime
  6 que hago, El único, Es hora, Fantasy, Fichurear, Forever Alone, Fuego, GATAS,
  7 BOCINAS & BAJO, Ganas, GangaXtrip, Get Together, GUILLAO, Hacerte El Amor,
  8 Hola Beba, Hoy, Illusion, Inolvidable, Interesada, Intimidad, La Cartera, La Noche,
  9 La Nueva Gerencia, La Tóxica, lejos de aquí, Me trancaro, Menor, Mi Vida No Va A
 10 Cambiar, Miro El Reloj, MÚSICA, Nadie, Nena Fichu, No Es Una Gial, No Quiere

 11 Saber, No Soy, Obsesionado, Pa' Darle, Pa' Romper La Discoteca, Papi Champú,
 12 Paredes De Hielo, Passion Whine, Pasto y pelea, Piquete, Pórtate Mal, Power, Pura
 13 Falsedad, Qué Hay de Malo, Quédate, RaPaPam, Recordarte, Resort, Roatán,
 14 Rompe el Suelo, Salgo, Sin Ti, Sorpresa, Suéltate Tú, Te Iré a Buscar, Te suelto el
 15 pelo, Te Va A Doler, Tensión, Tiempos, Titerito, Todo Cambio, Traime a tu Amiga,
 16 TrapXFicante (RIP Almighty), Una lágrima, Va a toa, Visionary, Voy A 100, Web
 17 Cam, XOXA, and Zaranana (collectively, the “Farruko Works”) were separately
 18 released at different times subsequent to the 1989 release of Fish Market.
 19        386. Each of the Farruko Works incorporates an unauthorized sample of the
 20 Fish Market recording and/or a verbatim copy of the Fish Market composition as the
 21 primary rhythm / drum section of each work.
 22        387. A comparison of Fish Market and each of the Farruko Works establishes
 23 that each of the Farruko Works incorporates both qualitatively and quantitatively
 24 significant sections of the Fish Market recording and/or composition. The various
 25 defendants responsible for each of the identified works and the manner of copying are
 26 described in the accompanying Exhibit A.
 27                     Feid Allegations.
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  1        388. As shown in the accompanying Exhibit A, Feid and a plurality of the
  2 defendants, the corresponding defendants for each song named therein, have released
  3 the songs entitled 911, BORRAXXA, CHIMBITA, Feliz Cumpleaños Ferxxo,
  4 FERXXO X ÑEJO , Ferxxo 100, FRESH KERIAS, FRIKI, FUMETEO, Normal,
  5 Nuestra Canción, Perfecta, Porfa, PORFA (Remix), PURRITO APA, Que Raro,
  6 RELXJXTE, Ron (Remix), SI TÚ SUPIERAS, VACAXIONES, and XNTXS.
  7        389. Each of 911, BORRAXXA, CHIMBITA, Feliz Cumpleaños Ferxxo,
  8 FERXXO X ÑEJO , Ferxxo 100, FRESH KERIAS, FRIKI, FUMETEO, Normal,
  9 Nuestra Canción, Perfecta, Porfa, PORFA (Remix), PURRITO APA, Que Raro,
 10 RELXJXTE, Ron (Remix), SI TÚ SUPIERAS, VACAXIONES, and XNTXS

 11 (collectively, the “Feid Works”) were separately released at different times
 12 subsequent to the 1989 release of Fish Market.
 13        390. Each of the Feid Works incorporates an unauthorized sample of the Fish
 14 Market recording and/or a verbatim copy of the Fish Market composition as the
 15 primary rhythm / drum section of each work.
 16        391. A comparison of Fish Market and each of the Feid Works establishes
 17 that each of the Feid Works incorporates both qualitatively and quantitatively
 18 significant sections of the Fish Market recording and/or composition. The various
 19 defendants responsible for each of the identified works and the manner of copying are
 20 described in the accompanying Exhibit A.
 21                     French Montana Allegations
 22        392. As shown in the accompanying Exhibit A, French Montana and a
 23 plurality of the defendants, the corresponding defendants for each song named
 24 therein, have released the songs entitled Out of Your Mind, and Unforgettable.
 25        393. Each of Out of Your Mind, and Unforgettable. (collectively, the “French
 26 Montana Works”) were separately released at different times subsequent to the 1989
 27 release of Fish Market.
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  1        394. Each of the French Montana Works incorporates an unauthorized sample
  2 of the Fish Market recording and/or a verbatim copy of the Fish Market composition
  3 as the primary rhythm / drum section of each work.
  4        395. A comparison of Fish Market and each of the French Montana Works
  5 establishes that each of the French Montana Works incorporates both qualitatively
  6 and quantitatively significant sections of the Fish Market recording and/or
  7 composition. The various defendants responsible for each of the identified works and
  8 the manner of copying are described in the accompanying Exhibit A.
  9                     Gente de Zona Allegations.
 10         396. As shown in the accompanying Exhibit A, Gente de Zona and a plurality
 11 of the defendants, the corresponding defendants for each song named therein, have
 12 released the songs entitled Algo Contigo, El Mentiroso, Hazle Completo El Cuento,
 13 La Gozadera, La Tentación, Lo Que Tú y Yo Vivimos, Loco Loco, Mas Macarena,
 14 Me Da Lo Mismo, Momento, No te dejo sola, Otra Botella, Poquito a Poco, Que Tú
 15 Quieres, Quiero Conocerte, Seré, Si No Vuelves, Tan Buena, Te Duele, Traidora, and
 16 Tu y Yo.
 17        397. Each of Algo Contigo, El Mentiroso, Hazle Completo El Cuento, La
 18 Gozadera, La Tentación, Lo Que Tú y Yo Vivimos, Loco Loco, Mas Macarena, Me
 19 Da Lo Mismo, Momento, No te dejo sola, Otra Botella, Poquito a Poco, Que Tú
 20 Quieres, Quiero Conocerte, Seré, Si No Vuelves, Tan Buena, Te Duele, Traidora, and
 21 Tu y Yo (collectively, the “Gente de Zona Works”) were separately released at
 22 different times subsequent to the 1989 release of Fish Market.
 23        398. Each of the Gente de Zona Works incorporates an unauthorized sample
 24 of the Fish Market recording and/or a verbatim copy of the Fish Market composition
 25 as the primary rhythm / drum section of each work.
 26        399. A comparison of Fish Market and each of the Gente de Zona Works
 27 establishes that each of the Gente de Zona Works incorporates both qualitatively and
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  1 quantitatively significant sections of the Fish Market recording and/or composition.
  2 The various defendants responsible for each of the identified works and the manner
  3 of copying are described in the accompanying Exhibit A.
  4                     GreeicyAllegations.
  5         400. As shown in the accompanying Exhibit A, Greeicy and a plurality of the
  6 defendants, the corresponding defendants for each song named therein, have released
  7 the songs entitled A Mí No, Aguardiente, Amantes, Contigo, Cuando te vi, Destino,
  8 Error, Ganas, Jacuzzi, Los Besos, Los Consejos, Más Fuerte, Menos De Ti, Mentira,
  9 Minifalda, and Tóxico.
 10        401. Each of A Mí No, Aguardiente, Amantes, Contigo, Cuando te vi,
 11 Destino, Error, Ganas, Jacuzzi, Los Besos, Los Consejos, Más Fuerte, Menos De Ti,
 12 Mentira, Minifalda, and Tóxico (collectively, the “Greeicy Works”) were separately
 13 released at different times subsequent to the 1989 release of Fish Market.
 14        402. Each of the Greeicy Works incorporates an unauthorized sample of the
 15 Fish Market recording and/or a verbatim copy of the Fish Market composition as the
 16 primary rhythm / drum section of each work.
 17        403. A comparison of Fish Market and each of the Greeicy Works establishes
 18 that each of the Greeicy Works incorporates both qualitatively and quantitatively
 19 significant sections of the Fish Market recording and/or composition. The various
 20 defendants responsible for each of the identified works and the manner of copying are
 21 described in the accompanying Exhibit A.
 22                     Ivy Queen Allegations.
 23        404. As shown in the accompanying Exhibit A, Ivy Queen and a plurality of
 24 the defendants, the corresponding defendants for each song named therein, have
 25 released the songs entitled Amor Puro, La Vida Es Así, Te He Querido, Te He
 26 Llorado, and Yo Quiero Bailar.
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  1         405. Each of Amor Puro, La Vida Es Así, Te He Querido, Te He Llorado, and
  2 Yo Quiero Bailar (collectively, the “Ivy Queen Works”) were separately released at
  3 different times subsequent to the 1989 release of Fish Market.
  4         406. Each of the Ivy Queen Works incorporates an unauthorized sample of
  5 the Fish Market recording and/or a verbatim copy of the Fish Market composition as
  6 the primary rhythm / drum section of each work.
  7         407. A comparison of Fish Market and each of the Ivy Queen Works
  8 establishes that each of the Ivy Queen Works incorporates both qualitatively and
  9 quantitatively significant sections of the Fish Market recording and/or composition.
 10 The various defendants responsible for each of the identified works and the manner

 11 of copying are described in the accompanying Exhibit A.
 12                     J Balvin Allegations.
 13         408. As shown in the accompanying Exhibit A, J Balvin and a plurality of the
 14 defendants, the corresponding defendants for each song named therein, have released
 15 the songs entitled 6AM, Abrázame, Abusadora, Acércate, Agua, Ahora, Amarillo,
 16 Ambiente, Arcoíris, Ay Vamos, Azul, Bajo La Luna, Blanco, Bobo, Bonita Remix,
 17 Bonita, Como Un Animal, Como Yo, Con Flow Mátalo, Cuando Tú Quieras, Cuidao
 18 Por Ahí, Dame mas, Déjate Llevar, Desnúdate, Dónde Estarás, Ella me cautivo, En
 19 Lo Oscuro, Éxtasis, Ginza, Gris, Hola, Hola que tal, Imaginándote, La Canción, La
 20 Venganza, Machika, Malvada, Mami, Me Gustas Tú, Mi Corazón, Mi Gente,
 21 Mojaita, Morado, Negro, Nivel De Perreo, No Es Justo, Noche de pasión, Noches
 22 Pasadas, Peligrosa, Pierde Los Modales, Poblado, Por un día, Porque Tu, Primera
 23 cita, Qué Más Pues?, Que Pretendes, Reggaeton, Rojo, Rosa, Safari, Se Aloca,
 24 Seguiré Subiendo, Sencillo, Sigo Extrañándote, Sin Compromiso, Solitario, Ten
 25 Cuidado (Pokémon 25 Version), Tranquila, Tú Tienes Algo, Tu Veneno, Un Dia (One
 26 Day), Un día sin ti, Un Peso, Un Sueño, Una Nota, Verde, Vestido, and Yo Te Lo
 27 Dije.
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  1        409. Each of 6AM, Abrázame, Abusadora, Acércate, Agua, Ahora, Amarillo,
  2 Ambiente, Arcoíris, Ay Vamos, Azul, Bajo La Luna, Blanco, Bobo, Bonita Remix,
  3 Bonita, Como Un Animal, Como Yo, Con Flow Mátalo, Cuando Tú Quieras, Cuidao
  4 Por Ahí, Dame mas, Déjate Llevar, Desnúdate, Dónde Estarás, Ella me cautivo, En
  5 Lo Oscuro, Éxtasis, Ginza, Gris, Hola, Hola que tal, Imaginándote, La Canción, La
  6 Venganza, Machika, Malvada, Mami, Me Gustas Tú, Mi Corazón, Mi Gente,
  7 Mojaita, Morado, Negro, Nivel De Perreo, No Es Justo, Noche de pasión, Noches
  8 Pasadas, Peligrosa, Pierde Los Modales, Poblado, Por un día, Porque Tu, Primera
  9 cita, Qué Más Pues?, Que Pretendes, Reggaeton, Rojo, Rosa, Safari, Se Aloca,
 10 Seguiré Subiendo, Sencillo, Sigo Extrañándote, Sin Compromiso, Solitario, Ten

 11 Cuidado (Pokémon 25 Version), Tranquila, Tú Tienes Algo, Tu Veneno, Un Dia (One
 12 Day), Un día sin ti, Un Peso, Un Sueño, Una Nota, Verde, Vestido, and Yo Te Lo Dije
 13 (collectively, the “J Balvin Works”) were separately released at different times
 14 subsequent to the 1989 release of Fish Market.
 15        410. Each of the J Balvin Works incorporates an unauthorized sample of the
 16 Fish Market recording and/or a verbatim copy of the Fish Market composition as the
 17 primary rhythm / drum section of each work.
 18        411. A comparison of Fish Market and each of the J Balvin Works
 19 establishes that each of the J Balvin Works incorporates both qualitatively and
 20 quantitatively significant sections of the Fish Market recording and/or composition.
 21 The various defendants responsible for each of the identified works and the manner
 22 of copying are described in the accompanying Exhibit A.
 23                     Jason Derulo Allegations.
 24         412. As shown in the accompanying Exhibit A, Jason Derulo and a plurality
 25 of the defendants, the corresponding defendants for each song named therein, have
 26 released the songs entitled Colors, Goodbye, Love Not War, and Mamacita.
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  1        413. Each of Colors, Goodbye, Love Not War, and Mamacita (collectively,
  2 the “Jason Derulo Works”) were separately released at different times subsequent to
  3 the 1989 release of Fish Market.
  4        414. Each of the Jason Derulo Works incorporates an unauthorized sample of
  5 the Fish Market recording and/or a verbatim copy of the Fish Market composition as
  6 the primary rhythm / drum section of each work.
  7        415. A comparison of Fish Market and each of the Jason Derulo Works
  8 establishes that each of the Jason Derulo Works incorporates both qualitatively and
  9 quantitatively significant sections of the Fish Market recording and/or composition.
 10 The various defendants responsible for each of the identified works and the manner

 11 of copying are described in the accompanying Exhibit A.
 12                     Jawsh 685 Allegations.
 13         416. As shown in the accompanying Exhibit A, Jawsh 685 and a plurality of
 14 the defendants, the corresponding defendants for each song named therein, have
 15 released the songs entitled Laxed (SIREN BEAT), Savage Love (Laxed - Siren Beat),
 16 and Sweet & Sour (feat. Lauv & Tyga).
 17        417. Each of Laxed (SIREN BEAT), Savage Love (Laxed - Siren Beat), and
 18 Sweet & Sour (feat. Lauv & Tyga) (collectively, the “Jawsh 685 Works”) were
 19 separately released at different times subsequent to the 1989 release of Fish Market.
 20        418. Each of the Jawsh 685 Works incorporates an unauthorized sample of
 21 the Fish Market recording and/or a verbatim copy of the Fish Market composition as
 22 the primary rhythm / drum section of each work.
 23        419. A comparison of Fish Market and each of the Jawsh 685 Works
 24 establishes that each of the Jawsh 685 Works incorporates both qualitatively and
 25 quantitatively significant sections of the Fish Market recording and/or composition.
 26 The various defendants responsible for each of the identified works and the manner
 27 of copying are described in the accompanying Exhibit A.
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  1                     Jay Wheeler Allegations.
  2         420. As shown in the accompanying Exhibit A, Jay Wheeler and a plurality
  3 of the defendants, the corresponding defendants for each song named therein, have
  4 released the songs entitled Cuando Fue, Cuéntale, Esa Nota, Fuiste Tu , La
  5 Curiosidad, Nada Serio, Otra Noche Más, Otra Noche Más, Se Rebeló, Sin Ti,
  6 Viendo El Techo, and Vivir.
  7        421. Each of Cuando Fue, Cuéntale, Esa Nota, Fuiste Tu , La Curiosidad,
  8 Nada Serio, Otra Noche Más, Otra Noche Más, Se Rebeló, Sin Ti, Viendo El
  9 Techo,and Vivir. (collectively, the “Jay Wheeler Works”) were separately released at
 10 different times subsequent to the 1989 release of Fish Market.

 11        422. Each of the Jay Wheeler Works incorporates an unauthorized sample of
 12 the Fish Market recording and/or a verbatim copy of the Fish Market composition as
 13 the primary rhythm / drum section of each work.
 14        423. A comparison of Fish Market and each of the Jay Wheeler Works
 15 establishes that each of the Jay Wheeler Works incorporates both qualitatively and
 16 quantitatively significant sections of the Fish Market recording and/or composition.
 17 The various defendants responsible for each of the identified works and the manner
 18 of copying are described in the accompanying Exhibit A.
 19                     Jennifer Lopez Allegations.
 20        424. As shown in the accompanying Exhibit A, Jennifer Lopez and a plurality
 21 of the defendants, the corresponding defendants for each song named therein, have
 22 released the songs entitled Ain’t Your Mama, Amor, Amor, Amor, Baila Conmigo,
 23 Cambia El Paso, Hold You Down (Remix), Ni Tú Ni Yo, and Pa Ti.
 24        425. Each of Ain’t Your Mama, Amor, Amor, Amor, Baila Conmigo, Cambia
 25 El Paso, Hold You Down (Don Omar Remix), Ni Tú Ni Yo, and Pa Ti (collectively,
 26 the “Jennifer Lopez Works”) were separately released at different times subsequent to
 27 the 1989 release of Fish Market.
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  1        426. Each of the Jennifer Lopez Works incorporates an unauthorized sample
  2 of the Fish Market recording and/or a verbatim copy of the Fish Market composition
  3 as the primary rhythm / drum section of each work.
  4        427. A comparison of Fish Market and each of the Jennifer Lopez Works
  5 establishes that each of the Jennifer Lopez Works incorporates both qualitatively and
  6 quantitatively significant sections of the Fish Market recording and/or composition.
  7 The various defendants responsible for each of the identified works and the manner
  8 of copying are described in the accompanying Exhibit A.
  9                     Jhay Cortez Allegations.
 10         428. As shown in the accompanying Exhibit A, Jhay Cortez and a plurality of
 11 the defendants, the corresponding defendants for each song named therein, have
 12 released the songs entitled Apaga Las Luces, Christian Dior, Como Se Siente,
 13 Cuando Bebe, Dale Como Es, Deséame Suerte, Deseos, Deseos (Remix), Dile
 14 (Homenaje), Dime A Ve, Donde No Se Vea, Easy (Remix), Easy, Esta Dejá,
 15 Imaginaste (Remix), Ley Seca, Los Rompediskoteca, Más De Una, Mi Vicio, No Me
 16 Conoce (Remix), Popular, Ropa Interior, Somos Iguales, Tocarte, and Y No Le
 17 Conviene.
 18        429. Each of Apaga Las Luces, Christian Dior, Como Se Siente, Cuando
 19 Bebe, Dale Como Es, Deséame Suerte, Deseos, Deseos (Remix), Dile (Homenaje),
 20 Dime A Ve, Donde No Se Vea, Easy (Remix), Easy, Esta Dejá, Imaginaste (Remix),
 21 Ley Seca, Los Rompediskoteca, Más De Una, Mi Vicio, No Me Conoce (Remix),
 22 Popular, Ropa Interior, Somos Iguales, Tocarte, and Y No Le Conviene (collectively,
 23 the “Jhay Cortez Works”) were separately released at different times subsequent to
 24 the 1989 release of Fish Market.
 25        430. Each of the Jhay Cortez Works incorporates an unauthorized sample of
 26 the Fish Market recording and/or a verbatim copy of the Fish Market composition as
 27 the primary rhythm / drum section of each work.
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  1        431. A comparison of Fish Market and each of the Jhay Cortez Works
  2 establishes that each of the Jhay Cortez Works incorporates both qualitatively and
  3 quantitatively significant sections of the Fish Market recording and/or composition.
  4 The various defendants responsible for each of the identified works and the manner
  5 of copying are described in the accompanying Exhibit A.
  6                     Justin Quiles Allegations.
  7        432. As shown in the accompanying Exhibit A, Justin Quiles and a plurality
  8 of the defendants, the corresponding defendants for each song named therein, have
  9 released the songs entitled Apretón, Colorín Colorado, Comerte A Besos, Como Si
 10 Nah, Confusión, Contradicción, Cuando Salgo, Desaparecida, DJ No Pare, DJ No

 11 Pare REMIX, Dos Locos, Egoista, El Party Se Formó, Esta Noche ft. Farruko
 12 (Remake), Esta Noche, Fin De Semana, Gladiadora, Hombre Cómo Yo,
 13 Honestamente, Impulsivo, Instagram, Jeans, Juraste, La Amiga, La Botella, Leyenda,
 14 Loco, Loco Por Verte, Me Curare, Me Frontió, Mi Maldicion, Monstruo, No
 15 Descanses, No es de Hombre, No La Toques, No Quiero Amarte, No Respondo, Nos
 16 Envidian, Ocean Park, Orgullo, Orgullo (Remix), Otra Copa, Otra Vez, PAM,
 17 Pendiente De Usted, Ponte Pa' Mi, Quítate Eso, Rabia, Ropa interior, Shorty, Se Te
 18 Olvidó, Si El Mundo Se Acabara, Si Ella Quisiera, Si Tu, Sustancia, Textos Sucios,
 19 Tienes Razón, Un Rato, and Vacaciones Por Tu Cuerpo.
 20        433. Each of Apretón, Colorín Colorado, Comerte A Besos, Como Si Nah,
 21 Confusión, Contradicción, Cuando Salgo, Desaparecida, DJ No Pare, DJ No Pare
 22 REMIX, Dos Locos, Egoista, El Party Se Formó, Esta Noche ft. Farruko (Remake),
 23 Esta Noche, Fin De Semana, Gladiadora, Hombre Cómo Yo, Honestamente,
 24 Impulsivo, Instagram, Jeans, Juraste, La Amiga, La Botella, Leyenda, Loco, Loco
 25 Por Verte, Me Curare, Me Frontió, Mi Maldicion, Monstruo, No Descanses, No es de
 26 Hombre, No La Toques, No Quiero Amarte, No Respondo, Nos Envidian, Ocean
 27 Park, Orgullo, Orgullo (Remix), Otra Copa, Otra Vez, PAM, Pendiente De Usted,
 28
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  1 Ponte Pa' Mi, Quítate Eso, Rabia, Ropa interior, Shorty, Se Te Olvidó, Si El Mundo
  2 Se Acabara, Si Ella Quisiera, Si Tu, Sustancia, Textos Sucios, Tienes Razón, Un
  3 Rato, and Vacaciones Por Tu Cuerpo (collectively, the “Justin Quiles Works”) were
  4 separately released at different times subsequent to the 1989 release of Fish Market.
  5        434. Each of the Justin Quiles Works incorporates an unauthorized sample of
  6 the Fish Market recording and/or a verbatim copy of the Fish Market composition as
  7 the primary rhythm / drum section of each work.
  8        435. A comparison of Fish Market and each of the Justin Quiles Works
  9 establishes that each of the Justin Quiles incorporates both qualitatively and
 10 quantitatively significant sections of the Fish Market recording and/or composition.

 11 The various defendants responsible for each of the identified works and the manner
 12 of copying are described in the accompanying Exhibit A.
 13                     Karol G Allegations.
 14        436. As shown in the accompanying Exhibit A, Karol G and a plurality of the
 15 defendants, the corresponding defendants for each song named therein, have released
 16 the songs entitled A Ella, A Solas, ARRANCA PAL CARAJO, Ay, DiOs Mío!,
 17 Bebesita, BICHOTA, Casi Nada, CONTIGO VOY A MUERTE, Créeme, DÉJALOS
 18 QUE MIREN, Dime, Dime Que Si, DVD, EL BARCO, EL MAKINON, En la Playa,
 19 Eres Mi Todo, GATÚBELA, Go Karo, Hello, La Dama, La Vida Continuó,
 20 LEYENDAS, LOCATION, Love With A Quality, Mi Cama (Remix), Mi Cama,
 21 ODISEA, Pineapple, Punto G, SEJODIOTO, SOLA ES MEJOR, Tusa, Tusa (Remix),
 22 and Ya No Te Creo.
 23        437. Each of A Ella, A Solas, ARRANCA PAL CARAJO, Ay, DiOs Mío!,
 24 Bebesita, BICHOTA, Casi Nada, CONTIGO VOY A MUERTE, Créeme, DÉJALOS
 25 QUE MIREN, Dime, Dime Que Si, DVD, EL BARCO, EL MAKINON, En la Playa,
 26 Eres Mi Todo, GATÚBELA, Go Karo, Hello, La Dama, La Vida Continuó,
 27 LEYENDAS, LOCATION, Love With A Quality, Mi Cama (Remix), Mi Cama,
 28
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  1 ODISEA, Pineapple, Punto G, SEJODIOTO, SOLA ES MEJOR, Tusa, Tusa (Remix),
  2 and Ya No Te Creo (collectively, the “Karol G Works”) were separately released at
  3 different times subsequent to the 1989 release of Fish Market.
  4        438. Each of the Karol G Works incorporates an unauthorized sample of the
  5 Fish Market recording and/or a verbatim copy of the Fish Market composition as the
  6 primary rhythm / drum section of each work.
  7        439. A comparison of Fish Market and each of the Karol G Works establishes
  8 that each of the Karol G Works incorporates both qualitatively and quantitatively
  9 significant sections of the Fish Market recording and/or composition. The various
 10 defendants responsible for each of the identified works and the manner of copying are

 11 described in the accompanying Exhibit A.
 12                     Lenny Tavarez Allegations.
 13        440. As shown in the accompanying Exhibit A, Lenny Tavarez and a
 14 plurality of the defendants, the corresponding defendants for each song named
 15 therein, have released the songs entitled Fantasías, Fantasías Remix, Ímaginate, La
 16 Neta, La Pared 360, Lo Tengo Todo, and Me Enamora.
 17        441. Each of Fantasías, Fantasías Remix, Ímaginate, La Neta, La Pared 360,
 18 Lo Tengo Todo, and Me Enamora (collectively, the “Lenny Tavarez Works”) were
 19 separately released at different times subsequent to the 1989 release of Fish Market.
 20        442. Each of the Lenny Tavarez Works incorporates an unauthorized sample
 21 of the Fish Market recording and/or a verbatim copy of the Fish Market composition
 22 as the primary rhythm / drum section of each work.
 23        443. A comparison of Fish Market and each of the Lenny Tavarez Works
 24 establishes that each of the Lenny Tavarez Works incorporates both qualitatively and
 25 quantitatively significant sections of the Fish Market recording and/or composition.
 26 The various defendants responsible for each of the identified works and the manner
 27 of copying are described in the accompanying Exhibit A.
 28
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  1                     Los Legendarios Allegations.
  2        444. As shown in the accompanying Exhibit A, Los Legendarios and a
  3 plurality of the defendants, the corresponding defendants for each song named
  4 therein, have released the songs entitled Amanecer Contigo, Auto, Baila Conmigo,
  5 Dando Vueltas, En Mi Habitacion, Fiel, Fiel (Remix), Fugitivo, Ganas, Hagámoslo
  6 Otra Vez, Hey Shorty Remix, Huele A Sexo, Loco, Mami, Mari Mari, Me Dañas La
  7 Mente, Mi Niña, No Me Acostumbro, Prendelo, and Vamo Alla.
  8        445. Each of Amanecer Contigo, Auto, Baila Conmigo, Dando Vueltas, En
  9 Mi Habitacion, Fiel, Fiel (Remix), Fugitivo, Ganas, Hagámoslo Otra Vez, Hey
 10 Shorty Remix, Huele A Sexo, Loco, Mami, Mari Mari, Me Dañas La Mente, Mi Niña,

 11 No Me Acostumbro, Prendelo, and Vamo Alla (collectively, the “Los Legendarios
 12 Works”) were separately released at different times subsequent to the 1989 release of
 13 Fish Market.
 14        446. Each of the Los Legendarios Works incorporates an unauthorized
 15 sample of the Fish Market recording and/or a verbatim copy of the Fish Market
 16 composition as the primary rhythm / drum section of each work.
 17        447. A comparison of Fish Market and each of the Los Legendarios Works
 18 establishes that each of the Los Legendarios Works incorporates both qualitatively
 19 and quantitatively significant sections of the Fish Market recording and/or
 20 composition. The various defendants responsible for each of the identified works and
 21 the manner of copying are described in the accompanying Exhibit A.
 22                     Major Lazer Allegations.
 23         448. As shown in the accompanying Exhibit A, Major Lazer and a plurality
 24 of the defendants, the corresponding defendants for each song named therein, have
 25 released the songs entitled Bam Bam, Buscando Huellas, Come On To Me,
 26 Diplomatico, Lean On, Light it Up, Make It Hot, Que Calor, QueLoQue, Sua Cara,
 27 Titans, and Watch Out for This (Bumaye).
 28
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  1        449. Each of Bam Bam, Buscando Huellas, Come On To Me, Diplomatico,
  2 Lean On, Light it Up, Make It Hot, Que Calor, QueLoQue, Sua Cara, Titans, and
  3 Watch Out for This (Bumaye) (collectively, the “Major Lazer Works”) were
  4 separately released at different times subsequent to the 1989 release of Fish Market.
  5        450. Each of the Major Lazer Works incorporates an unauthorized sample of
  6 the Fish Market recording and/or a verbatim copy of the Fish Market composition as
  7 the primary rhythm / drum section of each work.
  8        451. A comparison of Fish Market and each of the Major Lazer Works
  9 establishes that each of the Major Lazer Works incorporates both qualitatively and
 10 quantitatively significant sections of the Fish Market recording and/or composition.

 11 The various defendants responsible for each of the identified works and the manner
 12 of copying are described in the accompanying Exhibit A.
 13                     Maluma Allegations.
 14        452. As shown in the accompanying Exhibit A, Maluma and a plurality of the
 15 defendants, the corresponding defendants for each song named therein, have released
 16 the songs entitled 11PM, ADMV (Versión Urbana), Agua de Jamaica, Ansiedad,
 17 Bella-K, Booty, Borro Cassette, Chocolate, Cielo a un Diablo, Climax, Condena,
 18 Copas de Vino, Corazón, Correr el Riesgo, Cositas de la USA, Cuenta a Saldo,
 19 Cuidau, Déjale Saber, Delincuente, Dime Que Te Parece, Dispuesto, ¿Dónde Estás?,
 20 Dos Amores, El Perdedor, El Préstamo, El Punto, El Tiki, Extrañándote,
 21 Farandulera, Felices los 4, Hangover, Happy Birthday, Hawái, HP, Instinto Natural,
 22 Intentalo, Intro, Magia, La Burbuja, La Cura, La Curiosidad, La Ex, La Flaca, La
 23 Intención, La Misma Moneda, La Vida es Bella, Loco, Luz Verde, Madrid, Mai Mai,
 24 Mal de Amores, Mala, Mala Mía, Malo, Me Acuerdo de Ti, Me Enamore de Ti, Me
 25 Gustas, Me Gustas Tanto, Miss Independent, Mojando Asientos, No Puedo Olvidarte,
 26 No Se Me Quita, Nos Comemos Vivos, Ojos Que No Ven, Obsesión, Parce, Pasarla
 27 Bien, Peligrosa, Perdón, Presiento, Pretextos, Quality, Recuérdame, Salida de
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  1 Escape, Sexo Sin Titulo, Shhh "Calla", Sin Contrato, Sobrio, Solos, Soltera, Te
  2 Quiero Cerquita, Tsunami, Tu Cariño, Una Aventura, Vámonos de Fuga, Vete Vete,
  3 and Ya No Es Niña.
  4        453. Each of 11PM, ADMV (Versión Urbana), Agua de Jamaica, Ansiedad,
  5 Bella-K, Booty, Borro Cassette, Chocolate, Cielo a un Diablo, Climax, Condena,
  6 Copas de Vino, Corazón, Correr el Riesgo, Cositas de la USA, Cuenta a Saldo,
  7 Cuidau, Déjale Saber, Delincuente, Dime Que Te Parece, Dispuesto, ¿Dónde Estás?,
  8 Dos Amores, El Perdedor, El Préstamo, El Punto, El Tiki, Extrañándote,
  9 Farandulera, Felices los 4, Hangover, Happy Birthday, Hawái, HP, Instinto Natural,
 10 Intentalo, Intro, Magia, La Burbuja, La Cura, La Curiosidad, La Ex, La Flaca, La

 11 Intención, La Misma Moneda, La Vida es Bella, Loco, Luz Verde, Madrid, Mai Mai,
 12 Mal de Amores, Mala, Mala Mía, Malo, Me Acuerdo de Ti, Me Enamore de Ti, Me
 13 Gustas, Me Gustas Tanto, Miss Independent, Mojando Asientos, No Puedo Olvidarte,
 14 No Se Me Quita, Nos Comemos Vivos, Ojos Que No Ven, Obsesión, Parce, Pasarla
 15 Bien, Peligrosa, Perdón, Presiento, Pretextos, Quality, Recuérdame, Salida de
 16 Escape, Sexo Sin Titulo, Shhh "Calla", Sin Contrato, Sobrio, Solos, Soltera, Te
 17 Quiero Cerquita, Tsunami, Tu Cariño, Una Aventura, Vámonos de Fuga, Vete Vete,
 18 and Ya No Es Niña (collectively, the “Maluma Works”) were separately released at
 19 different times subsequent to the 1989 release of Fish Market.
 20        454. Each of the Maluma Works incorporates an unauthorized sample of the
 21 Fish Market recording and/or a verbatim copy of the Fish Market composition as the
 22 primary rhythm / drum section of each work.
 23        455. A comparison of Fish Market and each of the Maluma Works
 24 establishes that each of the Maluma Works incorporates both qualitatively and
 25 quantitatively significant sections of the Fish Market recording and/or composition.
 26 The various defendants responsible for each of the identified works and the manner
 27 of copying are described in the accompanying Exhibit A.
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  1                     Manuel Turizo Allegations.
  2        456. As shown in the accompanying Exhibit A, Manuel Turizo and a plurality
  3 of the defendants, the corresponding defendants for each song named therein, have
  4 released the songs entitled Ahora Eh, Amor En Coma, Antes Que Te Vayas, Baila
  5 Conmigo, Bailemos, Caso Perdido, Cosas Malas, Esclavo De Tus Besos,
  6 Esperandote, Kayak, La Nota, Mala Costumbre, Nada Ha Cambiado, No Digas Que
  7 Te Vas, No Le Perteneces, No Me Conoce, Quiéreme Mientras Se Pueda, Sola, Ser
  8 un cantante, Sábanas Desordenadas, Te Falló, Te Olvido, Te Pido Perdón, Te
  9 Quemaste, Tiempo, Una Lady Como Tú, and Vámonos.
 10        457. Each of Ahora Eh, Amor En Coma, Antes Que Te Vayas, Baila
 11 Conmigo, Bailemos, Caso Perdido, Cosas Malas, Esclavo De Tus Besos,
 12 Esperandote, Kayak, La Nota, Mala Costumbre, Nada Ha Cambiado, No Digas Que
 13 Te Vas, No Le Perteneces, No Me Conoce, Quiéreme Mientras Se Pueda, Sola, Ser
 14 un cantante, Sábanas Desordenadas, Te Falló, Te Olvido, Te Pido Perdón, Te
 15 Quemaste, Tiempo, Una Lady Como Tú, and Vámonos (collectively, the “Manuel
 16 Turizo Works”) were separately released at different times subsequent to the 1989
 17 release of Fish Market.
 18        458. Each of the Manuel Turizo Works incorporates an unauthorized sample
 19 of the Fish Market recording and/or a verbatim copy of the Fish Market composition
 20 as the primary rhythm / drum section of each work.
 21        459. A comparison of Fish Market and each of the Manuel Turizo Works
 22 establishes that each of the Manuel Turizo Works incorporates both qualitatively and
 23 quantitatively significant sections of the Fish Market recording and/or composition.
 24 The various defendants responsible for each of the identified works and the manner
 25 of copying are described in the accompanying Exhibit A.
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  1                     Myke Towers Allegations.
  2        460. As shown in the accompanying Exhibit A, Myke Towers and a plurality
  3 of the defendants, the corresponding defendants for each song named therein, have
  4 released the songs entitled Almas Gemelas, Ande Con Quien Ande, Bailame Así,
  5 BANDIDO, Cuando Bebe, EXPLICITO, Fantasia Sexual, Funeral, Girl, Hechizo,
  6 Inocente, Luces de Neon, Mayor, Otro, Pa' La Pared, Parcerita, Piensan, Relación
  7 Rota, Rutina, Si Se Da Remix, Si Se Da, Tiene Que Saber, and Viral.
  8        461. Each of Almas Gemelas, Ande Con Quien Ande, Bailame Así,
  9 BANDIDO, Cuando Bebe, EXPLICITO, Fantasia Sexual, Funeral, Girl, Hechizo,
 10 Inocente, Luces de Neon, Mayor, Otro, Pa' La Pared, Parcerita, Piensan, Relación

 11 Rota, Rutina, Si Se Da Remix, Si Se Da, Tiene Que Saber, and Viral (collectively, the
 12 “Myke Towers Works”) were separately released at different times subsequent to the
 13 1989 release of Fish Market.
 14        462. Each of the Myke Towers Works incorporates an unauthorized sample
 15 of the Fish Market recording and/or a verbatim copy of the Fish Market composition
 16 as the primary rhythm / drum section of each work.
 17        463. A comparison of Fish Market and each of the Myke Towers Works
 18 establishes that each of the Myke Towers Works incorporates both qualitatively and
 19 quantitatively significant sections of the Fish Market recording and/or composition.
 20 The various defendants responsible for each of the identified works and the manner
 21 of copying are described in the accompanying Exhibit A.
 22                     Natti Natasha Allegations.
 23        464. As shown in the accompanying Exhibit A, Natti Natasha and a plurality
 24 of the defendants, the corresponding defendants for each song named therein, have
 25 released the songs entitled Antes Que Salga El Sol, Arrebatá, Criminal, Deja Tus
 26 Besos (Remix), Despacio, Devórame, Eleven, Era Necesario, Frozen, Fue Tu Culpa,
 27 Imposible Amor, Lamento Tu Pérdida, Las Nenas, No Quiero Saber, Oh Daddy, Me
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  1 Felicito, Me Gusta, Me Gusta (Remix), Pa' Mala YO, Philliecito, Que Mal Te Fue,
  2 Que Mal Te Fue (Remix), Ram Pam Pam, Show Off, Te lo Dije, and Toca Toca.
  3        465. Each of Antes Que Salga El Sol, Arrebatá, Criminal, Deja Tus Besos
  4 (Remix), Despacio, Devórame, Eleven, Era Necesario, Frozen, Fue Tu Culpa,
  5 Imposible Amor, Lamento Tu Pérdida, Las Nenas, No Quiero Saber, Oh Daddy, Me
  6 Felicito, Me Gusta, Me Gusta (Remix), Pa' Mala YO, Philliecito, Que Mal Te Fue,
  7 Que Mal Te Fue (Remix), Ram Pam Pam, Show Off, Te lo Dije, and Toca Toca
  8 (collectively, the “Natti Natasha Works”) were separately released at different times
  9 subsequent to the 1989 release of Fish Market.
 10        466. Each of the Natti Natasha Works incorporates an unauthorized sample of
 11 the Fish Market recording and/or a verbatim copy of the Fish Market composition as
 12 the primary rhythm / drum section of each work.
 13        467. A comparison of Fish Market and each of the Natti Natasha Works
 14 establishes that each of the Natti Natasha Works incorporates both qualitatively and
 15 quantitatively significant sections of the Fish Market recording and/or composition.
 16 The various defendants responsible for each of the identified works and the manner
 17 of copying are described in the accompanying Exhibit A.
 18                     Nicky Jam Allegations.
 19        468. As shown in the accompanying Exhibit A, Nicky Jam and a plurality of
 20 the defendants, the corresponding defendants for each song named therein, have
 21 released the songs entitled Adicto, Atrévete, Baby, Borracho, Buscarte, Calor,
 22 Cambiar la Rutina, Celosa, Chambonea, Clavo, Como Te Llamas, Come y Te Vas,
 23 Como Tu Me Pisas, Cuando Apague La Luz, Cuando Quieras, Cuerpo de Campeona,
 24 Cuerpo Mortal, Curiosidad, Dale, Dale Mami Pégate, Dándote, Descontrol,
 25 Desesperau, Desilucionao, Despacio, Despedida, Destino, Dile A Tu Amiga, Dime Si
 26 Piensas en Mi, DM, El Amante, El Desorden, El Perdon, En La Cama, Eres Tu,
 27 Estrella, Fan de Tus Fotos, Fiel a Tu Piel, Filoteao, Gas Pela, Gata Salvaje, Gatas
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  1 En La Disco, Hasta Bajo, Hasta El Amanecer, I Can't Forget You, I Love You, I'm
  2 Not Your Husband / Tu Marido, Interlude (7) Salón de La Fama, Interlude (14) Salón
  3 de La Fama, Intro (featuring Daddy Yankee, Polaco, Falo) [Haciendo Escante],
  4 Intro - Salón de La Fama, Jaleo, Juegos Prohibidos, La Combi, La Gata, La Paga,
  5 La Promesa (La Calle), La Toco, La Vamos a Montar, Loco, Magnum, Mango Piña,
  6 Maniquí, Me Estoy Muriendo, Me voy pal party, My Baby, Mi Estilo Predomino, Mi
  7 Gente Tiene Que Bailar, Mi Maldición, Miami, Mil Lagrimas, Muchos Pensaron Que
  8 The Cream Se Acabo, Muévelo, Nadie Como Tú, Ni Sé, No Hay Nadie Más, No Te
  9 Puedo Olvidar, No Te Vayas, Noche De Acción, Nos Fuimos, Novia Nueva, Panty,
 10 Pasado, Pelean Por Fama, Perdóname, Piensas En Mi, Pikete, Playa, Polvo, Por El

 11 Momento, Quedate Con El, Quiero Estar Contigo, Quisieras, Sacando Chispa, Se Dé
 12 Y Se Da, Se Te Acuerdas La Primera Vez, Si Te Metes Conmigo, Si Tú Guayas, Si Tú
 13 La Ves, Si Tu No Estas, Si Yo Fuera Tu Hombre, Sigo Potente, Siguen Haciendo
 14 Ruido [Remix], Sin Filtro, Sin Novia, Suelta, Superhéroe, Te Hace Falta, Te Haces
 15 La Difícil, Te Invito, Te Quiero Tocar, Te Robarè, Tequila, Tienen El Control, Tienes
 16 Que Ser Mia, Tócate, Ton Ton Ton, Tragatela, Trankila, Travesuras, Tú, Tu Cuerpo
 17 En La Cama, Tu Cuerpo Me Ama, Tu Hombre, Tu Primera Vez, Tú y Tu Flow, Tus
 18 Ojos, Un Sueño, Una Guayaa, Va Pasando el Tiempo, Vamos A Perrear, Ve y Dile
 19 (No Llores), Vive Contigo, Voy a Beber, Whine Up, Y Las Gatas, Ya No Me Llamas,
 20 Yo Tengo Algo, Yo No Sé Que Esperas Tú, and Yo No Soy Tu Marido.
 21        469. Each of Adicto, Atrévete, Baby, Borracho, Buscarte, Calor, Cambiar la
 22 Rutina, Celosa, Chambonea, Clavo, Como Te Llamas, Come y Te Vas, Como Tu Me
 23 Pisas, Cuando Apague La Luz, Cuando Quieras, Cuerpo de Campeona, Cuerpo
 24 Mortal, Curiosidad, Dale, Dale Mami Pégate, Dándote, Descontrol, Desesperau,
 25 Desilucionao, Despacio, Despedida, Destino, Dile A Tu Amiga, Dime Si Piensas en
 26 Mi, DM, El Amante, El Desorden, El Perdon, En La Cama, Eres Tu, Estrella, Fan de
 27 Tus Fotos, Fiel a Tu Piel, Filoteao, Gas Pela, Gata Salvaje, Gatas En La Disco,
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  1 Hasta Bajo, Hasta El Amanecer, I Can't Forget You, I Love You, I'm Not Your
  2 Husband / Tu Marido, Interlude (7) Salón de La Fama, Interlude (14) Salón de La
  3 Fama, Intro (featuring Daddy Yankee, Polaco, Falo) [Haciendo Escante], Intro -
  4 Salón de La Fama, Jaleo, Juegos Prohibidos, La Combi, La Gata, La Paga, La
  5 Promesa (La Calle), La Toco, La Vamos a Montar, Loco, Magnum, Mango Piña,
  6 Maniquí, Me Estoy Muriendo, Me voy pal party, My Baby, Mi Estilo Predomino, Mi
  7 Gente Tiene Que Bailar, Mi Maldición, Miami, Mil Lagrimas, Muchos Pensaron Que
  8 The Cream Se Acabo, Muévelo, Nadie Como Tú, Ni Sé, No Hay Nadie Más, No Te
  9 Puedo Olvidar, No Te Vayas, Noche De Acción, Nos Fuimos, Novia Nueva, Panty,
 10 Pasado, Pelean Por Fama, Perdóname, Piensas En Mi, Pikete, Playa, Polvo, Por El

 11 Momento, Quedate Con El, Quiero Estar Contigo, Quisieras, Sacando Chispa, Se Dé
 12 Y Se Da, Se Te Acuerdas La Primera Vez, Si Te Metes Conmigo, Si Tú Guayas, Si Tú
 13 La Ves, Si Tu No Estas, Si Yo Fuera Tu Hombre, Sigo Potente, Siguen Haciendo
 14 Ruido [Remix], Sin Filtro, Sin Novia, Suelta, Superhéroe, Te Hace Falta, Te Haces
 15 La Difícil, Te Invito, Te Quiero Tocar, Te Robarè, Tequila, Tienen El Control, Tienes
 16 Que Ser Mia, Tócate, Ton Ton Ton, Tragatela, Trankila, Travesuras, Tú, Tu Cuerpo
 17 En La Cama, Tu Cuerpo Me Ama, Tu Hombre, Tu Primera Vez, Tú y Tu Flow, Tus
 18 Ojos, Un Sueño, Una Guayaa, Va Pasando el Tiempo, Vamos A Perrear, Ve y Dile
 19 (No Llores), Vive Contigo, Voy a Beber, Whine Up, Y Las Gatas, Ya No Me Llamas,
 20 Yo Tengo Algo, Yo No Sé Que Esperas Tú, and Yo No Soy Tu Marido (collectively,
 21 the “Nicky Jam Works”) were separately released at different times subsequent to the
 22 1989 release of Fish Market.
 23        470. Each of the Nicky Jam Works incorporates an unauthorized sample of
 24 the Fish Market recording and/or a verbatim copy of the Fish Market composition as
 25 the primary rhythm / drum section of each work.
 26        471. A comparison of Fish Market and each of the Nicky Jam Works
 27 establishes that each of the Nicky Jam Works incorporates both qualitatively and
 28
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  1 quantitatively significant sections of the Fish Market recording and/or composition.
  2 The various defendants responsible for each of the identified works and the manner
  3 of copying are described in the accompanying Exhibit A.
  4                     Ozuna Allegations.
  5        472. As shown in the accompanying Exhibit A, Ozuna and a plurality of the
  6 defendants, the corresponding defendants for each song named therein, have released
  7 the songs entitled A Escondidas, Apretaito, Aunque Me Porté Mal, BAILA BAILA
  8 BAILA, Baila Baila Baila (Remix), Bebe, Besos Mojados, Cama Vacía, Cambio,
  9 Caramelo, Caramelo Remix, Coméntale, Contigo Lo Tengo Todo, CORAZON DE
 10 SEDA, Cumpleaños, Danzau, DEPRIMIDA, Despeinada, Devuélveme, Dialogue Con

 11 Mi Corazón, Dicen, Difícil Olvidar, Dile Que Tu Me Quieres, Egoísta, El desorden,
 12 El Proceso, El Reggaetón, En Otro Mundo, Enemigos Ocultos, Eres Top, Escape,
 13 Este Loko, Esto No Acaba, Falsa Mentiras, Fanática, Fantasía, Fuego, Gistro
 14 Amarillo, Háblale (Remix), Hablale, Haciéndolo, Hasta Que Salga el Sol, Hola,
 15 Humo y Alcohol, Ibiza, Igual Como Tú, Independiente, Infidelidad, Juegos De Amor,
 16 La Modelo, Linda Y Asicala, Llegó la Navidad, Luce Bien, Luz Apaga, Mai Que
 17 Locura, Mala, Me Dijeron, Mi Niña, Mírame, Muito Calor, No la Mires, No Me
 18 Heches La Culpa, No Quiere Enamorarse, No Quiere Enamorarse (Remix), No Se
 19 Da Cuenta, No Se Que Tienes, Noches de Aventura, One Dance Remix, Pégate, Que
 20 Bien Te Ves, Qué Tú Esperas, Quiero Mas, Reggaeton en Paris, Se Porta Mal, Se
 21 Preparo, Se Suelta Sola, Se Toca Todita, Si Te Dejas Llevar, Si Tu Marido No Te
 22 Quiere, Si Tu Marido No Te Quiere (Remix), Síguelo Bailando, Sígueme Los Pasos,
 23 SIMPLE, Sin Ti Estoy Mejor, Sincero, Supuestamente, Te Paso A Buscar, Te Soñé De
 24 Nuevo, TIEMPO, Tu Foto, Tu Olor, Un Bellaqueo, Una Locura, Única, Única
 25 (Remix), Vacía Sin Mí, Vaina Loca, Ya No Estoy Pa Ti, and Yo Tengo Una Gata.
 26        473. Each of A Escondidas, Apretaito, Aunque Me Porté Mal, BAILA BAILA
 27 BAILA, Baila Baila Baila (Remix), Bebe, Besos Mojados, Cama Vacía, Cambio,
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  1 Caramelo, Caramelo Remix, Coméntale, Contigo Lo Tengo Todo, CORAZON DE
  2 SEDA, Cumpleaños, Danzau, DEPRIMIDA, Despeinada, Devuélveme, Dialogue Con
  3 Mi Corazón, Dicen, Difícil Olvidar, Dile Que Tu Me Quieres, Egoísta, El desorden,
  4 El Proceso, El Reggaetón, En Otro Mundo, Enemigos Ocultos, Eres Top, Escape,
  5 Este Loko, Esto No Acaba, Falsa Mentiras, Fanática, Fantasía, Fuego, Gistro
  6 Amarillo, Háblale (Remix), Hablale, Haciéndolo, Hasta Que Salga el Sol, Hola,
  7 Humo y Alcohol, Ibiza, Igual Como Tú, Independiente, Infidelidad, Juegos De Amor,
  8 La Modelo, Linda Y Asicala, Llegó la Navidad, Luce Bien, Luz Apaga, Mai Que
  9 Locura, Mala, Me Dijeron, Mi Niña, Mírame, Muito Calor, No la Mires, No Me
 10 Heches La Culpa, No Quiere Enamorarse, No Quiere Enamorarse (Remix), No Se

 11 Da Cuenta, No Se Que Tienes, Noches de Aventura, One Dance Remix, Pégate, Que
 12 Bien Te Ves, Qué Tú Esperas, Quiero Mas, Reggaeton en Paris, Se Porta Mal, Se
 13 Preparo, Se Suelta Sola, Se Toca Todita, Si Te Dejas Llevar, Si Tu Marido No Te
 14 Quiere, Si Tu Marido No Te Quiere (Remix), Síguelo Bailando, Sígueme Los Pasos,
 15 SIMPLE, Sin Ti Estoy Mejor, Sincero, Supuestamente, Te Paso A Buscar, Te Soñé De
 16 Nuevo, TIEMPO, Tu Foto, Tu Olor, Un Bellaqueo, Una Locura, Única, Única
 17 (Remix), Vacía Sin Mí, Vaina Loca, Ya No Estoy Pa Ti, and Yo Tengo Una Gata
 18 (collectively, the “Ozuna Works”) were separately released at different times
 19 subsequent to the 1989 release of Fish Market.
 20        474. Each of the Ozuna Works incorporates an unauthorized sample of the
 21 Fish Market recording and/or a verbatim copy of the Fish Market composition as the
 22 primary rhythm / drum section of each work.
 23        475. A comparison of Fish Market and each of the Ozuna Works establishes
 24 that each of the Ozuna Works incorporates both qualitatively and quantitatively
 25 significant sections of the Fish Market recording and/or composition. The various
 26 defendants responsible for each of the identified works and the manner of copying are
 27 described in the accompanying Exhibit A.
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  1                     Paulo Londra Allegations.
  2        476. As shown in the accompanying Exhibit A, Paulo Londra and a plurality
  3 of the defendants, the corresponding defendants for each song named therein, have
  4 released the songs entitled Adan y Eva, BZRP Music Sessions #23, Por Eso Vine, Tal
  5 Vez, and Y Yo No Se.
  6        477. Each of Adan y Eva, BZRP Music Sessions #23, Por Eso Vine, Tal Vez,
  7 and Y Yo No Se (collectively, the “Paulo Londra Works”) were separately released at
  8 different times subsequent to the 1989 release of Fish Market.
  9        478. Each of the Paulo Londra Works incorporates an unauthorized sample of
 10 the Fish Market recording and/or a verbatim copy of the Fish Market composition as

 11 the primary rhythm / drum section of each work.
 12        479. A comparison of Fish Market and each of the Paulo Londra Works
 13 establishes that each of the Paulo Londra Works incorporates both qualitatively and
 14 quantitatively significant sections of the Fish Market recording and/or composition.
 15 The various defendants responsible for each of the identified works and the manner
 16 of copying are described in the accompanying Exhibit A.
 17                     Pitbull Allegations.
 18        480. As shown in the accompanying Exhibit A, Pitbull and a plurality of the
 19 defendants, the corresponding defendants for each song named therein, have released
 20 the songs entitled 3 to Tango, Bon, Bon, Borracha (Pero Buena Muchacha), Chi Chi
 21 Bon Bon, Como Yo Le Doy, El Party, Happy Mama Day, Hey Ma, Mala, Mami
 22 Mami, Me Quedaré Contigo, Mil Amores (Remix), Mueve La Cintura, Muévelo Loca
 23 Boom Boom, No Lo Trates, Piensas (Dile La Verdad), Por Favor, Se La Vi, Tell Me
 24 Again, Ten Cuidado, and We Are One (Ole Ola).
 25        481. Each of 3 to Tango, Bon, Bon, Borracha (Pero Buena Muchacha), Chi
 26 Chi Bon Bon, Como Yo Le Doy, El Party, Happy Mama Day, Hey Ma, Mala, Mami
 27 Mami, Me Quedaré Contigo, Mil Amores (Remix), Mueve La Cintura, Muévelo Loca
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  1 Boom Boom, No Lo Trates, Piensas (Dile La Verdad), Por Favor, Se La Vi, Tell Me
  2 Again, Ten Cuidado, and We Are One (Ole Ola) (collectively, the “Pitbull Works”)
  3 were separately released at different times subsequent to the 1989 release of Fish
  4 Market.
  5        482. Each of the Pitbull Works incorporates an unauthorized sample of the
  6 Fish Market recording and/or a verbatim copy of the Fish Market composition as the
  7 primary rhythm / drum section of each work.
  8        483. A comparison of Fish Market and each of the Pitbull Works establishes
  9 that each of the Pitbull Works incorporates both qualitatively and quantitatively
 10 significant sections of the Fish Market recording and/or composition. The various

 11 defendants responsible for each of the identified works and the manner of copying are
 12 described in the accompanying Exhibit A.
 13                     Rauw Alejandro Allegations.
 14        484. As shown in the accompanying Exhibit A, Rauw Alejandro and a
 15 plurality of the defendants, the corresponding defendants for each song named
 16 therein, have released the songs entitled 2/Catorce, Aquel Nap ZzZz, Cúrame, De
 17 Cora, Detective, Dile a Él, El Efecto, El Efecto RMX, ELEGÍ, Enchule, Fantasías,
 18 Fantasías Remix, La Old Skul, LOKERA, Mis Días Sin Ti, Mood, NO DRAMA, No Te
 19 Creo, Nubes, Olvidemos, Pensándote, Perreo Pesau, Ponte Pa' Mí, Que Le De
 20 Remix, Que Le Dé, Química, Reloj, Sexo Virtual, Soy Una Gárgola, Strawberry Kiwi,
 21 Superalo, Tattoo, Un Sueño, Una Noche, ¿Y Eso?, and Yo Sabía.
 22        485. Each of 2/Catorce, Aquel Nap ZzZz, Cúrame, De Cora, Detective, Dile a
 23 Él, El Efecto, El Efecto RMX, ELEGÍ, Enchule, Fantasías, Fantasías Remix, La Old
 24 Skul, LOKERA, Mis Días Sin Ti, Mood, NO DRAMA, No Te Creo, Nubes, Olvidemos,
 25 Pensándote, Perreo Pesau, Ponte Pa' Mí, Que Le De Remix, Que Le Dé, Química,
 26 Reloj, Sexo Virtual, Soy Una Gárgola, Strawberry Kiwi, Superalo, Tattoo, Un Sueño,
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  1 Una Noche, ¿Y Eso?, and Yo Sabía (collectively, the “Rauw Alejandro Works”) were
  2 separately released at different times subsequent to the 1989 release of Fish Market.
  3        486. Each of the Rauw Alejandro Works incorporates an unauthorized sample
  4 of the Fish Market recording and/or a verbatim copy of the Fish Market composition
  5 as the primary rhythm / drum section of each work.
  6        487. A comparison of Fish Market and each of the Rauw Alejandro Works
  7 establishes that each of the Rauw Alejandro Works incorporates both qualitatively
  8 and quantitatively significant sections of the Fish Market recording and/or
  9 composition. The various defendants responsible for each of the identified works and
 10 the manner of copying are described in the accompanying Exhibit A.

 11                     Reik Allegations.
 12        488. As shown in the accompanying Exhibit A, Reik and a plurality of the
 13 defendants, the corresponding defendants for each song named therein, have released
 14 the songs entitled Aleluya, Amigos Con Derechos, Duele, Indeciso, Loquita, Los
 15 Tragos, Me Niego, Perfecta, Qué Gano Olvidándote (Versión Urbana), Ráptame, Si
 16 Me Dices Que Sí, and Ya Veremos.
 17        489. Each of Aleluya, Amigos Con Derechos, Duele, Indeciso, Loquita, Los
 18 Tragos, Me Niego, Perfecta, Qué Gano Olvidándote (Versión Urbana), Ráptame, Si
 19 Me Dices Que Sí, and Ya Veremos (collectively, the “Reik Works”) were separately
 20 released at different times subsequent to the 1989 release of Fish Market.
 21        490. Each of the Reik Works incorporates an unauthorized sample of the Fish
 22 Market recording and/or a verbatim copy of the Fish Market composition as the
 23 primary rhythm / drum section of each work.
 24        491. A comparison of Fish Market and each of the Reik Works establishes
 25 that each of the Reik Works incorporates both qualitatively and quantitatively
 26 significant sections of the Fish Market recording and/or composition. The various
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  1 defendants responsible for each of the identified works and the manner of copying are
  2 described in the accompanying Exhibit A.
  3                     Ricky Martin Allegations.
  4        492. As shown in the accompanying Exhibit A, Ricky Martin and a plurality
  5 of the defendants, the corresponding defendants for each song named therein, have
  6 released the songs entitled Adiós, Drop It On Me, Fiebre, Perdóname, Tiburones
  7 [Remix], and Vente Pa' Ca.
  8        493. Each of Adiós, Drop It On Me, Fiebre, Perdóname, Tiburones [Remix],
  9 and Vente Pa' Ca (collectively, the “Ricky Martin Works”) were separately released
 10 at different times subsequent to the 1989 release of Fish Market.

 11        494. Each of the Ricky Martin Works incorporates an unauthorized sample of
 12 the Fish Market recording and/or a verbatim copy of the Fish Market composition as
 13 the primary rhythm / drum section of each work.
 14        495. A comparison of Fish Market and each of the Ricky Martin Works
 15 establishes that each of the Ricky Martin Works incorporates both qualitatively and
 16 quantitatively significant sections of the Fish Market recording and/or composition.
 17 The various defendants responsible for each of the identified works and the manner
 18 of copying are described in the accompanying Exhibit A.
 19                     Romeo Santos Allegations.
 20        496. As shown in the accompanying Exhibit A, Romeo Santos and a plurality
 21 of the defendants have released the song entitled Bella y Sensual.
 22        497. Bella y Sensual was released subsequent to the 1989 release of Fish
 23 Market.
 24        498. Bella y Sensual incorporates an unauthorized sample of the Fish Market
 25 recording and/or a verbatim copy of the Fish Market composition as the primary
 26 rhythm / drum section of each work.
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  1        499. A comparison of Fish Market and Bella y Sensual establishes that Bella
  2 y Sensual incorporates both qualitatively and quantitatively significant sections of the
  3 Fish Market recording and/or composition. The various defendants responsible for
  4 each of the identified works and the manner of copying are described in the
  5 accompanying Exhibit A.
  6                     Rosalia Allegations.
  7        500. As shown in the accompanying Exhibit A, Rosalia and a plurality of the
  8 defendants have released the songs entitled BIZCOCHITO, CHICKEN TERIYAKI,
  9 Con Altura, DIABLO, LA COMBI VERSACE, SAOKO, TKN, and Yo x Ti, Tu x Mi.
 10        501. Each of BIZCOCHITO, CHICKEN TERIYAKI, Con Altura, DIABLO,
 11 LA COMBI VERSACE, SAOKO, TKN, and Yo x Ti, Tu x Mi (collectively, the
 12 “Rosalia Works”) were separately released at different times subsequent to the 1989
 13 release of Fish Market.
 14        502. Each of the Rosalia Works incorporates an unauthorized sample of the
 15 Fish Market recording and/or a verbatim copy of the Fish Market composition as the
 16 primary rhythm / drum section of each work.
 17        503. A comparison of Fish Market and each of the Rosalia Works establishes
 18 that each of the Rosalia Works incorporates both qualitatively and quantitatively
 19 significant sections of the Fish Market recording and/or composition. The various
 20 defendants responsible for each of the identified works and the manner of copying are
 21 described in the accompanying Exhibit A.
 22                     Sech Allegations.
 23        504. As shown in the accompanying Exhibit A, Sech and a plurality of the
 24 defendants, the corresponding defendants for each song named therein, have released
 25 the songs entitled 911, Admítelo, Batta, Bentley, Boomerang, Borracho, Brindo,
 26 Casino, Con Bochinche, Confía, Cositas Malas, Cumpleaños, Dale, Dios Te Guarde
 27 ft. BCA, Duvibes, El Error, En Lo Oscuro, Fabuloso, Falsas Promesas, Feliz de
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  1 Mentira, Goteras, La Discusión, La Luz, La Niña, La Otra, Lo Malo, Mas Pegao, Me
  2 Olvidé, Mi Ex, Mintiendo y Enamorando, Miss Lonely, Noche De Teteo, Oficial,
  3 Ojalá, Otro Trago, Otro Trago (Remix), Pa' Que Sude, Panama City, Pata' Abajo,
  4 Playa, Portarse Mal, PSL, ¡Que Más Pues!, Que Mas Pues Remix, ¿Qué Somos?,
  5 Relación, Sal y Perrea, Sal y Perrea Remix, Se Va Viral, Si Te Vas, Sin Querer,
  6 Solita, Te Acuerdas, Tiene Novio, Toco Mentir, Tu y Yo, Wao, X Ti, and Yo Sin Ti.
  7        505. Each of 911, Admítelo, Batta, Bentley, Boomerang, Borracho, Brindo,
  8 Casino, Con Bochinche, Confía, Cositas Malas, Cumpleaños, Dale, Dios Te Guarde
  9 ft. BCA, Duvibes, El Error, En Lo Oscuro, Fabuloso, Falsas Promesas, Feliz de
 10 Mentira, Goteras, La Discusión, La Luz, La Niña, La Otra, Lo Malo, Mas Pegao, Me

 11 Olvidé, Mi Ex, Mintiendo y Enamorando, Miss Lonely, Noche De Teteo, Oficial,
 12 Ojalá, Otro Trago, Otro Trago (Remix), Pa' Que Sude, Panama City, Pata' Abajo,
 13 Playa, Portarse Mal, PSL, ¡Que Más Pues!, Que Mas Pues Remix, ¿Qué Somos?,
 14 Relación, Sal y Perrea, Sal y Perrea Remix, Se Va Viral, Si Te Vas, Sin Querer,
 15 Solita, Te Acuerdas, Tiene Novio, Toco Mentir, Tu y Yo, Wao, X Ti, and Yo Sin Ti
 16 (collectively, the “Sech Works”) were separately released at different times
 17 subsequent to the 1989 release of Fish Market.
 18        506. Each of the Sech Works incorporates an unauthorized sample of the Fish
 19 Market recording and/or a verbatim copy of the Fish Market composition as the
 20 primary rhythm / drum section of each work.
 21        507. A comparison of Fish Market and each of the Sech Works establishes
 22 that each of the Sech Works incorporates both qualitatively and quantitatively
 23 significant sections of the Fish Market recording and/or composition. The various
 24 defendants responsible for each of the identified works and the manner of copying are
 25 described in the accompanying Exhibit A.
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  1                     Selena Gomez Allegations.
  2       508.   As shown in the accompanying Exhibit A, Selena Gomez and a plurality
  3 of the defendants, the corresponding defendants for each song named therein, have
  4 released the songs entitled Adios, Baila Conmigo, Buscando Amor, Dámelo To’, De
  5 Una Vez, and Vicio.
  6        509. Each of Adios, Baila Conmigo, Buscando Amor, Dámelo To’, De Una
  7 Vez, and Vicio (collectively, the “Selena Gomez Works”) were separately released at
  8 different times subsequent to the 1989 release of Fish Market.
  9        510. Each of the Selena Gomez Works incorporates an unauthorized sample
 10 of the Fish Market recording and/or a verbatim copy of the Fish Market composition

 11 as the primary rhythm / drum section of each work.
 12        511. A comparison of Fish Market and each of the Selena Gomez Works
 13 establishes that each of the Selena Gomez Works incorporates both qualitatively and
 14 quantitatively significant sections of the Fish Market recording and/or composition.
 15 The various defendants responsible for each of the identified works and the manner
 16 of copying are described in the accompanying Exhibit A.
 17                     Shakira Allegations.
 18        512. As shown in the accompanying Exhibit A, Shakira and a plurality of the
 19 defendants, the corresponding defendants for each song named therein, have released
 20 the songs entitled Chantaje, Clandestino, Comme moi, Hips Don't Lie, La Tortura,
 21 Me Enamore, Me Gusta, Perro Fiel, Te Felicito, and When a Woman.
 22        513. Each of Chantaje, Clandestino, Comme moi, Hips Don't Lie, La Tortura,
 23 Me Enamore, Me Gusta, Perro Fiel, Te Felicito, and When a Woman (collectively,
 24 the “Shakira Works”) were separately released at different times subsequent to the
 25 1989 release of Fish Market.
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  1        514. Each of the Shakira Works incorporates an unauthorized sample of the
  2 Fish Market recording and/or a verbatim copy of the Fish Market composition as the
  3 primary rhythm / drum section of each work.
  4        515. A comparison of Fish Market and each of the Shakira Works establishes
  5 that each of the Shakira Works incorporates both qualitatively and quantitatively
  6 significant sections of the Fish Market recording and/or composition. The various
  7 defendants responsible for each of the identified works and the manner of copying are
  8 described in the accompanying Exhibit A.
  9                     Silvestre Dangond Allegations.
 10        516. As shown in the accompanying Exhibit A, Silvestre Dangond and a
 11 plurality of the defendants, the corresponding defendants for each song named
 12 therein, have released the songs entitled Casate Conmigo, Justicia, Vallenato,
 13 Apretao, Vivir Bailando, and Ya No Me Duele Mas.
 14        517. Each of Casate Conmigo, Justicia, Vallenato, Apretao, Vivir Bailando,
 15 and Ya No Me Duele Mas. (collectively, the “Silvestre Dangond Works”) were
 16 separately released at different times subsequent to the 1989 release of Fish Market.
 17        518. Each of the Silvestre Dangond Works incorporates an unauthorized
 18 sample of the Fish Market recording and/or a verbatim copy of the Fish Market
 19 composition as the primary rhythm / drum section of each work.
 20        519. A comparison of Fish Market and each of the Silvestre Dangond Works
 21 establishes that each of the Silvestre Dangond Works incorporates both qualitatively
 22 and quantitatively significant sections of the Fish Market recording and/or
 23 composition. The various defendants responsible for each of the identified works and
 24 the manner of copying are described in the accompanying Exhibit A.
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  1                     Sky Allegations.
  2        520. As shown in the accompanying Exhibit A, Sky and a plurality of the
  3 defendants, the corresponding defendants for each song named therein, have released
  4 the songs entitled A Vapor, Aqui Estare, Juraste, and Le Creo.
  5        521. Each of A Vapor, Aqui Estare, Juraste, and Le Creo. (collectively, the
  6 “Sky Works”) were separately released at different times subsequent to the 1989
  7 release of Fish Market.
  8        522. Each of the Sky Works incorporates an unauthorized sample of the Fish
  9 Market recording and/or a verbatim copy of the Fish Market composition as the
 10 primary rhythm / drum section of each work.

 11        523. A comparison of Fish Market and each of the Sky Works establishes
 12 that each of the Sky Works incorporates both qualitatively and quantitatively
 13 significant sections of the Fish Market recording and/or composition. The various
 14 defendants responsible for each of the identified works and the manner of copying are
 15 described in the accompanying Exhibit A.
 16                     Sofia Reyes Allegations.
 17        524. As shown in the accompanying Exhibit A, Sofia Reyes and a plurality of
 18 the defendants, the corresponding defendants for each song named therein, have
 19 released the songs entitled 1, 2, 3, A Tu Manera (Corbata), Casualidad, Cuando
 20 Estás Tú, Échalo Pa' Ca, Idiota, Limones, Llegaste Tu, Mal de Amores, Marte,
 21 MUJER, Pregunta Loca, and R.I.P.
 22        525. Each of 1, 2, 3, A Tu Manera (Corbata), Casualidad, Cuando Estás Tú,
 23 Échalo Pa' Ca, Idiota, Limones, Llegaste Tu, Mal de Amores, Marte, MUJER,
 24 Pregunta Loca, and R.I.P. (collectively, the “Sofia Reyes Works”) were separately
 25 released at different times subsequent to the 1989 release of Fish Market.
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  1        526. Each of the Sofia Reyes Works incorporates an unauthorized sample of
  2 the Fish Market recording and/or a verbatim copy of the Fish Market composition as
  3 the primary rhythm / drum section of each work.
  4        527. A comparison of Fish Market and each of the Sofia Reyes Works
  5 establishes that each of the Sofia Reyes Works incorporates both qualitatively and
  6 quantitatively significant sections of the Fish Market recording and/or composition.
  7 The various defendants responsible for each of the identified works and the manner
  8 of copying are described in the accompanying Exhibit A.
  9                     Thalía Allegations.
 10        528. As shown in the accompanying Exhibit A, Thalía and a plurality of the
 11 defendants, the corresponding defendants for each song named therein, have released
 12 the songs entitled Ay Amor, Corazón Valiente, De Ti, Desde Esa Noche, La Luz, La
 13 Movidita, Lento, Lindo Pero Bruto, No Me Acuerdo, Sube, Sube, Te Encontraré,
 14 TICK TOCK, Todavía Te Quiero, Todo, Tranquila, Vamos Órale, and Ya Tú Me
 15 Conoces.
 16        529. Each of Ay Amor, Corazón Valiente, De Ti, Desde Esa Noche, La Luz,
 17 La Movidita, Lento, Lindo Pero Bruto, No Me Acuerdo, Sube, Sube, Te Encontraré,
 18 TICK TOCK, Todavía Te Quiero, Todo, Tranquila, Vamos Órale, and Ya Tú Me
 19 Conoces (collectively, the “Thalía Works”) were separately released at different
 20 times subsequent to the 1989 release of Fish Market.
 21        530. Each of the Thalía Works incorporates an unauthorized sample of the
 22 Fish Market recording and/or a verbatim copy of the Fish Market composition as the
 23 primary rhythm / drum section of each work.
 24        531. A comparison of Fish Market and each of the Thalía Works establishes
 25 that each of the Thalía Works incorporates both qualitatively and quantitatively
 26 significant sections of the Fish Market recording and/or composition. The various
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  1 defendants responsible for each of the identified works and the manner of copying are
  2 described in the accompanying Exhibit A.
  3                     Wisin Allegations.
  4        532. As shown in the accompanying Exhibit A, Wisin and a plurality of the
  5 defendants, the corresponding defendants for each song named therein, have released
  6 the songs entitled 3G, Adicta, Adicto, Adictos a tus besos, Adrenalina, Ahí es que es,
  7 Amenázame, Amor, amor, Amor de locos, Andan Por Ahi, Buenos Días, Callaíto,
  8 Candente, Caramelo, Cerramos los Ojos, Claro, Como Tú Lo Haces, Contra la
  9 pared, Corazón Acelerao, Dale Mas, Dime qué sucedió, El Jinete, Emojis de
 10 Corazones, En Busca de un Caldo, Entramos en calor, Escápate Conmigo, Esta

 11 noche lo vamos a hacer, Esta vez, Extraño, Faldita esa, Fue W, Hacerte el Amor,
 12 Heavy, Heavy, La Camella, La trilogía (Introducción), Labios Prohibidos, Los
 13 Vaqueros, Mari Mari, Me Siento Bien, Mi Niña, Mucho Bajo, Muévelo, Mujeres
 14 Hagan Fila, No Sé, Nota de Amor, Pégate pa' que veas, Piquete, Poder, Por Ley, Por
 15 Si Vuelves, Presión, Prohibida, Quisiera Alejarme, Quisiera Alejarme (Remix),
 16 Riendo Para No Llorar, Sacuda, Saoco, Si lo hacemos Bien, Siente el Calor, Todo
 17 Comienza en la Disco, Traviesa, Tu Libertad, Tu Cuerpo Me Llama, Vacaciones, Ven
 18 báilame, Volar, Wisin Mátalos, Yo me dejo, and Yo Quiero Contigo.
 19        533. Each of 3G, Adicta, Adicto, Adictos a tus besos, Adrenalina, Ahí es que
 20 es, Amenázame, Amor, amor, Amor de locos, Andan Por Ahi, Buenos Días, Callaíto,
 21 Candente, Caramelo, Cerramos los Ojos, Claro, Como Tú Lo Haces, Contra la
 22 pared, Corazón Acelerao, Dale Mas, Dime qué sucedió, El Jinete, Emojis de
 23 Corazones, En Busca de un Caldo, Entramos en calor, Escápate Conmigo, Esta
 24 noche lo vamos a hacer, Esta vez, Extraño, Faldita esa, Fue W, Hacerte el Amor,
 25 Heavy, Heavy, La Camella, La trilogía (Introducción), Labios Prohibidos, Los
 26 Vaqueros, Mari Mari, Me Siento Bien, Mi Niña, Mucho Bajo, Muévelo, Mujeres
 27 Hagan Fila, No Sé, Nota de Amor, Pégate pa' que veas, Piquete, Poder, Por Ley, Por
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  1 Si Vuelves, Presión, Prohibida, Quisiera Alejarme, Quisiera Alejarme (Remix),
  2 Riendo Para No Llorar, Sacuda, Saoco, Si lo hacemos Bien, Siente el Calor, Todo
  3 Comienza en la Disco, Traviesa, Tu Libertad, Tu Cuerpo Me Llama, Vacaciones, Ven
  4 báilame, Volar, Wisin Mátalos, Yo me dejo, and Yo Quiero Contigo (collectively, the
  5 “Wisin Works”) were separately released at different times subsequent to the 1989
  6 release of Fish Market.
  7        534. Each of the Wisin Works incorporates an unauthorized sample of the
  8 Fish Market recording and/or a verbatim copy of the Fish Market composition as the
  9 primary rhythm / drum section of each work.
 10        535. A comparison of Fish Market and each of the Wisin Works establishes
 11 that each of the Wisin Works incorporates both qualitatively and quantitatively
 12 significant sections of the Fish Market recording and/or composition. The various
 13 defendants responsible for each of the identified works and the manner of copying are
 14 described in the accompanying Exhibit A.
 15                     Wisin & Yandel Allegations.
 16        536. As shown in the accompanying Exhibit A, Wisin & Yandel and a
 17 plurality of the defendants, the corresponding defendants for each song named
 18 therein, have released the songs entitled Ahora Es, Algo Pasó, Aullando, Besos
 19 Mojados, Boricua NY1, Burn It Up, Callao, Cállate, Calle Callejero, Chica
 20 Bombastic, Como Tú No Hay Nadie, Con Mi Reggae Muero, Dame Algo, De Otra
 21 Manera, Delirando, Dembow, Desaparecio, Descará, Deseo, Dime Quienes Son, El
 22 Gitro Amarillo, Electrica, En Busca de Ti, En La Disco Bailoteo, ENCENDIO,
 23 Espejos Negros, Esta Noche Hay Pelea, Estoy Enamorado, Fuera de Base, Ganas de
 24 Ti, Gerla, Girla, Guaya, Guáyale El Mahón, Hipnotizame Remix, Hola, La Calle
 25 Caliente, La Fanática, La Gitana, La Luz, La Misión, La Misión 2, La Quebranta
 26 Hueso" (featuring El Tío), La Reunión De Los Vaqueros, La Revolución, La Rockera,
 27 La Sata, La Trova, La Vaquera, Las Cosas Cambiaron, Lento, Llamé Pa' Verte
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  1 (Bailando Sexy), Llora Mi Corazón, Llueve, Manigueta, Mayor Que Yo part 2,
  2 Mayor Que Yo, Me Dañas la Mente, Me Quieren Detener, Mirala Bien, Mueve tu
  3 cuerpo lento, Muévete, Mujeron, Musica Buena, Nadie Como Tu, No Fear 3, No Sé,
  4 NO SE OLVIDA, Noche De Sexo, Ojalá, Ola, Paleta, Pam Pam, Pasan Los Dias,
  5 Pegate, Pegao, Peligro, Perfecto, Perréame, Piden Perreo, Pidiendo Calor, Por Qué
  6 Me Peleas, Prende, Presión, Quiero Hacerte el Amor, Quiero Verte Bailar, Rakata,
  7 Recuerdo, Reggae Rockeao, Reggaetón en lo Oscuro, Salgo Filoteao, Sandungueo,
  8 Se Acabó, Se desvelan, Se Viste, Sedúceme, Sensación, Sensual Te Ves, Sigan
  9 Bailando, Sin El, Sólo Una Noche, Soy De La Calle, Suavecito Despacio, Tabla,
 10 Tarzan, Te Dije Que Iba a Pasar, Te Hice Mujer, Te Noto Tensa, Te Puso A

 11 Bellaquiar, Te Siento, TIENE QUE PASAR, Títere, Todas Quieren Ser La Mas
 12 Bellas, Toma, Toma Perreo, Tortura, Te Dije Que Iba a Pasar, Tu Cuerpo Me
 13 Llama, Tú Sabes, Tú Tienes, Tumbao, Un Beso, Uy Uy Uy, Vengo Acabando, Veo
 14 Veo, Vicio de Ti, Vivir En Esta Tierra, Ya Me Voy, Ya Veo, Yo Quiero, and Yo Te
 15 Quiero.
 16        537. Each of Ahora Es, Algo Pasó, Aullando, Besos Mojados, Boricua NY1,
 17 Burn It Up, Callao, Cállate, Calle Callejero, Chica Bombastic, Como Tú No Hay
 18 Nadie, Con Mi Reggae Muero, Dame Algo, De Otra Manera, Delirando, Dembow,
 19 Desaparecio, Descará, Deseo, Dime Quienes Son, El Gitro Amarillo, Electrica, En
 20 Busca de Ti, En La Disco Bailoteo, ENCENDIO, Espejos Negros, Esta Noche Hay
 21 Pelea, Estoy Enamorado, Fuera de Base, Ganas de Ti, Gerla, Girla, Guaya, Guáyale
 22 El Mahón, Hipnotizame Remix, Hola, La Calle Caliente, La Fanática, La Gitana, La
 23 Luz, La Misión, La Misión 2, La Quebranta Hueso" (featuring El Tío), La Reunión
 24 De Los Vaqueros, La Revolución, La Rockera, La Sata, La Trova, La Vaquera, Las
 25 Cosas Cambiaron, Lento, Llamé Pa' Verte (Bailando Sexy), Llora Mi Corazón,
 26 Llueve, Manigueta, Mayor Que Yo part 2, Mayor Que Yo, Me Dañas la Mente, Me
 27 Quieren Detener, Mirala Bien, Mueve tu cuerpo lento, Muévete, Mujeron, Musica
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  1 Buena, Nadie Como Tu, No Fear 3, No Sé, NO SE OLVIDA, Noche De Sexo, Ojalá,
  2 Ola, Paleta, Pam Pam, Pasan Los Dias, Pegate, Pegao, Peligro, Perfecto, Perréame,
  3 Piden Perreo, Pidiendo Calor, Por Qué Me Peleas, Prende, Presión, Quiero Hacerte
  4 el Amor, Quiero Verte Bailar, Rakata, Recuerdo, Reggae Rockeao, Reggaetón en lo
  5 Oscuro, Salgo Filoteao, Sandungueo, Se Acabó, Se desvelan, Se Viste, Sedúceme,
  6 Sensación, Sensual Te Ves, Sigan Bailando, Sin El, Sólo Una Noche, Soy De La
  7 Calle, Suavecito Despacio, Tabla, Tarzan, Te Dije Que Iba a Pasar, Te Hice Mujer,
  8 Te Noto Tensa, Te Puso A Bellaquiar, Te Siento, TIENE QUE PASAR, Títere, Todas
  9 Quieren Ser La Mas Bellas, Toma, Toma Perreo, Tortura, Te Dije Que Iba a Pasar,
 10 Tu Cuerpo Me Llama, Tú Sabes, Tú Tienes, Tumbao, Un Beso, Uy Uy Uy, Vengo

 11 Acabando, Veo Veo, Vicio de Ti, Vivir En Esta Tierra, Ya Me Voy, Ya Veo, Yo
 12 Quiero, and Yo Te Quiero (collectively, the “Wisin & Yandel Works”) were
 13 separately released at different times subsequent to the 1989 release of Fish Market.
 14        538. Each of the Wisin & Yandel Works incorporates an unauthorized sample
 15 of the Fish Market recording and/or a verbatim copy of the Fish Market composition
 16 as the primary rhythm / drum section of each work.
 17        539. A comparison of Fish Market and each of the Wisin & Yandel Works
 18 establishes that each of the Wisin & Yandel Works incorporates both qualitatively
 19 and quantitatively significant sections of the Fish Market recording and/or
 20 composition. The various defendants responsible for each of the identified works and
 21 the manner of copying are described in the accompanying Exhibit A.
 22                     Wolfine Allegations.
 23        540. As shown in the accompanying Exhibit A, Wolfine and a plurality of the
 24 defendants, the corresponding defendants for each song named therein, have released
 25 the songs entitled Amor De Mentiras, Bella, Cerquita, El flete, El plan, Julieta,
 26 Julieta Remix, and Te Fallé.
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  1 541. Each of Amor De Mentiras, Bella, Cerquita, El flete, El plan, Julieta, Julieta
  2 Remix, and Te Fallé (collectively, the “Wolfine Works”) were separately released at
  3 different times subsequent to the 1989 release of Fish Market.
  4        542. Each of the Wolfine Works incorporates an unauthorized sample of the
  5 Fish Market recording and/or a verbatim copy of the Fish Market composition as the
  6 primary rhythm / drum section of each work.
  7        543. A comparison of Fish Market and each of the Wolfine Works establishes
  8 that each of the Wolfine Works incorporates both qualitatively and quantitatively
  9 significant sections of the Fish Market recording and/or composition. The various
 10 defendants responsible for each of the identified works and the manner of copying are

 11 described in the accompanying Exhibit A.
 12                    Yandel Allegations.
 13        544. As shown in the accompanying Exhibit A, Yandel and a plurality of the
 14 defendants, the corresponding defendants for each song named therein, have released
 15 the songs entitled Actua, Bella, Bella, Buscame, Calculadora, Calentón, Celda, Chu
 16 Chin, Como Antes, Concierto Privado, Coraje, Cuando Se Da, Déjate Amar, Déjate
 17 amar [Remix], Déjame Explorar, Dembow (Remix), Dembow 2020, Despacio,
 18 Diablo En Mujer, Dime, Dónde Está Mi Gata, Duro Hasta Abajo, El Gusto, Ella
 19 Entendió, En Cero (Remix), En Cero, En La Disco Me Conoció, En La Oscuridad,
 20 Enamorado De Ti, Encantadora, Encantadora (Remix), Espionaje, Eva, Fallaron,
 21 Fantasía (Kiss Kiss), Hasta Abajo Le Doy, Ilegal, Imaginar, La Calle Me Llama, La
 22 Calle Me Lo Pidió, Listo Para El Cantazo, Llégale, Loba, Mami Yo Quisiera
 23 Quedarme, Mano al Aire, Me Enamoré, Mi Combo, Mi Religión, Mia Mia, Muy
 24 Personal, No Pare, No Perdamos Tiempo, No Quiero Amores, No Sales De Mi
 25 Mente, No Te Soltaré, No Te Vayas, Nunca Me Olvides (Remix), Nunca Me Olvides,
 26 Nunca Y Pico, Para Irnos (A Fuego), Perreito Lite, Perreo, Persígueme, Plakito,
 27 Plakito (Remix), Ponme al Dia, Por Mi Reggae Muero 2020, Que No Acabe, Que Vas
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  1 Hacer, Riversa, Say Ho, Se Me Olvidó, Se Viste y Se Maquilla, Si Se Da, Sola Solita,
  2 Sólo Mía, Subconsciente, Sumba Yandel, Te Amaré, Te Suelto el Pelo, Tequila, Todo
  3 Lo Que Quiero, Trepando Paredes, Tu Cura, Un Viaje, Una Señal, and Ya Yo Me
  4 Cansé.
  5        545. Each of Actua, Bella, Bella, Buscame, Calculadora, Calentón, Celda,
  6 Chu Chin, Como Antes, Concierto Privado, Coraje, Cuando Se Da, Déjate Amar,
  7 Déjate amar [Remix], Déjame Explorar, Dembow (Remix), Dembow 2020, Despacio,
  8 Diablo En Mujer, Dime, Dónde Está Mi Gata, Duro Hasta Abajo, El Gusto, Ella
  9 Entendió, En Cero (Remix), En Cero, En La Disco Me Conoció, En La Oscuridad,
 10 Enamorado De Ti, Encantadora, Encantadora (Remix), Espionaje, Eva, Fallaron,

 11 Fantasía (Kiss Kiss), Hasta Abajo Le Doy, Ilegal, Imaginar, La Calle Me Llama, La
 12 Calle Me Lo Pidió, Listo Para El Cantazo, Llégale, Loba, Mami Yo Quisiera
 13 Quedarme, Mano al Aire, Me Enamoré, Mi Combo, Mi Religión, Mia Mia, Muy
 14 Personal, No Pare, No Perdamos Tiempo, No Quiero Amores, No Sales De Mi
 15 Mente, No Te Soltaré, No Te Vayas, Nunca Me Olvides (Remix), Nunca Me Olvides,
 16 Nunca Y Pico, Para Irnos (A Fuego), Perreito Lite, Perreo, Persígueme, Plakito,
 17 Plakito (Remix), Ponme al Dia, Por Mi Reggae Muero 2020, Que No Acabe, Que Vas
 18 Hacer, Riversa, Say Ho, Se Me Olvidó, Se Viste y Se Maquilla, Si Se Da, Sola Solita,
 19 Sólo Mía, Subconsciente, Sumba Yandel, Te Amaré, Te Suelto el Pelo, Tequila, Todo
 20 Lo Que Quiero, Trepando Paredes, Tu Cura, Un Viaje, Una Señal, and Ya Yo Me
 21 Cansé (collectively, the “Yandel Works”) were separately released at different times
 22 subsequent to the 1989 release of Fish Market.
 23        546. Each of the Yandel Works incorporates an unauthorized sample of the
 24 Fish Market recording and/or a verbatim copy of the Fish Market composition as the
 25 primary rhythm / drum section of each work.
 26        547. A comparison of Fish Market and each of the Yandel Works establishes
 27 that each of the Yandel Works incorporates both qualitatively and quantitatively
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  1 significant sections of the Fish Market recording and/or composition. The various
  2 defendants responsible for each of the identified works and the manner of copying are
  3 described in the accompanying Exhibit A.
  4                     Zion Allegations.
  5        548. As shown in the accompanying Exhibit A, Zion and a plurality of the
  6 defendants, the corresponding defendants for each song named therein, have released
  7 the songs entitled Aguanta Mas, Alocate, Amor, Amor de Pobre, Cazando, Easy, Ella
  8 Me Dice, Fantasma, Hagamos El Amor (The Perfect Melody), La Formula Sigue (La
  9 Formula), Me Voy, Mirándonos, More, More (Remix), Sigue Ahí, Te Vas, The Way
 10 She Moves, Veo, Yo Voy A Llegar, and Zun Da Da.

 11        549. Each of Aguanta Mas, Alocate, Amor, Amor de Pobre, Cazando, Easy,
 12 Ella Me Dice, Fantasma, Hagamos El Amor (The Perfect Melody), La Formula Sigue
 13 (La Formula), Me Voy, Mirándonos, More, More (Remix), Sigue Ahí, Te Vas, The
 14 Way She Moves, Veo, Yo Voy A Llegar, and Zun Da Da (collectively, the “Zion
 15 Works”) were separately released at different times subsequent to the 1989 release of
 16 Fish Market.
 17        550. Each of the Zion Works incorporates an unauthorized sample of the Fish
 18 Market recording and/or a verbatim copy of the Fish Market composition as the
 19 primary rhythm / drum section of each work.
 20        551. A comparison of Fish Market and each of the Zion Works establishes
 21 that each of the Zion Works incorporates both qualitatively and quantitatively
 22 significant sections of the Fish Market recording and/or composition. The various
 23 defendants responsible for each of the identified works and the manner of copying are
 24 described in the accompanying Exhibit A.
 25                     Zion & Lennox Allegations.
 26         552. As shown in the accompanying Exhibit A, Zion & Lennox and a
 27 plurality of the defendants, the corresponding defendants for each song named
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  1 therein, have released the songs entitled A Forgotten Spot (Olvidado), Aguántate,
  2 Ahora Es Que Es, Ahora te sueltas, Amor Genuino, Aquí Estoy Yo, Bachatealo, Baila
  3 Conmigo, Baila Para Mí, Bailando Tu Y Yo, Bandida, Boom Boom, Chupop (Remix),
  4 Chupop “Se Va”, Cierra Los Ojos, Cinturita, Colora, Como Curar, Con Una
  5 Sonrisa, Dame Todo, Dame Tu Amor, Daña Party, De Inmediato, Demuéstrale a tu
  6 Hombre, Descontrólate, Destino, Dime Baby, dime cuanto tengo que esperar, Diosa,
  7 Doncella, Don't Stop, El Cantante, El Tiempo, Ella Me Mintió, Embriágame,
  8 Embriágame Remix, Enamórate, Enchuletiao, Entendemos, Eres Bonita, es mejor
  9 olvidarlo, Esa Nena, Estas tentandome, Estoy Esperando, Estrella, Fantasma Remix
 10 Fuiste Tu, Ganas de Ti, Guaya, Guaya Rompe Cintura, Guayo, Hace Tiempo, Hasta

 11 Abajo, Hay Algo En Ti, Hipnosis, Hola, Hoy lo Siento, Intro | El Sistema, La Botella,
 12 La Cita, La Española, La Niña, La Noche Es Larga, La Player (Bandolera), Loco,
 13 Más o Menos, Me Arrepiento, Me Dirijo A Ella, Me Pones en Tension, Mi Tesoro,
 14 Mírame, Momentos, Motivando la Yal (Intro), Mujer Satisfecha, Mujeriego, No
 15 Amarres Fuego, No Dejes Que Se Muera, No Mas, No Me Compares, No Me Llama,
 16 No Pares, No Pierdas Tiempo, No Sé Cómo Empezar, Nuestro Amor, Otra Vez,
 17 Pégate, Perdóname, Perla, Pierdo La Cabeza Remix, Pierdo La Cabeza, Prende en
 18 Fuego, Prepárte, Que Bien Se Siente, Qué Vas A Hacer?, Quieren Acción, Quiero
 19 Tenerte, Quiero Tocarte, Reggae Reggae, Se Puso Feo, Sentir, Sere Yo, Sistema, Solo
 20 Tú, Soltera, Te Hago el amor, Te Mueves, Tengo Que Decir, Tienes Que Hacerlo,
 21 Trayectoria, Tu Cuerpo Quiero, Tu Movimiento Me Excita, Tuyo y Mio, Una Cita,
 22 Una Nota, Vamos En Serio, Vivimos Facturando, Y Vas Caminando, Yo Soy Tu
 23 Hombre, Yo Tengo Una Gata, Yo Voy, and Zion y Lennox.
 24        553. Each of A Forgotten Spot (Olvidado), Aguántate, Ahora Es Que Es,
 25 Ahora te sueltas, Amor Genuino, Aquí Estoy Yo, Bachatealo, Baila Conmigo, Baila
 26 Para Mí, Bailando Tu Y Yo, Bandida, Boom Boom, Chupop (Remix), Chupop “Se
 27 Va”, Cierra Los Ojos, Cinturita, Colora, Como Curar, Con Una Sonrisa, Dame
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  1 Todo, Dame Tu Amor, Daña Party, De Inmediato, Demuéstrale a tu Hombre,
  2 Descontrólate, Destino, Dime Baby, dime cuanto tengo que esperar, Diosa,
  3 Doncella, Don't Stop, El Cantante, El Tiempo, Ella Me Mintió, Embriágame,
  4 Embriágame Remix, Enamórate, Enchuletiao, Entendemos, Eres Bonita, es mejor
  5 olvidarlo, Esa Nena, Estas tentandome, Estoy Esperando, Estrella, Fantasma Remix
  6 Fuiste Tu, Ganas de Ti, Guaya, Guaya Rompe Cintura, Guayo, Hace Tiempo, Hasta
  7 Abajo, Hay Algo En Ti, Hipnosis, Hola, Hoy lo Siento, Intro | El Sistema, La Botella,
  8 La Cita, La Española, La Niña, La Noche Es Larga, La Player (Bandolera), Loco,
  9 Más o Menos, Me Arrepiento, Me Dirijo A Ella, Me Pones en Tension, Mi Tesoro,
 10 Mírame, Momentos, Motivando la Yal (Intro), Mujer Satisfecha, Mujeriego, No

 11 Amarres Fuego, No Dejes Que Se Muera, No Mas, No Me Compares, No Me Llama,
 12 No Pares, No Pierdas Tiempo, No Sé Cómo Empezar, Nuestro Amor, Otra Vez,
 13 Pégate, Perdóname, Perla, Pierdo La Cabeza Remix, Pierdo La Cabeza, Prende en
 14 Fuego, Prepárte, Que Bien Se Siente, Qué Vas A Hacer?, Quieren Acción, Quiero
 15 Tenerte, Quiero Tocarte, Reggae Reggae, Se Puso Feo, Sentir, Sere Yo, Sistema, Solo
 16 Tú, Soltera, Te Hago el amor, Te Mueves, Tengo Que Decir, Tienes Que Hacerlo,
 17 Trayectoria, Tu Cuerpo Quiero, Tu Movimiento Me Excita, Tuyo y Mio, Una Cita,
 18 Una Nota, Vamos En Serio, Vivimos Facturando, Y Vas Caminando, Yo Soy Tu
 19 Hombre, Yo Tengo Una Gata, Yo Voy, and Zion y Lennox (collectively, the “Zion &
 20 Lennox Works”) were separately released at different times subsequent to the 1989
 21 release of Fish Market.
 22        554. Each of the Zion & Lennox Works incorporates an unauthorized sample
 23 of the Fish Market recording and/or a verbatim copy of the Fish Market composition
 24 as the primary rhythm / drum section of each work.
 25        555. A comparison of Fish Market and each of the Zion & Lennox Works
 26 establishes that each of the Zion & Lennox Works incorporates both qualitatively and
 27 quantitatively significant sections of the Fish Market recording and/or composition.
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  1 The various defendants responsible for each of the identified works and the manner
  2 of copying are described in the accompanying Exhibit A.
  3                                            ***
  4        556. For all the categories of songs and infringement, at no point did
  5 Defendants seek or obtain authorization from Plaintiffs to use Fish Market in
  6 connection with the Infringing Works and/or the Further Infringing Works.
  7        557. At no point did Defendants seek or obtain authorization from Plaintiffs
  8 to use Dem Bow in connection with the Dem Bow Infringing Works.
  9        558. Defendants continue to exploit and receive monies from the Infringing
 10 Works, the Dem Bow Infringing Works and/or the Pounder Infringing Works,

 11 respectively, in violation of Plaintiffs’ rights in their Song. Defendants’ wrongful
 12 copying and/or exploitation of Plaintiffs’ copyrighted material has also allowed for
 13 further infringement abroad. Defendants, and each of their, exploitation of Plaintiffs’
 14 work, as detailed herein, constitutes infringement.
 15        559. Upon information and belief, Plaintiffs allege that UMG, Sony, and/or
 16 Sony Latin, from its offices in New York city and/or Santa Monica, California
 17 released, distributed, promoted, broadcast, licensed, and/or exploited for profit the
 18 songs and music at issue in this case.
 19        560. Upon information and belief, Plaintiffs allege that one of more of the
 20 Defendants and their publishing companies received monies in connection with the
 21 songs and music at issue in this case from ASCAP and other companies based in
 22 California.
 23                                  First Claim for Relief
 24                  (For Copyright Infringement - Against all Defendants)
 25        561. Plaintiffs repeat, re-allege, and incorporate by reference all preceding
 26 paragraphs of this Complaint.
 27        562. Plaintiffs are the sole and exclusive owners of the Fish Market.
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  1        563. Fish Market is an original composition and recording.
  2        564. Plaintiffs are joint owners of the composition of Dem Bow with Rexton
  3 Ralston Gordon.
  4        565. Dem Bow is an original composition.
  5        566. Defendants had access to Fish Market because Fish Market was widely
  6 distributed throughout the world since 1989 on vinyl and CD. Defendants also had
  7 access to the Fish Market through distribution of Dem Bow on vinyl and CD which
  8 was a worldwide hit within the global reggae dancehall scene and remains a reggae
  9 dancehall classic. Fish Market and Dem Bow were widely distributed on vinyl and
 10 CD, which were the dominant media formats at the time of release, and together sold

 11 tens of thousands copies on singles and albums within the global reggae dancehall
 12 scene. Both Fish Market and Dem Bow are also available on streaming platforms,
 13 including Spotify, Apple Music, Amazon, Pandora, and YouTube prior to the
 14 creation of each of the Infringing Works.
 15        567. Defendants, and each of them, also had access via Ellos Benia and the
 16 Pounder riddim which were widely distributed in hard copy and via the
 17 aforementioned streaming platforms prior to the creation of each of the Infringing
 18 Works.
 19        568. The access to Fish Market by the Defendants associated with the Daddy
 20 Yankee Works is demonstrated in the Dem Bow infringing Daddy Yankee songs
 21 Golpe de Estado and Calenton, which include elements that are substantially similar
 22 if not virtually identical to significant portions of Dem Bow, including the lyrical
 23 portions of Dem Bow.
 24        569. The access to Fish Market by the Defendants associated with the Daddy
 25 Yankee Works is also demonstrated in the lyrics of the Daddy Yankee song Zum
 26 Zum, and additional infringing Daddy Yankee songs Camuflash, Desafio, La Rompe
 27 Carros, Nada Ha Cambiado, Po’ Encima, and Quiero Decirte, which are all based on
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  1 the Pounder Riddim, and which refer to the underlying rhythmic composition as
  2 Dembow.
  3         570. The access to Fish Market by the Defendants associated with the Daddy
  4 Yankee Works is also demonstrated in the lyrics of the Daddy Yankee songs Desafio,
  5 and El Empuje, which refer to the underlying rhythmic composition as “Dembow”.
  6         571. In addition, Defendants’ “sampling” (direct extraction and reproduction)
  7 of Fish Market and/or the Pounder riddim establishes access by way of striking
  8 similarity, if not virtual identity.
  9         572. Defendants, and each of them, infringed Plaintiffs’ rights in Fish Market
 10 by sampling the recording Fish Market and/or the Pounder riddim and reproducing

 11 such sample in one or all of the Infringing Works without Plaintiffs’ authorization or
 12 consent.
 13         573. Alternatively, Defendants, and each of them, infringed Plaintiffs’ rights
 14 in Fish Market by making a direct copy of the composition of Fish Market and using
 15 that copy in one or all of the Infringing Works without Plaintiffs’ authorization or
 16 consent.
 17         574. Upon information and belief, Plaintiffs allege that Defendants have
 18 infringed Plaintiffs’ rights in the Song by, without limitation, (a) authorizing the
 19 reproduction, distribution and sale of records and digital downloads of the Infringing
 20 Works through the execution of licenses, and/or actually reproducing, and/or selling
 21 and distributing physical or digital or electronic copies of the Infringing Works
 22 through various physical and online sources and applications, including without
 23 limitation, through Amazon.com, Walmart, Target and iTunes; (b) streaming and/or
 24 publicly performing or authorizing the streaming and/or public performance of the
 25 Infringing Works through, without limitation, Spotify, YouTube, and Apple Music;
 26 and (c) participating in and furthering the aforementioned infringing acts, and/or
 27 sharing in the proceeds therefrom, all through substantial use of Fish Market in and
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  1 as part of the Infringing Songs, packaged in a variety of configurations and digital
  2 downloads, mixes and versions, and performed in a variety of ways including, but not
  3 limited to, audio and video.
  4           575. Plaintiffs are informed and believes and thereon alleges that Sony, Ultra,
  5 Energy Music Corp, UMP, BMG, Warner, Peermusic III, Ltd, Pulse Records, Sony
  6 Music Publishing, LLC, Maybach Music Group, LLC, Cinq Music Group, LLC Cinq
  7 Music Publishing, LLC, Real Hasta la Muerte, LLC, Aura Music Collective, LLC,
  8 Hipgnosis Songs Group, LLC, Kemosabe Records, LLC, Concord Music Group,
  9 LLC, Vydia, Inc., Solar Music Rights Management Limited, Glad Empire Live, LLC,
 10 Hear This Music, LLC, Mad Decent Publishing, LLC, Mad Decent Protocol, LLC,

 11 Rich Music Inc., Dimelo Vi LLC, VP Records Corporation, Mr. 305, Inc., Duars
 12 Entertainment, Corp., Ingrooves Music Group, Empire Distribution, Inc., OVO
 13 Sound, LLC, Flow La Movie, Inc., The Royalty Network, Inc., WK Records, LLC,
 14 La Base Music Group, LLC and Kobalt have infringed Plaintiffs’ rights in Fish
 15 Market by, without limitation, exploiting it for profit by licensing, or otherwise
 16 authorizing third parties to use, reproduce and/or perform the Infringing Works for
 17 profit.
 18           576. Upon information and belief, Plaintiffs allege that Defendants have
 19 infringed Plaintiffs’ rights in Fish Market by copying the composition in the Song
 20 and/or sampling the recording of the Song in the production of the Infringing Works
 21 without Plaintiffs’ authorization.
 22           577. Upon information and belief, Plaintiffs allege that Defendants have
 23 infringed Plaintiffs’ rights in the Song by, without limitation, (a) authorizing the
 24 reproduction, distribution and sale of records and digital downloads of the Infringing
 25 Works, through the execution of licenses, and/or actually reproducing, and/or selling
 26 and distributing physical or digital or electronic copies of the Infringing Works
 27 through various physical and online sources and applications, including without
 28
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  1 limitation, through Amazon.com, Walmart, Target and iTunes; (b) streaming and/or
  2 publicly performing or authorizing the streaming and/or public performance of the
  3 Infringing Works through, without limitation, Spotify, YouTube, and Apple Music;
  4 and (c) participating in and furthering the aforementioned infringing acts, and/or
  5 sharing in the proceeds therefrom, all through substantial use of Fish Market in and
  6 as part of the Infringing Works, packaged in a variety of configurations and digital
  7 downloads, mixes and versions, and performed in a variety of ways including, but not
  8 limited to, audio and video.
  9        578. Defendants, and each of them, have engaged and continue to engage in
 10 the unauthorized reproduction, distribution, public performance, licensing, display,

 11 and creation of one or both Infringing Works. The foregoing acts infringe Plaintiffs’
 12 rights under the Copyright Act. Such exploitation includes, without limitation,
 13 Defendants’, and each of them, distributing and broadcasting the Infringing Works on
 14 streaming platforms, including Spotify, Apple Music, Amazon, Pandora, and
 15 YouTube.
 16        579. Due to Defendants’, and each of their, acts of infringement, Plaintiffs’
 17 have suffered actual, general and special damages in an amount to be established at
 18 trial, including but not limited a reasonable license fee for Defendants’ use of the
 19 Fish Market and/or Dem Bow.
 20        580. Due to Defendants’ acts of copyright infringement as alleged herein,
 21 Defendants, and each of them, have obtained direct and indirect profits they would
 22 not otherwise have realized but for their infringement of Plaintiffs’ rights in
 23 Plaintiffs’ copyrighted composition and sound recording. As such, Plaintiffs are
 24 entitled to disgorgement of Defendants’ profits directly and indirectly attributable to
 25 Defendants’ infringements of their rights in the composition and sound recording in
 26 an amount to be established at trial.
 27
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  1        581. Plaintiffs are informed and believe and now allege that Defendants, and
  2 each of their, conduct as alleged herein was willful, reckless, and/or with knowledge,
  3 subjecting Defendants, and each of them, to enhanced statutory damages, claims for
  4 costs and attorneys’ fees, and/or a preclusion from deducting certain costs when
  5 calculating disgorgeable profits.
  6                                 Second Claim for Relief
  7        (For Vicarious and/or Contributory Copyright Infringement - Against all
  8                                       Defendants)
  9        582. Plaintiffs repeat, re-allege, and incorporate by reference all preceding
 10 paragraphs of this Complaint.

 11        583. Plaintiffs are informed and believe and now allege that Defendants
 12 knowingly induced, participated in, aided and abetted in and profited from the illegal
 13 reproduction, distribution, and publication of one or both of the Infringing Works as
 14 alleged above. Specifically, the producers (including Sony, Ultra, UMG, and Juston)
 15 underwrote, facilitated, and participated in El Chombo, Energy Music Corp, Pitbull,
 16 Luis Fonsi, Daddy Yankee, Karol G, and the other infringing individual musician
 17 Defendants’ respective illegal copying during the creation of the Infringing Works
 18 and realized profits through their respective distribution, and publication of the
 19 respective Infringing Works.
 20        584. Plaintiffs are informed and believe and now allege that Defendants, and
 21 each of them, are vicariously liable for the infringement alleged herein because they
 22 had the right and ability to supervise the infringing conduct and because they had a
 23 direct financial interest in the infringing conduct. Specifically, each Defendant
 24 involved in the infringement had the ability to oversee the publication and
 25 distribution of one or both Infringing Works. And, Defendants, and each of them,
 26 realized profits through their respective obtainment, distribution, and publication of
 27 one or both Infringing Works.
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  1        585. By reason of Defendants’, and each of their, acts of contributory and
  2 vicarious infringement as alleged above, Plaintiffs have suffered and will continue to
  3 suffer substantial damages in an amount to be established at trial, as well as
  4 additional actual, general, and special damages in an amount to be established at trial.
  5        586. Due to Defendants’ acts of copyright infringement as alleged herein,
  6 Defendants, and each of them, have obtained direct and indirect profits they would
  7 not otherwise have realized but for their infringement of Plaintiffs’ rights. As such,
  8 Plaintiffs are entitled to disgorgement of Defendants’ profits directly and indirectly
  9 attributable to Defendants’ infringement of Plaintiffs’ rights in their copyrighted
 10 composition and sound recording in an amount to be established at trial.

 11        587. Plaintiffs are informed and believe and now allege that Defendants, and
 12 each of their, conduct as alleged herein was willful, reckless, and/or with knowledge,
 13 subjecting Defendants, and each of them, to enhanced statutory damages, claims for
 14 costs and attorneys’ fees, and/or a preclusion from deducting certain costs when
 15 calculating disgorgeable profits.
 16                                     Prayer for Relief
 17                                 (Against All Defendants)
 18        WHEREFORE, Plaintiffs pray for relief as follows:
 19        a. That Defendants, their affiliates, agents, and employees be enjoined from
 20           infringing Plaintiffs’ copyrights in and to Plaintiffs’ copyrighted
 21           composition and sound recording;
 22        b. Granting an injunction permanently restraining and enjoining Defendants,
 23           their officers, agents, employees, and attorneys, and all those persons or
 24           entities in active concert or participation with them, or any of them, from
 25           further infringing Plaintiff’s copyrights in and to Plaintiffs’ copyrighted
 26           composition and sound recording;
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  1        c. For a constructive trust to be entered over any recordings, videos
  2           reproductions, files, online programs, and other material in connection with
  3           all recordings of the Infringing Works, and all revenues resulting from the
  4           exploitation of same, for the benefit of Plaintiffs;
  5        d. That Plaintiffs be awarded all profits of Defendants, and each, plus all
  6           losses of Plaintiffs, plus any other monetary advantage gained by the
  7           Defendants through their infringement, the exact sum to be proven at the
  8           time of trial;
  9        e. That Defendants pay damages equal to Plaintiffs’ actual damages and lost
 10           profits;
 11        f. That Plaintiffs be awarded statutory damages and attorneys’ fees as
 12           available under 17 U.S.C. § 505 or other statutory or common law;
 13        g. That Plaintiffs be awarded pre-judgment interest as allowed by law;
 14        h. That Plaintiffs be awarded the costs of this action; and
 15        i. That Plaintiffs be awarded such further legal and equitable relief as the
 16           Court deems proper.
 17        Plaintiff demands a jury trial on all issues so triable pursuant to Fed. R. Civ. P.
 18 38 and the 7th Amendment to the United States Constitution.
 19
 20                                                   Respectfully submitted,
 21
 22 Dated: September 23, 2022            By:          /s/ Scott Alan Burroughs
 23                                                   Scott Alan Burroughs, Esq.
                                                      Frank F. Trechsel, Esq.
 24                                                   Benjamin F. Tookey, Esq.
 25                                                   DONIGER / BURROUGHS
                                                      Attorneys for Plaintiffs
 26
 27
 28
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